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                     Exhibit 1
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                                      116TH CONGRESS                                                                                       REPORT
                                                     " HOUSE OF REPRESENTATIVES                                                     !
                                         1st Session                                                                                       116–101




                                      COMMERCE, JUSTICE, SCIENCE, AND RELATED AGENCIES
                                                  APPROPRIATIONS BILL, 2020


                                           JUNE 3, 2019.—Committed to the Committee of the Whole House on the State of
                                                             the Union and ordered to be printed



                                                  Mr. SERRANO, from the Committee on Appropriations,
                                                               submitted the following


                                                                                    R E P O R T
                                                                                        together with

                                                                                  MINORITY VIEWS

                                                                                 [To accompany H.R. 3055]

                                        The Committee on Appropriations submits the following report in
                                      explanation of the accompanying bill making appropriations for
                                      Commerce, Justice, Science, and Related Agencies for the fiscal
                                      year ending September 30, 2020, and for other purposes.
                                                                               INDEX TO BILL AND REPORT
                                                                                                                                                Page Number
                                                                                                                                                 Bill   Report
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                                      year into fiscal year 2019. This foresight proved vital during the
                                      longest partial government shutdown in U.S. history as the Census
                                      Bureau was able to maintain 2020 Census operations uninter-
                                      rupted throughout the continuing resolution and the funding lapse.
                                      While the Committee recognizes there is prior-year funding avail-
                                      able, the Administration’s assumption that approximately $1.02 bil-
                                      lion of this funding will remain available to offset fiscal year 2020
                                      costs is disingenuous and appears to rely on the assumption that
                                      Congress will supplement its budget needs when it becomes evi-
                                      dent the President’s request is inadequate. The Committee does not
                                      intend to put the 2020 Census at risk during the most critical year
                                      of its operation.
                                         The Committee includes half of the proposed carryover back into
                                      the base budget for 2020 response operations and Information
                                      Technology (IT) infrastructure requirements. Further, the Com-
                                      mittee provides a total of $496,265,000 for the program manage-
                                      ment of the 2020 Census and encourages the Census to expedi-
                                      tiously hire current vacancies highlighted by GAO to ensure proper
                                      oversight of the IT systems conducting the 2020 Census. The Com-
                                      mittee rejects the Administration’s proposed $30,764,000 reduction
                                      to the Census Survey and Engineering activities, which is needed
                                      to manage the continued delivery of systems needed to meet 2020
                                      performance and scalability requirements. Additionally, the Com-
                                      mittee restores the ‘‘Secretarial Contingency’’ originally submitted
                                      by the Secretary of Commerce in 2017 as part of the updated 2020
                                      Census lifecycle cost estimate. The Committee believes having ade-
                                      quate contingency funding for many of the unknown variables that
                                      the Census Bureau will likely encounter throughout the remainder
                                      of calendar year 2019 and into 2020 will enable Census to address
                                      emergent concerns quickly and without additional congressional ac-
                                      tion. To that end, the Committee recommendation also includes an
                                      additional $220,000,000 above the request to its risk-based contin-
                                      gency and a $500,000,000 increase from its requested amount for
                                      non-response follow-up activities to ensure that the Census Bureau
                                      can employ an aggressive follow-up strategy if the self-response
                                      rate drops lower than anticipated or the amount for which it has
                                      budgeted for.
                                         As the Census Bureau prepares for its inaugural year with an
                                      online decennial portal, the Committee recognizes that the Bureau
                                      may be more susceptible to cyberattacks by nefarious actors who
                                      may wish to undermine the 2020 Decennial Census statistics or
                                      interfere with participant self-response. The recommendation in-
                                      cludes an additional $253,000,000 in contingency funds for Census
                                      IT infrastructure consistent with the Department’s 2017 lifecycle
                                      cost estimate. The Committee understands that the Census Bureau
                                      is actively working with the Cyber Infrastructure Security Agency
                                      (CISA) under the Department of Homeland Security as well as pri-
                                      vate stakeholders who specialize in cyber security. The Committee
                                      directs the Bureau to brief the Committee quarterly on actions
                                      taken to protect the security of the online platform as well as per-
                                      sonal data beginning no later than 30 days after enactment of this
                                      Act.
                                         While the Committee remains hopeful that individuals will elect
                                      to self-respond to the decennial survey, the 2020 Census faces
                                      many hurdles with hard-to-reach communities. The Committee has




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                                      previously directed the Bureau to prioritize a strong engagement
                                      strategy with partners and trusted voices in the community. The
                                      Committee recommends the Census Bureau take steps to develop
                                      the Mobile Response Initiative as described in the Bureau’s report
                                      to the Committee on increasing the number of temporary Census
                                      offices and partnership staff to support the 2020 Census. The Com-
                                      mittee supports such initiatives and encourages the Census Bureau
                                      to concentrate its efforts in hard to count communities and work
                                      with State, local, and tribal partners to identify locations for the
                                      Mobile Response Initiative to target. To that end, the Committee
                                      provides an additional $100,000,000 above the request towards
                                      these efforts.
                                         An additional challenge the Census Bureau faces is public per-
                                      ception of its intended use of the data it collects. In January 2019,
                                      the Census released the 2020 Census Barriers, Attitudes, and
                                      Motivators Study (CBAMS) Focus Group Final Report that provides
                                      a summary of feedback among individuals who are at risk of low
                                      self-response, including but not limited to racial and ethnic minori-
                                      ties. The report concluded that many of these participants felt they
                                      were politically targeted and conveyed a palpable fear that the gov-
                                      ernment would use their census information against them. Many
                                      participants have an overwhelmingly negative perception of the
                                      citizenship question itself, which strongly affects their willingness
                                      to participate. The Committee stresses the importance of non-re-
                                      sponse follow-up fieldwork to ensure every person is counted, espe-
                                      cially those historically inclined to not respond or difficult to iden-
                                      tify and locate, including those with limited access to internet or
                                      broadband infrastructure. The Committee directs the Census Bu-
                                      reau to continue its outreach and collaboration with community
                                      partner advocates to ensure the most accurate count possible.
                                         The Committee recognizes the Census Bureau’s efforts to in-
                                      crease language assistance for the 2020 Census by more than dou-
                                      bling the amount of languages supported both through telephonic
                                      support and in its advertising materials as compared to 2010. Addi-
                                      tionally, in 2020 the Census Bureau will include 59 non-English
                                      languages, including braille, to its language guides. The Census
                                      Bureau is encouraged to continue establishing key partnerships
                                      and hire those with language skills outside of those languages cov-
                                      ered through telephonic support for the 2020 Census.
                                         The Committee remains concerned that the 2020 Census is a
                                      Government Accountability Office (GAO) high-risk area as Census
                                      Day approaches, with GAO recommendations remaining open to:
                                      (1) ensure key innovations will function as planned; (2) strengthen
                                      the management and oversight of all IT programs, systems, and
                                      contractors supporting the decennial; (3) better address its cyberse-
                                      curity weaknesses identified by the Department of Homeland Secu-
                                      rity (DHS); and (4) refine reliable cost estimates. To aid the Com-
                                      mittee in its oversight function, the Bureau shall continue its quar-
                                      terly updates to the Committee on the status of implementing GAO
                                      recommendations regarding the 2020 Census.
                                         American Community Survey.—The data that the American
                                      Community Survey (ACS) collects is critical for communities na-
                                      tionwide as it is the only source of annual data on education, em-
                                      ployment, income, housing costs, veterans’ issues, and a host of
                                      other topics. The recommendation includes $218,000,000 for this ef-




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H. R. 1158



                     One Hundred Sixteenth Congress
                                 of the
                        United States of America
                                       AT T H E F I R S T S E S S I O N

                          Begun and held at the City of Washington on Thursday,
                           the third day of January, two thousand and nineteen




                                                     An Act
              Making consolidated appropriations for the fiscal year ending September 30, 2020,
                                          and for other purposes.

                 Be it enacted by the Senate and House of Representatives of
             the United States of America in Congress assembled,
             SECTION 1. SHORT TITLE.
                  This Act may be cited as the ‘‘Consolidated Appropriations
             Act, 2020’’.
             SEC. 2. TABLE OF CONTENTS.

             Sec.    1.   Short title.
             Sec.    2.   Table of contents.
             Sec.    3.   References.
             Sec.    4.   Explanatory statement.
             Sec.    5.   Statement of appropriations.
             Sec.    6.   Availability of funds.
                 DIVISION A—DEPARTMENT OF DEFENSE APPROPRIATIONS ACT, 2020
             Title I—Military Personnel
             Title II—Operation and Maintenance
             Title III—Procurement
             Title IV—Research, Development, Test and Evaluation
             Title V—Revolving and Management Funds
             Title VI—Other Department of Defense Programs
             Title VII—Related Agencies
             Title VIII—General Provisions
             Title IX—Overseas Contingency Operations
             Title X—Natural Disaster Relief
               DIVISION B—COMMERCE, JUSTICE, SCIENCE, AND RELATED AGENCIES
                                      APPROPRIATIONS ACT, 2020
             Title I—Department of Commerce
             Title II—Department of Justice
             Title III—Science
             Title IV—Related Agencies
             Title V—General Provisions
                     DIVISION C—FINANCIAL SERVICES AND GENERAL GOVERNMENT
                                         APPROPRIATIONS ACT, 2020
             Title   I—Department of the Treasury
             Title   II—Executive Office of the President and Funds Appropriated to the President
             Title   III—The Judiciary
             Title   IV—District of Columbia
             Title   V—Independent Agencies
             Title   VI—General Provisions—This Act
             Title   VII—General Provisions—Government-wide
             Title   VIII—General Provisions—District of Columbia
              DIVISION D—DEPARTMENT OF HOMELAND SECURITY APPROPRIATIONS
                                              ACT, 2020
             Title I—Departmental Management, Operations, Intelligence, and Oversight
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                                 H. R. 1158—72

                            BUREAU   OF THE   CENSUS

                       CURRENT SURVEYS AND PROGRAMS

           For necessary expenses for collecting, compiling, analyzing, pre-
      paring, and publishing statistics, provided for by law, $274,000,000:
      Provided, That, from amounts provided herein, funds may be used
      for promotion, outreach, and marketing activities.

                       PERIODIC CENSUSES AND PROGRAMS


                        (INCLUDING TRANSFER OF FUNDS)

           For necessary expenses for collecting, compiling, analyzing, pre-
      paring, and publishing statistics for periodic censuses and programs
      provided for by law, $7,284,319,000, to remain available until Sep-
      tember 30, 2021: Provided, That, from amounts provided herein,
      funds may be used for promotion, outreach, and marketing activi-
      ties: Provided further, That within the amounts appropriated,
      $3,556,000 shall be transferred to the ‘‘Office of Inspector General’’
      account for activities associated with carrying out investigations
      and audits related to the Bureau of the Census: Provided further,
      That of the amount provided under this heading, $2,500,000,000
      is designated by the Congress as being for the 2020 Census pursu-
      ant to section 251(b)(2)(G) of the Balanced Budget and Emergency
      Deficit Control Act of 1985.

              NATIONAL TELECOMMUNICATIONS AND INFORMATION
                             ADMINISTRATION

                            SALARIES AND EXPENSES

          For necessary expenses, as provided for by law, of the National
      Telecommunications and Information Administration (NTIA),
      $40,441,000, to remain available until September 30, 2021: Pro-
      vided, That, notwithstanding 31 U.S.C. 1535(d), the Secretary of
      Commerce shall charge Federal agencies for costs incurred in spec-
      trum management, analysis, operations, and related services, and
      such fees shall be retained and used as offsetting collections for
      costs of such spectrum services, to remain available until expended:
      Provided further, That the Secretary of Commerce is authorized
      to retain and use as offsetting collections all funds transferred,
      or previously transferred, from other Government agencies for all
      costs incurred in telecommunications research, engineering, and
      related activities by the Institute for Telecommunication Sciences
      of NTIA, in furtherance of its assigned functions under this para-
      graph, and such funds received from other Government agencies
      shall remain available until expended.

           PUBLIC TELECOMMUNICATIONS FACILITIES, PLANNING AND
                            CONSTRUCTION

          For the administration of prior-year grants, recoveries and
      unobligated balances of funds previously appropriated are available
      for the administration of all open grants until their expiration.
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                     Exhibit 3
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 2020 Census Partnership Plan




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1. Introduction
The U.S. Census Bureau is the primary source of statistical information about the nation’s
population and economy, and is responsible for the decennial census of population and housing
conducted once every ten years. The Census Bureau will conduct the next decennial census in
the year 2020. Federal law requires the Census Bureau to deliver to the President state-level
population counts and the calculations for reapportioning the U.S. House of Representatives by
the end of 2020. Three months later, on March 31, 2021, the Census Bureau must deliver a more
detailed count to the states for redistricting purposes, as specified by Public Law 94-171.

The goal of the 2020 Census is to count everyone once, only once, and in the right place. The
Census Bureau’s experience conducting previous decennial censuses indicates that an effective
integrated communications program is critical to its success. That is, communications and
partnerships are crucial in educating the public and maximizing survey response rates. To
support the national headcount in 2020, the Census Bureau is planning a communications
program—the 2020 Census Integrated Partnership and Communications (IPC) Program—to
increase awareness of and participation in this constitutionally mandated activity.

The 2020 Census IPC Program includes all partnership and communications activities completed
in-house and by contractors to support the 2020 Census. The Census Bureau uses the 2020
Census Integrated Communications Contract (ICC) to govern the work of its contractors, and it
is a large and critical component of the overall 2020 Census IPC Program. In August 2016, the
Census Bureau contracted the services of Young and Rubicam (Team Y&R), a communications
agency, to create, produce, and implement an integrated marketing and communications
campaign in support of the 2020 Census. The Census Bureau worked with Team Y&R to
develop a National Communications Plan for the 2020 Census. This plan aligns with the
partnership function, but is not the complete partnership program.

Figure 1: 2020 Census Integrated Partnership and Communications Operation

                         Relations and Events,       (,t\
                   and Crisis Communications • -~                · .. --~            · ~artnership Program

                  Website Development @          .           .          , _                r.@i\ Campaign Optimization
                   and Digital Activities   '"       -                        ,_                   Activities

                    Ad~rtisiog aod
                      Med1aBuy1ng ~
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                                                 _       e                         '. ·.      ,(i;I
                                                                                               ~
                                                                                                       Statisti~
                                                                                                       lnSchools



                          Social Media               ,                                             g:~emination


                         Stakeholder Relations ·@
                                                     \BJ
                                                                 . .   ffI:•               Field Recruitment Advertising
                                                                                           and Communications




All 35 of the 2020 Census operations are planned and implemented through the project
management teams coordinated by the Decennial Directorate. These teams are called Integrated
Product Teams (IPT) and are cross functional, with members from the various divisions and

                                                         1
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Figure 3: Hard-to-Count


   rti cipation hindered by language                              -        W anti ng t o re m ain h id den,
 bar rie rs, low literacy; lack of inte rnet                               u ndocu mented immigran ts, sexua l
                                                                           m ino rit ies




                                   Hard to                            Hard to
                                  Interview




                                               Hard to Persuade
  Susp icious of the government , low                                   High ly mobil e, people expe riencing
  level s of civ ic engagement                                          home less ness, physical access
                                                                        bar riers su ch as gated
                                                                        co mm u nit ies




13. Partnership Program Initiatives
The Partnership Program is hyper-focused on reaching HTC populations at the grassroots level.
The program includes planning activities specifically designed to reach these audiences through
initiatives such as:
     • State Complete Count Commissions.
     • Complete Count Committees, including tribal governments, counties, and municipalities.
     • Counting of young children.
     • American Indian and Alaska Native (AIAN) program.
     • Healthcare community outreach.
     • Homeless outreach.
     • Native Hawaiian and Other Pacific Islander (NHOPI).
     • Faith-based community outreach.
     • Higher education.
     • Lesbian, gay, bisexual, transgender and questioning/queer outreach.
     • Mobile response program.
     • Foreign-born and immigrant outreach.
     • Thank You campaign.
For decades, the decennial census has undercounted children, especially children under 4 years
old. The Census Bureau has conducted research to identify ways to address this undercount. It
has used this research to develop new initiatives focused on specific audiences.



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2020 Census Operational Plan
A New Design for the 21st Century

Issued December 2018
Version 4.0
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 The 2020 Census
 Operational
 Overview
                                                                                            Count everyone once,
                                                                                       only once, and in the right place.




     ESTABLISH                      MOTIVATE                     COUNT                          RELEASE
     WHERE TO                       PEOPLE TO                    THE                            CENSUS
     COUNT                          RESPOND                      POPULATION                     RESULTS
     Identify all addresses         Conduct a nationwide         Collect data from all          Process and provide Census data.
     where people could live.       communications and           households, including
                                    partnership campaign.        group and unique living        Deliver apportionment counts
     Conduct a 100-percent review                                arrangements.                  to the President by
     and update of the nation’s     Work with trusted sources                                   December 31, 2020.
     address list.                  to increase participation.   Make it easy for people to
                                                                 respond anytime, anywhere.     Release counts for
     Minimize in-field work         Maximize outreach using                                     redistricting by April 1, 2021.
     with in-office updating.       traditional and new media.   Encourage people to use the
                                                                 online response option.        Make it easier for the public
     Use multiple data sources      Target advertisements to                                    to get information.
     to identify areas with         specific audiences.          Use the most cost-effective
     address changes.                                            strategy to contact and
                                                                 count nonrespondents.
     Get local government input.
                                                                 Streamline in-field
                                                                 census taking.
                                                                 Knock on doors only
                                                                 when necessary.




                 Figure 5: The 2020 Census—A New Design for the Twenty-First Century


interviewed after multiple attempts; and to count                       apportionment) by December 31, 2020, to the
and provide characteristics for the people in the                       states (for redistricting) by April 1, 2021, and to
household using existing high-quality data from                         the public beginning in December 2021.
trusted sources. A reduced number of visits will
lead to significant cost savings.                                       2.6 WHAT THE PUBLIC CAN EXPECT
In addition, the majority of fieldworkers will use                      The 2020 Census will be easy to respond to—at
mobile devices for collecting the data. Operations                      any time and from anywhere.
such as recruiting, training, and payroll will be
                                                                        Most households in the continental United States
automated, reducing the time required for these
                                                                        will receive a mailed invitation from the U.S.
activities. New operational control centers will
                                                                        Census Bureau asking residents to complete the
rely on automation to manage most of the field-
                                                                        census questionnaire online. The questionnaire
work, enabling more efficient case assignment,
                                                                        asks just a few questions and takes about 10
automatic determination of optimal travel routes,
                                                                        minutes to answer. Respondents will be able to
and reduction of the number of physical offices. In
                                                                        respond using one of a number of devices, includ-
general, a streamlined operation and management
                                                                        ing a desktop computer, a laptop, a tablet, or a
structure is expected to increase productivity and
                                                                        smartphone.
save costs.
                                                                        For areas of the country with low Internet con-
The last step in the 2020 Census is to Release
                                                                        nectivity or other characteristics that make it less
the 2020 Census Results. The 2020 Census data
                                                                        likely the respondents will complete the census
will be processed and sent to the President (for
                                                                        questionnaire online, we will be sending a paper

U.S. Census Bureau                                                                     2020 Census Operational Plan—Version 4.0 9
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3.4 REENGINEERING FIELD                                516,000 enumerators to conduct NRFU activities.
OPERATIONS                                             The new design for the 2020 Census field opera-
                                                       tions includes six RCCs with 248 ACOs.
The goal of this innovation area is to use technol-
ogy to efficiently and effectively manage the 2020     In addition, automation enables significant
Census fieldwork, and as a result, reduce the staff-   changes to how cases are assigned and the super-
ing, infrastructure, and brick and mortar footprint    vision of field staff. By making it easier for super-
required for the 2020 Census. Figure 13 shows the      visors to monitor and manage their workers, the
three main components of the reengineered field        ratio of workers to supervisor can be increased,
operations: streamlined office and staffing struc-     reducing the number of supervisors required. This
ture, increased use of technology, and increased       streamlines the staffing structure. Other design
management and staff productivity.                     changes include optimized case assignment and
                                                       routing.
The 2020 Census field operations will rely heavily
on automation. For example, the Census Bureau          All administrative functions associated with most
plans to provide most listers and enumerators          field staff will be automated, including recruiting,
with the capability to work completely remotely        hiring, training, time and attendance, and payroll.
and perform all administrative and data collection     Finally, the new capabilities allow for quality to be
tasks directly from a mobile device. Supervisors       infused into the process through alerts to supervi-
will also be able to work remotely from the            sors when there is an anomaly in an enumerator’s
field and communicate with their staff via these       performance (e.g., the Global Positioning System
devices. These enhanced capabilities significantly     indicator on an enumerator’s handheld device
reduce the number of offices required to support       indicates that she or he is not near the assigned
2020 Census fieldwork. In the 2010 Census, the         location) and real-time edits on data collection.
Census Bureau established 12 Regional Census           Accordingly, the quality assurance process used in
Centers (RCCs) and nearly 500 Area Census              the 2010 Census has been reengineered to account
Offices (ACOs). The agency hired more than             for changes in technology.



The operations shaded in darker blue in Figure 14 include innovations related to Reengineering Field
Operations.


        Streamlined Office and               Increased Use of               Increased Management
          Staffing Structure                   Technology                    and Staff Productivity



                     Area Census         • Automated and                  • Increased visibility into
                     Office Manager        optimized work                   case status for improved
                                           assignments                      workforce management
                                         • Automated recruiting,          • Redesigned quality
                     Census Field          training, payroll, and           assurance operations
                     Managers              expense reporting
                                                                          • Improved
                                         • Automated appli-                 communications
                     Census Field          cations for address
                     Supervisors           canvassing and enum-
                                           eration on mobile
                                           devices
                     Listers and
                     Enumerators



                       Figure 13: Summary of Reengineering Field Operations

U.S. Census Bureau                                              2020 Census Operational Plan—Version 4.0 25
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5.4.3    Address Canvassing                             new field office structure and new staff
                                                        positions.
Detailed Planning              In Production
                                                      Description of Operation
Status:                   DOP published in FY 2016

Purpose                                               The Census Bureau needs the address and phys-
                                                      ical location of each LQ in the United States to
The Address Canvassing (ADC) Operation serves         conduct the census. During ADC, the Census
two purposes:                                         Bureau verifies that its master address list and
                                                      maps are accurate so the tabulation for all housing
• Deliver a complete and accurate address list
                                                      units (HUs), group quarters (GQs), and transitory
  and spatial database for enumeration.
                                                      locations (TLs) is correct. A complete and accu-
• Determine the type and address characteristics      rate address list is the cornerstone of a successful
  for each living quarter (LQ).                       census.

Changes Made Since Version 3.0 Operational Plan       The Census Bureau has determined that while
Release:To support the 2020 Census, In-Field          there will be a full ADC of the nation in 2020, a full
ADC will begin 2 weeks early in select Area           In-Field ADC of the nation is no longer necessary.
Census Offices (ACO) in each of the six regions.      Advancements in technology have enabled contin-
The early start will begin with Census Field          ual address and spatial updates to occur through-
Supervisor training and will be a full start to the   out the decade as part of the In-Office ADC effort.
operation in those select ACOs. All other ACOs        This has made it possible to limit In-Field ADC to
will begin activities as scheduled.                   only the most challenging areas. The scope of the
                                                      ADC Operation for the 2020 Census includes:
Lessons Learned
                                                      • In-Office ADC: Process of using empirical geo-
Based on lessons learned from the 2010 Census
                                                        graphic evidence (e.g., imagery, comparison of
studies and reviews, the following recommenda-
                                                        the Census Bureau’s address list to partner-pro-
tions were made:
                                                        vided lists) to assess the current address list.
• Continuously update the maps and address lists        This process also removes geographic areas
  throughout the decade, supplementing these            from the In-Field ADC workload based on the
  activities with ADC at the end of the decade.         availability of administrative data sets (e.g., mil-
                                                        itary lands, national forests) and the method of
• Allow more time in the schedule to fully
                                                        enumeration planned for the 2020 Census (e.g.,
  develop and test the listing instrument.
                                                        areas that will be subject to Update Leave (UL)
• Improve the ADC training to emphasize work-           or Update Enumerate (UE) Operations, which
  ing from the ground to the Handheld Computer.         will not be part of In-Field ADC). This process
Operational Innovations                                 detects and identifies change from high-quality
                                                        administrative and third-party data sources to
Operational Innovations include the following:          reduce the In-Field ADC workload. This process
• Conducted In-Office ADC for the entire nation.        determines the In-Field ADC universe.

• Select an estimated 38 percent of LQs in the          º In-Office ADC assesses the extent to which
  self-response areas for In-Field ADC.                   the number of addresses—both HUs and
                                                          GQs—in the census address list is consis-
• Use automation and data (imagery, administra-
                                                          tent with the number of addresses visible in
  tive records, and third-party data) for In-Office
                                                          current imagery. This process is known as
  ADC.
                                                          Interactive Review.
• Implement Master Address File (MAF) Coverage
                                                        º A follow-up process seeks to research and
  Study to validate In-Office ADC procedures,
                                                          update areas identified with growth, decline,
  measure coverage, and improve In-Field ADC
                                                          undercoverage of addresses, or overcover-
  data collection methodologies.
                                                          age of addresses from the comparison of
• Use reengineered field management structure             the two different vintages of imagery and
  and approach to managing fieldwork, including           counts of addresses in the MAF. This process


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     is known as Active Block Resolution (ABR).         • February 2015: Completed the 2015 Address
     ABR was suspended in support of the 2020             Validation Test, which consists of the MAF
     Census in early 2017. All other In-Office ADC        Model Validation Test and the Partial Block
     processes are fully operational.                     Canvassing (PBC) Test.
  º In-Office ADC also includes three addi-               º Findings:
    tional components that review address-level              • The statistical models were not effective
    records:                                                   at identifying specific blocks with many
     • Ungeocoded Resolution geocodes                          adds or deletes.
       addresses in the Master Address File/                 • The statistical models were not effective
       Topologically Integrated Geographic                     at predicting national totals of MAF cov-
       Encoding and Referencing (MAF/TIGER)                    erage errors.
       System that are not currently assigned to
                                                             • PBC was successfully implemented as an
       a specific block.
                                                               alternative field data collection method-
     • In-Office ADC GQ reviews and updates                    ology; future work will determine how the
       GQ and TL addresses and their associated                PBC method impacts cost and quality.
       information.
                                                             • Imagery Review successfully identified
     • Local Update of Census Addresses                        areas requiring updates; future research
       (LUCA) Operation Address Validation                     is needed to refine the process and deter-
       confirms the existence of the LUCA                      mine impacts on quality.
       address submissions by tribal, federal,
                                                        • November 2016: Completed the ADC Test,
       state, and local governments.
                                                          which included the Buncombe County, North
• In-Field ADC: Process of doing a dependent              Carolina, and the St. Louis, Missouri, test sites.
  listing in the field to identify where people live,
                                                          º Findings:
  stay, or could live or stay. Field staff compare
  what they see on the ground to the existing                • The Census Bureau should continue pur-
  census address list and either verify or correct             suing the use of In-Office ADC methods to
  the address and location information, adding                 reduce the workload for In-Field ADC.
  addresses to the list as necessary. Field staff            • In-Office ADC methods are generally
  also classify each LQ as a HU or GQ.                         effective in detecting where the MAF has
• Quality Assurance: Process of reviewing the                  remained accurate, where it is keeping
  work of field and office staff. Both In-Field ADC            pace with changes on the ground, and
  and In-Office ADC work will be validated using               where fieldwork is needed to acquire
  quality assurance techniques.                                address updates.
• MAF Coverage Study: A field activity that vali-            • Assumptions about situations that pose
  dates In-Office procedures, measures coverage,               challenges to detecting change through
  improves In-Field data collection methodol-                  imagery analysis are generally correct.
  ogies, and updates the MAF on a continuous            • December 2016: Completed the 2016 MAF
  basis.                                                  Coverage Study.
Research Completed                                        º Findings:
The following research has been completed for                • For the census frame, the national esti-
this operation:                                                mate of overcoverage is 5.5 percent and
                                                               the national estimate of undercoverage is
• September 2014: Released the Address
                                                               6.6 percent.
  Canvassing Recommendation Report.
                                                             • The MAF Coverage Study estimated that
  º Findings: A recommendation was made to
                                                               there were 7.4 million addresses in the
    not walk every block and to implement the
                                                               census frame that are deletes, duplicates,
    reengineered ADC (In-Field and In-Office).
                                                               or nonresidential.



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      • The MAF Coverage Study estimated that           production and improve quality control. The
        the census frame and the MAF were miss-         discontinuation of ABR will result in a larger
        ing 3.3 million new addresses.                  workload being sent to In-Field ADC.
• October 2017: Completed the ADC Operation           9 The current estimate is that 38 percent of the
  of the 2018 End-to-End Census Test.                   LQs in the Self-Response Type of Enumeration
   º Findings:                                          Area will be canvassed during In-Field ADC.

      • In-Office ADC successfully identified and     9 Production ADC began in September 2015.
        created the In-Field ADC workload, which      9 ADC provides training for both production and
        allowed In-Field ADC to perform targeted        quality assurance processes for in-office work.
        fieldwork.                                    9 ADC relies on automated training for produc-
      • Census successfully implemented and             tion and quality assurance processes for in-field
        tested an automated In-Field listing            work.
        Quality Control process.                      9 ADC updates the Census Bureau’s address list
      • A number of systems challenges and tech-        using a dependent canvass (from ground to
        nical issues, due to a lack of coordinated      list).
        system integration and testing, contrib-      9 ADC validates and collects coordinates for
        uted to listing challenges during In-Field      every structure with a LQs.
        ADC. The Census Bureau plans to imple-
                                                      9 The MAF Coverage Study is planned for imple-
        ment a more rigorous testing program in
                                                        mentation throughout the decade. The Census
        advance of the 2020 operation to identify
                                                        Bureau completed the first MAF Coverage
        systems anomalies ahead of the start of
                                                        Study during FY 2016. Based on funding
        the ADC Operation.
                                                        uncertainty and reprioritization of critical
Decisions Made                                          components of the 2020 Census, the Census
The following decisions have been made for this         Bureau completed the first half of the 2017 MAF
operation:                                              Coverage Study but paused it on April 1, 2017.
                                                      9 In-Office ADC creates the universe for In-Field
9 The ADC Operation consists of:
                                                        ADC.
   º In-Office ADC.
                                                      9 In-Office ADC will review public lands.
   º In-Field ADC.
                                                      9 Results from In-Office ADC can add and remove
   º MAF Coverage Study.                                Basic Collection Units (BCUs) into and from the
   º Quality Assurance.                                 In-Field ADC universe.

9 Administrative records and third-party data         9 All BCUs in the In-Field ADC universe will be
  sources will be used to validate addresses            identified prior to the start of In-Field ADC.
  within each block.                                  9 Statistical modeling will not be used in ADC.
9 GQs will be identified and classified during        9 Imagery will be available on the Listing and
  ADC.                                                  Mapping Instrument to use during In-Field ADC.
9 Geographic areas (e.g., LQs and feature), which     9 ADC will validate LUCA submissions.
  are covered by enumeration operations that
                                                      9 Validation of LUCA submissions will occur
  include a listing component, will no longer be
                                                        during In-Office ADC.
  canvassed by In-Field ADC (e.g., UE, UL, and
  Remote Alaska areas).                               9 The Census Bureau will canvass the whole block
                                                        (or BCU) during In-Field ADC.
9 Based on funding uncertainty and reprioritiza-
  tion of critical components of the 2020 Census,     9 ADC will leverage the same capabilities devel-
  the Census Bureau will not be able to meet the        oped for Nonresponse Followup Operation for
  25 percent In-Field ADC goal. ABR was discon-         In-Field ADC including automated payroll, rout-
  tinued in the winter of 2017 in order to evaluate     ing to assignments, and various alerts.
  and redesign the operation to streamline


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• Improve coordination of communica-                  • Expanded predictive modeling to determine the
  tions among the Decennial, Field, and                 propensity to respond.
  Communications Directorates and others.             • Expanded use of social media to encourage
• Align timing, funding, and design decisions           response.
  between the development of the IPC Program          • Localized advertising to encourage response.
  Plan and the Census Bureau’s operational mile-
                                                      • Promotion of a teamwork environment
  stones to effectively support all phases of the
                                                        among partners through the Census Solutions
  2020 Census.
                                                        Workshops.
• Establish more specific program metrics for
                                                      Description of Operation
  the IPC Program to assist in evaluation and
  assessment.                                         Inspiring every household in the country to
Based on the lessons learned from the 2015            complete the census is an enormous, increas-
Census Test studies and reviews, the following        ingly complex, and unparalleled challenge. With
recommendations were made:                            an increasingly diverse population and a drop in
                                                      public participation, an effective communications
• Prioritize minimizing break-offs from the land-     strategy is critical to the success of the census.
  ing page of the online survey instrument.
                                                      The IPC Program must reach every household in
• Create tailored, customizable, and changeable
                                                      the nation, delivering the right messages to the
  landing pages in the online survey instrument
                                                      right audiences at the right time. It must allocate
  for each audience that also captures the “look
                                                      messages and resources efficiently, ensuring con-
  and feel” of advertisements.
                                                      sistent messaging, as well as look and feel, across
• Use digital advertisements to push decennial        all public-facing materials across communication
  census response and raise awareness.                efforts as well as operations.
• Use digital advertisements and communica-
                                                      An IPC Program contractor has been engaged to
  tions and the Internet specifically to reach and
                                                      support the 2020 Census Program from recruit-
  increase response from young, single mobiles.
                                                      ment through data dissemination. The program
• Perform additional research and testing to          will offer the following components:
  determine the appropriate balance between
  advertisements for a general audience and           • Advertising, using print, radio, digital, television,
  hard-to-survey audiences.                             and out-of-home.

• Integrate the “look and feel” of mail mate-         • Earned media and public relations.
  rials with other communications including           • Partnerships, including both regional and
  advertisements.                                       national efforts.
• Perform additional research to test which           • Social media, to include blogs and messages on
  communication channels and messages most              platforms such as Facebook, Twitter, Instagram,
  increase awareness.                                   Snapchat, etc.
• Perform additional research to test the use         • Statistics in Schools.
  of messages targeted to specific audiences          • Rapid Response.
  via addressable media outlets, such as digital
  advertising.                                        • Web site.

Operational Innovations                               These and other potential components of the
                                                      IPC Operation will communicate the importance
Operational innovations include the following:        of participating in the 2020 Census to the entire
                                                      population.
• Microtargeted messages and placement for
  digital advertising, especially for hard-to-count   Research Completed
  populations at a census-tract level.
                                                      The following research has been completed for
• Advertising and partnership campaign adjusted       this operation:
  based on respondent performance.


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For the addresses in the initial NRFU workload,          • Using automation for:
enumerators will make an in-person contact                 º Training of enumerators and managers.
attempt to determine the status of the address
                                                           º Enhanced operational control system.
(vacant, occupied, does not exist) and, when
occupied, collect the census response. If the              º Optimization of daily enumerator
contact attempt was unsuccessful and the admin-              assignments.
istrative records and UAA information identi-              º Near real-time operational information for
fied the address as vacant or not a HU, then the             decision making.
address will be resolved as vacant or not a HU
                                                           º Payroll submission and approval processing.
and no further contact will be attempted. If the
contact attempt was unsuccessful and the address         A foundational innovation of the NRFU operational
is believed to be occupied, and where the Census         design is the optimization of enumerator assign-
Bureau has high-quality administrative records           ments. On a daily basis, based on an enumerator’s
from trusted sources, administrative records             home location, work availability, the availability
will be used as the response data for the house-         and location of NRFU workload, and other oper-
hold and no further contacts will be attempted.          ational business rules, the enumerator will be
Examples of source of administrative records and         assigned NRFU addresses. The enumerator will
third-party data used to enumerate occupied HUs          work the addresses in a prescribed order to deter-
include Internal Revenue Service Individual Tax          mine the Census Day status of the HUs, and when
Returns, Internal Revenue Service Information            occupied, enumerate the HUs. Enumerators will
Returns, and Center for Medicare and Medicaid            use an automated data collection application on a
Statistics Medicare Enrollment Database.                 handheld device to record the Census Day HU sta-
                                                         tus and to enumerate occupied HUs. If a respon-
Addresses removed from the NRFU workload                 dent is not at home, a notice of visit will be left
as administrative records vacant, administrative         directing the respondent to the Internet or Census
records nonexistent, or administrative records           Questionnaire Assistance (CQA) to self-respond.
occupied will receive a final mailing that encour-
ages occupants to self-respond to the 2020               The assignment and completion of the NRFU
Census. Those addresses that are determined to           workload are also governed by:
be administrative records vacant or administrative
                                                         • Best-Time-to-Contact probabilities that are
records nonexistent will immediately be mailed
                                                           considered in making assignments and are used
a final postcard encouraging self-response; for
                                                           to increase the likelihood of finding people at
those addresses that are determined to be occu-
                                                           home.
pied and are incomplete after one personal visit
attempt, a final postcard encouraging self-re-           • Business rules that prescribe the number of
sponse will be mailed within 7 days.                       contact attempts for an address and when a
                                                           proxy response is acceptable. A proxy response
Addresses will also be removed from the workload           is a response provided by a knowledgeable
throughout the course of the NRFU Operation as             source, such as a neighbor.
self-responses are received. Addresses may be
                                                         • Modifications to business rules as the end of
added to the NRFU workload from other census
                                                           the operation approaches to ensure an efficient
operations, such as addresses from the LUCA
                                                           and successful operational close-out.
Appeals process and addresses received through
the NID Processing Operation that require a field        Operational efficiencies are also gained through
visit for final resolution. See other sources contrib-   the use of manager visits. When a number of
uting to the NRFU workload, listed above.                NRFU addresses share the same street address,
                                                         such as an apartment or condominium building,
The NRFU Operation will use a reengineered field         the cases will be grouped together for a manager
management structure and approach to managing            visit. In the manager visit interview, the enumer-
fieldwork, which includes:                               ator will ask the building manager to identify
• Using a new field structure, including field staff     which units were occupied, vacant, or not a HU
  roles and staffing ratios.                             on Census Day. Units identified as vacant or not



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• Two focus groups with rural, economically dis-     Census. The Census Bureau will expend resources
  advantaged individuals.                            to reach the hard-to-count populations using both
• Four focus groups with low Internet proficiency    traditional and digital media, as well as the use
  individuals.                                       of ethnic and local media. However, final deci-
                                                     sions on how much to allocate to each of these
• Four focus groups with Black/African               efforts have not been made pending results of the
  Americans individuals with a hard-to-count         CBAMS research efforts. Digital media will allow
  focus.                                             us to reach hard-to-count populations more effec-
• Six focus groups with American Indian and          tively than ever before. Census Bureau partners
  Alaska Native individuals—two in Alaska and        include national organizations, but also churches
  four in the continental United States.             and other faith-based organizations, health clinics,
• Four focus groups with Middle East, North          legal aid centers, and other support organizations
  African individuals.                               that traditionally undercounted populations rely
                                                     on.
• Four focus groups with Native Hawaiian and
  Pacific Islander individuals.                      Partnerships educate people about the impor-
                                                     tance of the census, motivate them to return their
• Two focus groups with young, single, mobile
                                                     questionnaires, and encourage cooperation with
  individuals with mixed race/ethnicity.
                                                     enumerators. The Census Bureau traditionally
The following are the groups for non-English         focuses on establishing partnerships with orga-
speaking focus groups:                               nizations that represent hard-to-count popula-
• Four focus groups with Spanish-speaking indi-      tions. For the 2010 Census, the Census Bureau
  viduals who live on the U.S. mainland.             established over 250,000 partnerships and has
                                                     sustained as many of those relationships as pos-
• Four focus groups with Spanish-speaking indi-
                                                     sible during the intercensal years to be in a better
  viduals in Puerto Rico.
                                                     position to start the 2020 Census than previous
• Four focus groups with Chinese-speaking            censuses in a variety of different ways. In order
  individuals.                                       to optimize self-response, the Census Bureau
• Four focus groups with Vietnamese-speaking         has a robust relationship through the Partnership
  individuals.                                       Program that includes state, local, and tribal
                                                     governments; nongovernmental organizations at
English-speaking audiences prioritized for the
                                                     the national and local level; national companies;
2020 CBAMS Focus Groups represent groups who
                                                     and schools. Within the Partnership Program, the
either will not be surveyed by the 2020 CBAMS
                                                     Community Partnership and Engagement Program
Survey or who are anticipated to be underrepre-
                                                     includes objectives to:
sented in that dataset. During this phase of the
research, there will not be dedicated focus groups   • Increase self-response.
with additional hard-to-count audiences such         • Use “trusted voices” to make census messages
as people experiencing homelessness, undocu-           relevant at the local level.
mented immigrants, children, persons who are
angry at and/or distrust the government, and         • Grow the partnership audience.
LGBTQ persons. However, individuals from these       • Increase awareness among the general public.
groups may be represented within focus groups        • Increase partnership engagement at the local
planned at this stage. They will also be part of       level through new or improved programs.
the creative testing research, for which more
                                                     The Census Bureau relies on the support of part-
resources should be available to increase capacity
                                                     ners throughout the country to help perform a
to reach and engage audiences. In addition, IPC
                                                     complete and accurate count. We work together
plans to engage these groups through mecha-
                                                     with our partners to extend our outreach efforts
nisms outside of focus groups.
                                                     and connect with hard-to-count populations.
We will advertise in multiple languages and work     From a HTC Framework perspective, IPC focuses
with the “trusted voices” in communities across      on the Hard-to-Contact, Hard-to-Persuade, and
the nation to encourage response to the 2020         Hard-to-Interview segments.


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                      Exhibit 5
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             CENSUS
              INTEGRATED
              COMMUNICATIONS


           PLAN          Version 1.0
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of the 2020 Census. Our campaign will encompass activities within the following program level
areas:
       Stakeholder Relations: We will work to identify and engage a diverse group of
       stakeholders to solicit feedback and help raise awareness of the 2020 Census, ensuring
       open and effective lines of communication throughout the campaign development and
       execution phase.
       Partnership Program: Local, regional, and national partners will play a valuable role in
       helping us connect with the public ahead of the 2020 Census. We will prioritize our
       efforts through a tiered approach, and our plans for a new Partnership Experience
       Platform (PXP) will help transform the way we connect partners to materials and
       information.
       Advertising and Media Buying: A new digital environment will present challenges and
       opportunities for this crucial area, including—for the first time—the expanded ability to
       directly drive response through digital ads that connect viewers to the online response
       tool. As with many of these areas, we will use campaign data to continuously refine our
       approach.
       Public Relations and Events, and Crisis Communications: Our public relations strategy
       will help drive our education and awareness efforts, particularly among hard to count
       audiences. Crisis preparedness and communications will be more important than ever
       before, with information spreading faster in this new digital environment.
       Website Development and Digital Activities: We will take a mobile first approach to
       developing web properties that support the campaign. Using dynamic content, we can
       also tailor the experience for target audiences and adjust our approach as campaign
       data become available.
       Social Media: Social media outreach offers a unique opportunity to personally engage
       with the public. We will leverage existing Census channels and develop innovative
       approaches to promote recruiting efforts, enhance customer service, support digital and
       on the ground events, raise awareness, drive response, and disseminate data.
       Statistics in Schools Program: We have transformed one of our most effective outreach
       efforts into an evergreen program focused on raising statistical literacy in classrooms
       across the country. We will continue to develop activities for this program that engage
       students and that help build awareness of the 2020 Census—in schools and at home.
       Field Recruitment Advertising and Communications: We will leverage various media
       channels, deploy hyperlocal and national campaigns, and develop one centralized
       recruiting resource—a 2020 Census jobs website—to hire the right people for the right
       geographic locations.




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       Rapid Response Activities: The Census Bureau will build a rapid response team and
       develop processes for quickly approving and executing campaign changes. This will
       allow us to optimize our approach and respond to issues—including potential crises—
       once the self response period begins and daily data points become available.
       Data Dissemination: The Census Bureau is building a new platform to house and
       disseminate data. The accurate and efficient distribution of census data will be key
       throughout the campaign, from driving early awareness, to thanking partners, to
       supporting and engaging with key stakeholders and public audiences well after the 2020
       Census enumeration is completed.
The 2020 Census will constitute the nation’s largest peacetime mobilization, producing rich
data that will ultimately inform congressional representation and the allocation of billions of
dollars to state, local, and tribal governments. It will also involve engaging every person in the
United States, while showing effective use of taxpayer dollars and respect for each individual’s
time and confidentiality.
While specific tactics and needs for program elements differ, three common threads run
through all our proposed activities. The 2020 campaign must be:
       Audience Focused: The Census Bureau is working, and will continue to work, in close
       collaboration with stakeholders to ensure an accurate count, and to devote the
       resources to engage those who may be hard to count. Our approach includes particular
       care to understand the needs and interests of diverse groups to inform a campaign that
       resonates with a large and nuanced populace.
       Research Based: A program of research will enable the Census Bureau to develop a
       campaign that can reach audiences with relevant, culturally sensitive, and effective
       messages. The research for the 2020 Census will also inform media planning, partner
       outreach, the distribution of promotional materials, and other communications
       activities to effectively and efficiently deploy communications that promote prompt
       responses from audiences.
       Data Driven: The scale of the 2020 Census requires communications that reach and
       resonate with individuals at the most targeted level possible. This can be made possible
       through research data and the ability to closely track and aggregate census
       questionnaire response trends in real time throughout the campaign. If available, such
       data will be used to produce findings that allow the refinement and optimization of the
       2020 Communication Plan.
Keeping in mind these three attributes, we have developed this initial approach to reaching and
engaging all audiences—particularly those who may not readily self respond and therefore may
require heavy outreach and persuasion. In the coming years, we will continually improve on
and refine this draft, keeping audience findings as well as efficient execution at the forefront of
our efforts.




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                      Exhibit 6
                                                                                   Case 8:18-cv-00891-PWG Document 169-9 Filed 01/21/20 Page 27 of 160



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                                                 United States
                                                  of America                                PROCEEDINGS AND DEBATES OF THE


                                              Vol. 165                                                 WASHINGTON, TUESDAY, DECEMBER 17, 2019                                                       No. 204—Book II


                                                                                       House of Representatives
                                              EXPLANATORY STATEMENT SUB-                                               cal year 2020. Unless otherwise noted, ref-            the report accompanying the House version
                                               MITTED BY MRS. LOWEY, CHAIR-                                            erences to the House and Senate reports are            of the Department of Defense Appropriations
                                               WOMAN OF THE HOUSE COM-                                                 to House Report 116–84 and Senate Report               bill for Fiscal Year 2008 (House Report 110–
                                                                                                                       116–103, respectively. The language contained          279). The dollar threshold for reprogramming
                                               MITTEE  ON  APPROPRIATIONS                                              in the House and Senate reports warrant full           funds shall be $10,000,000 for military per-
                                               REGARDING H.R. 1158, CONSOLI-                                           compliance and carry the same weight as                sonnel; operation and maintenance; procure-
                                               DATED APPROPRIATIONS ACT,                                               language included in this explanatory state-           ment; and research, development, test and
                                               2020                                                                    ment unless specifically addressed to the              evaluation.
                                                 The following is an explanation of the Con-                           contrary in the bill or this explanatory                 Also, the Under Secretary of Defense
                                              solidated Appropriations Act, 2020.                                      statement. While repeating some language               (Comptroller) is directed to continue to pro-
                                                 This Act includes 4 regular appropriations                            from the House or Senate reports for empha-            vide the congressional defense committees
                                              bills for fiscal year 2020. The divisions con-                           sis, this explanatory statement does not in-           annual DD Form 1416 reports for titles I and
                                              tained in the Act are as follows:                                        tend to negate the language referred to                II and quarterly, spreadsheet-based DD Form
                                                 ∑ Division A—Department of Defense Ap-                                above unless expressly provided herein.                1416 reports for Service and defense-wide ac-
                                              propriations Act, 2020                                                        DEFINITION OF PROGRAM, PROJECT, AND               counts in titles III and IV of this Act. Re-
                                                 ∑ Division B—Commerce, Justice, Science,                                                   ACTIVITY                          ports for titles III and IV shall comply with
                                              and Related Agencies Appropriations Act,                                   For the purposes of the Balanced Budget              guidance specified in the explanatory state-
                                              2020                                                                     and Emergency Deficit Control Act of 1985              ment accompanying the Department of De-
                                                 ∑ Division C—Financial Services and Gen-                              (Public Law 99–177), as amended by the Bal-            fense Appropriations Act, 2006. The Depart-
                                              eral Government Appropriations Act, 2020                                 anced Budget and Emergency Deficit Control             ment shall continue to follow the limitation
                                                 ∑ Division D—Department of Homeland Se-                               Reaffirmation Act of 1987 (Public Law 100–             that prior approval reprogrammings are set
                                              curity Appropriations Act, 2020                                          119), and by the Budget Enforcement Act of             at either the specified dollar threshold or 20
                                                 Section 1 of the Act is the short title of the                        1990 (Public Law 101–508), the terms ‘‘pro-            percent of the procurement or research, de-
                                              bill.                                                                    gram, project, and activity’’ for appropria-           velopment, test and evaluation line, which-
                                                 Section 2 of the Act displays a table of con-                         tions contained in this Act shall be defined           ever is less. These thresholds are cumulative
                                              tents.                                                                   as the most specific level of budget items             from the base for reprogramming value as
                                                 Section 3 of the Act states that, unless ex-                          identified in the Department of Defense Ap-            modified by any adjustments. Therefore, if
                                              pressly provided otherwise, any reference to                             propriations Act, 2020, the related classified         the combined value of transfers into or out
                                              ‘‘this Act’’ contained in any division shall be                          annexes and explanatory statements, and the            of a military personnel (M–1); an operation
                                              treated as referring only to the provisions of                           P–1 and R–1 budget justification documents             and maintenance (O–1); a procurement (P–1);
                                              that division.                                                           as subsequently modified by congressional              or a research, development, test and evalua-
                                                 Section 4 of the Act states that this ex-                             action.                                                tion (R–1) line exceeds the identified thresh-
                                              planatory statement shall have the same ef-                                The following exception to the above defi-           old, the Secretary of Defense must submit a
                                              fect with respect to the allocation of funds                             nition shall apply: the military personnel             prior approval reprogramming to the con-
                                              and implementation of this legislation as if                             and the operation and maintenance ac-                  gressional defense committees. In addition,
                                              it were a joint explanatory statement of a                               counts, for which the term ‘‘program,                  guidelines on the application of prior ap-
                                              committee of conference.                                                 project, and activity’’ is defined as the ap-          proval reprogramming procedures for con-
                                                 Section 5 of the Act provides a statement                             propriations accounts contained in the De-             gressional special interest items are estab-
                                              of appropriations.                                                       partment of Defense Appropriations Act.                lished elsewhere in this statement.
                                                 Section 6 of the Act states that each                                   At the time the President submits the
                                                                                                                                                                                            FUNDING INCREASES
                                              amount designated by Congress as being for                               budget request for fiscal year 2021, the Sec-
                                              emergency requirements or for Overseas                                   retary of Defense is directed to transmit to             The funding increases outlined in the ta-
                                              Contingency Operations/Global War on Ter-                                the congressional defense committees budget            bles for each appropriation account shall be
                                              rorism (OCO/GWOT) is contingent on the                                   justification documents to be known as the             provided only for the specific purposes indi-
                                              President so designating all such emergency                              ‘‘M–1’’ and the ‘‘O–1’’ which shall identify, at       cated in the tables.
                                              or OCO/GWOT amounts and transmitting                                     the budget activity, activity group, and sub-             CONGRESSIONAL SPECIAL INTEREST ITEMS
                                              such designations to Congress.                                           activity group level, the amounts requested              Items for which additional funds have been
                                                 The Act does not contain any congres-                                 by the President to be appropriated to the             provided or items for which funding is spe-
                                              sional earmarks, limited tax benefits, or lim-                           Department of Defense for military per-                cifically reduced as shown in the project
                                              ited tariff benefits as defined by clause 9 of                           sonnel and operation and maintenance in                level tables or in paragraphs using the
                                              rule XXI of the Rules of the House of Rep-                               any budget request, or amended budget re-              phrase ‘‘only for’’ or ‘‘only to’’ are congres-
                                              resentatives.                                                            quest, for fiscal year 2021.                           sional special interest items for the purpose
                                                DIVISION A—DEPARTMENT OF DEFENSE                                          REPROGRAMMING GUIDANCE FOR BASE AND                 of the Base for Reprogramming (DD Form
                                                       APPROPRIATIONS ACT, 2020                                         OVERSEAS CONTINGENCY OPERATIONS FUNDING               1414). Each of these items must be carried on
                                                 The following is an explanation of the ef-                              The Secretary of Defense is directed to              the DD Form 1414 at the stated amount, as
                                              fects of this Act, which makes appropria-                                continue to follow the reprogramming guid-             specifically addressed in the explanatory
                                              tions for the Department of Defense for fis-                             ance for acquisition accounts as specified in          statement.
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                                                                 b This symbol represents the time of day during the House proceedings, e.g., b 1407 is 2:07 p.m.
                                                   Matter set in this typeface indicates words inserted or appended, rather than spoken, by a Member of the House on the floor.

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                                              December 17,
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                                              DIVISION        B—COMMERCE,           JUSTICE,          $500,000 for the rural export assistance ac-                                           ECONOMIC DEVELOPMENT ASSISTANCE PROGRAMS—
                                                SCIENCE, AND RELATED AGENCIES AP-                     tivities referenced in the Senate report. The                                                           Continued
                                                PROPRIATIONS ACT, 2020                                agreement does not assume House levels for
                                                                                                                                                                                                                         [in thousands of dollars]
                                                Report language included in House Report              Industry and Analysis, Enforcement and
                                              116–101 (‘‘the House report’’) or Senate Re-            Compliance, and Executive Direction and
                                                                                                      Administration. However, ITA is directed to                                                                                                                    Amount
                                              port 116–127 (‘‘the Senate report’’) that is not
                                              changed by this explanatory statement or                take steps to fill important vacancies across
                                                                                                      the agency in support of trade promotion, fa-                                             Total ............................................................    $292,500
                                              the Act is approved. The explanatory state-
                                              ment, while repeating some language for em-             cilitation, and enforcement, as well as addi-
                                                                                                      tional staff to support the Committee on                                               EDA Programs and Impoverished Commu-
                                              phasis, is not intended to negate the lan-                                                                                                   nities.—In lieu of House report language re-
                                              guage referred to above unless expressly pro-           Foreign Investment in the United States and
                                                                                                      the new Anti-Circumvention and Evasion                                               garding EDA scoring of competitive grant
                                              vided herein. In cases where both the House                                                                                                  applications, the agreement directs EDA to
                                              report and the Senate report address a par-             Unit.
                                                                                                        Quarterly Updates.—The agreement adopts                                            expand outreach and technical guidance to
                                              ticular issue not specifically addressed in the                                                                                              prospective grantees with the goal of ensur-
                                                                                                      both House and Senate report language on
                                              explanatory statement, the House report and                                                                                                  ing increased quality and quantity of appli-
                                                                                                      quarterly briefs updating the Committees on
                                              the Senate report should be read as con-                                                                                                     cations for assistance aimed at benefitting
                                                                                                      ongoing enforcement work as well as prior
                                              sistent and are to be interpreted accordingly.                                                                                               residents of persistent poverty counties or
                                                                                                      quarter expenditures and obligation plans,
                                              In cases where the House report or the Sen-                                                                                                  high-poverty areas, as defined in the House
                                                                                                      including current staffing levels, due not
                                              ate report directs the submission of a report,                                                                                               language. The agreement further modifies
                                                                                                      later than 30 days after the end of each quar-
                                              such report is to be submitted to both the                                                                                                   this language to direct the Government Ac-
                                                                                                      ter.
                                              House and Senate Committees on Appropria-                 SelectUSA.—Senate report language on For-                                          countability Office (GAO), in coordination
                                              tions (‘‘the Committees’’).                             eign Business Investment in the United                                               with EDA, to provide a report to the Com-
                                                Each department and agency funded in this             States is not adopted. The agreement stipu-                                          mittees on the percentage of funds allocated
                                              Act shall follow the directions set forth in            lates that up to $10,000,000 is provided for                                         by each program in fiscal years 2017, 2018,
                                              this Act and the accompanying explanatory               SelectUSA, provided that ITA includes a de-                                          and 2019, and estimates for fiscal year 2020,
                                              statement, and shall not reallocate resources           tailed accounting of this spending, by object                                        to serve populations living in persistent pov-
                                              or reorganize activities except as provided             class, as part of its fiscal year 2020 spending                                      erty counties and high-poverty areas. Such
                                              herein. Reprogramming procedures shall                  plan.                                                                                report shall be delivered no later than 180
                                              apply to: funds provided in this Act; unobli-             Office of Inspector General Management                                             days after enactment of this Act.
                                              gated balances from previous appropriations             Alert.—ITA is directed to address the issues                                                             SALARIES AND EXPENSES
                                              Acts that are available for obligation or ex-           raised by the Department of Commerce Of-                                               The agreement includes $40,500,000 for EDA
                                              penditure in fiscal year 2020; and non-appro-           fice of Inspector General in its memorandum                                          salaries and expenses.
                                              priated resources such as fee collections that          dated November 7, 2019 (OIG–20–005–M), in                                              MINORITY BUSINESS DEVELOPMENT AGENCY
                                              are used to meet program requirements in                particular the issue of securing sensitive in-
                                              fiscal year 2020. These procedures are speci-                                                                                                          MINORITY BUSINESS DEVELOPMENT
                                                                                                      formation.
                                              fied in section 505 of this Act.                              BUREAU OF INDUSTRY AND SECURITY                                                  The agreement includes $42,000,000 for the
                                                Any reprogramming request shall include                                                                                                    Minority Business Development Agency
                                                                                                                   OPERATIONS AND ADMINISTRATION
                                              any out-year budgetary impacts and a sepa-                                                                                                   (MBDA), an increase of $2,000,000 above the
                                              rate accounting of program or mission im-                 The agreement includes $127,652,000 for the                                        fiscal year 2019 level. The agreement directs
                                              pacts on estimated carryover funds. Any pro-            Bureau of Industry and Security (BIS) and                                            MBDA to allocate $26,500,000 of its total ap-
                                                                                                      does not adopt House report language re-                                             propriation toward cooperative agreements,
                                              gram, project, or activity cited in this ex-
                                                                                                      garding the division of funds between Export                                         external awards, and grants, including not
                                              planatory statement, or in the House report
                                                                                                      Administration, Export Enforcement, and                                              less than $14,000,000 to continue MBDA’s tra-
                                              or the Senate report and not changed by this
                                                                                                      Management and Policy Coordination.                                                  ditional Business Center program and Spe-
                                              Act, shall be construed as the position of the
                                              Congress and shall not be subject to reduc-               ECONOMIC DEVELOPMENT ADMINISTRATION                                                cialty Project Center program. The agree-
                                              tions or reprogramming without prior ap-                  The agreement includes $333,000,000 for the                                        ment provides $7,000,000 for the Broad Agen-
                                              proval of the Committees. Further, any de-              programs and administrative expenses of the                                          cy Announcements (BAA) program. Senate
                                              partment or agency funded in this Act that              Economic      Development     Administration                                         language on BAAs is not adopted. However,
                                              plans a reduction-in-force shall notify the             (EDA). Section 521 of this Act includes a re-                                        the Committees are concerned about the
                                              Committees by letter no later than 30 days              scission of $17,000,000 in Economic Develop-                                         scope of the 2019 BAA topic areas and direct
                                              in advance of the date of any such planned              ment Assistance Programs balances. Such                                              MBDA to submit a spend plan, which in-
                                              personnel action.                                       funds shall be derived from recoveries and                                           cludes the topic areas for fiscal year 2020, to
                                                When a department or agency submits a                 unobligated grant funds that were not appro-                                         the Committees for these funds 30 days prior
                                              reprogramming or transfer request to the                priated with emergency or disaster relief                                            to soliciting applications for the fiscal year
                                              Committees and does not receive identical               designations.                                                                        2020 awards.
                                              responses, it shall be the responsibility of                      ECONOMIC DEVELOPMENT ASSISTANCE                                                 ECONOMIC AND STATISTICAL ANALYSIS
                                              the department or agency seeking the re-                                     PROGRAMS                                                                            SALARIES AND EXPENSES
                                              programming to reconcile the differences be-              The agreement includes $292,500,000 for                                              The agreement includes $107,990,000 for
                                              tween the two bodies before proceeding. If              Economic Development Assistance Pro-                                                 Economic and Statistical Analysis. The
                                              reconciliation is not possible, the items in            grams. House language on coal-fired plants is                                        agreement assumes full funding for the Bu-
                                              disagreement in the reprogramming or                    modified to encourage EDA to consider                                                reau of Economic Analysis’ (BEA) efforts to
                                              transfer request shall be considered unap-              projects to repurpose abandoned coal-fired                                           produce annual Gross Domestic Product
                                              proved. Departments and agencies shall not              plants. The agreement modifies House lan-                                            (GDP) statistics for Puerto Rico, as re-
                                              submit reprogramming notifications after                guage on climate change resiliency to direct                                         quested, and includes no less than $1,500,000
                                              July 1, 2020, except in extraordinary cir-              EDA to encourage applicants to submit pro-                                           for the Outdoor Recreation Satellite Ac-
                                              cumstances. Any such notification shall in-             posals that are resilient to climate change or                                       count.
                                              clude a description of the extraordinary cir-           incorporate green infrastructure solutions.                                            Income Growth Indicators.—The agreement
                                              cumstances.                                             Funds are to be distributed as follows; any                                          provides $1,000,000 to develop income growth
                                                In compliance with section 528 of this Act,           deviation of funds shall be subject to the pro-                                      indicators and further directs BEA to report
                                              each department and agency funded in this               cedures set forth in section 505 of this Act:                                        the latest available estimates of these meas-
                                              Act shall submit spending plans, signed by                                                                                                   ures in calendar year 2020, as described in the
                                              the respective department or agency head,                     ECONOMIC DEVELOPMENT ASSISTANCE PROGRAMS                                       Senate report.
                                              for the Committees’ review not later than 45                                           [in thousands of dollars]                                         BUREAU OF THE CENSUS
                                              days after enactment of this Act.                                                                                                              The agreement includes $7,558,319,000 for
                                                                  TITLE I                                                                                                     Amount       the Bureau of the Census (‘‘the Bureau’’).
                                                     DEPARTMENT OF COMMERCE                                                                                                                  Puerto Rico and U.S. Territories.—In lieu of
                                                                                                      Public Works ........................................................     $118,500   House report language regarding Puerto Rico
                                                  INTERNATIONAL TRADE ADMINISTRATION                                                                                                       and the U.S. territories, the Committees di-
                                                                                                      Partnership Planning ...........................................            33,000
                                                     OPERATIONS AND ADMINISTRATION                    Technical Assistance ...........................................             9,500   rect the Bureau to develop an implementa-
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                                                The agreement includes $521,250,000 in total          Research and Evaluation .....................................                1,500   tion plan to include all residents of the
                                              resources for the International Trade Admin-            Trade Adjustment Assistance ..............................                  13,000   United States, including those in Puerto
                                              istration (ITA). This amount is offset by               Economic Adjustment Assistance ........................                     37,000   Rico and the U.S. territories, in the total
                                              $11,000,000 in estimated fee collections, re-           Assistance to Coal Communities .........................                    30,000   resident and total population size totals,
                                              sulting in a direct appropriation of                    Assistance to Nuclear Closure Communities ......                            15,000   while maintaining integrity of data sets.
                                              $510,250,000.                                           STEM Apprenticeships ..........................................              2,000   Such plan shall be delivered to the Commit-
                                                The agreement provides no less than                   Regional Innovation Program Grants ..................                       33,000   tees no later than 120 days after the date of
                                              $333,000,000 for Global Markets and includes                                                                                                 enactment of this Act.




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                                                In lieu of House report language regarding            Community Survey. As part of these brief-                Forward Looking Building Standards.—
                                              the Bureau’s anticipated report on the feasi-           ings, the Census Bureau should also include            House report language regarding forward
                                              bility of including Puerto Rico in additional           updates on actions it is taking, along with            looking building standards is amended to
                                              surveys and Bureau of Justice Statistics                the Department of Homeland Security, to se-            clarify that it neither directs nor authorizes
                                              data products, submitted to the Committees              cure the online platform and personal data,            NIST to undertake any regulatory action.
                                              on November 26, 2019, the agreement directs             as described in the House report, as well as             Forensic Sciences.—In lieu of House and
                                              the Bureau to provide a supplement to this              work the agency has done to mitigate risks             Senate report language, the agreement pro-
                                              report, not later than 90 days after enact-             identified by GAO, as referenced in the Sen-           vides $1,000,000 above the fiscal year 2019 en-
                                              ment of this Act, containing an overall cost            ate report.                                            acted level for forensic science research. Ad-
                                              estimate and implementation plan for Puer-                   NATIONAL TELECOMMUNICATIONS AND                   ditionally, the agreement provides $3,150,000
                                              to Rico’s inclusion in these surveys and                        INFORMATION ADMINISTRATION                     to support the Organization of Scientific
                                              products. The Bureau is further directed to                                                                    Area Committees and $1,000,000 to support
                                                                                                                  SALARIES AND EXPENSES
                                              work with the communities and stakeholders                                                                     technical merit evaluations.
                                                                                                        The agreement includes $40,441,000 for the             Facial Recognition Vendor Test.—Senate lan-
                                              in Puerto Rico, while conducting the Puerto             salaries and expenses of the National Tele-            guage regarding the facial recognition ven-
                                              Rico Community Survey, to better under-                 communications and Information Adminis-                dor test is adopted, and the agreement fur-
                                              stand Puerto Rico’s data needs.                         tration (NTIA). The allocation of funding              ther directs NIST to continue efforts to se-
                                                     CURRENT SURVEYS AND PROGRAMS                     provided in the table in the House report is           cure personally identifiable information and
                                                The bill provides $274,000,000 for the Cur-           not adopted, nor is the House language re-             other sensitive data used by this program.
                                              rent Surveys and Programs account of the                garding Public Safety Communications.                            INDUSTRIAL TECHNOLOGY SERVICES
                                              Bureau of the Census, to include funds to                 Accurate Broadband Mapping.—In lieu of
                                                                                                      section 542 of the House bill, the agreement             The agreement includes $162,000,000 in total
                                              continue the level of effort for the Survey of                                                                 for Industrial Technology Services (ITS), in-
                                              Income and Program Participation, as de-                directs NTIA to report to the Committees,
                                                                                                      not later than 90 days after enactment of              cluding $146,000,000 for the Hollings Manufac-
                                              scribed in the House report. The agreement                                                                     turing Extension Partnership (MEP), an in-
                                              does not adopt House report language on the             this Act, regarding NTIA’s current and
                                                                                                                                                             crease of $6,000,000 above the fiscal year 2019
                                              division of funds within the appropriation.             planned efforts to improve the accuracy of
                                                                                                                                                             enacted level. At this level, NIST is directed
                                                                                                      measurements of broadband coverage in
                                                    PERIODIC CENSUSES AND PROGRAMS                                                                           to provide an increase of at least $100,000 for
                                                                                                      communities, including the sources of data
                                                      (INCLUDING TRANSFER OF FUNDS)                                                                          each of the 51 MEP centers. The agreement
                                                                                                      used to help generate broadband coverage
                                                                                                                                                             further provides $16,000,000 for the National
                                                The bill provides $7,284,319,000 for the Peri-        maps.
                                                                                                                                                             Network for Manufacturing Innovation, also
                                              odic Censuses and Programs account of the                  UNITED STATES PATENT AND TRADEMARK                  known as Manufacturing USA.
                                              Bureau of the Census. The agreement does                                   OFFICE
                                                                                                                                                                    CONSTRUCTION OF RESEARCH FACILITIES
                                              not adopt the House report language on the                          SALARIES AND EXPENSES
                                              division of these funds at the Program,                                                                          The agreement includes $118,000,000 for
                                                                                                              (INCLUDING TRANSFERS OF FUNDS)                 Construction of Research Facilities, of which
                                              Project, and Activity (PPA) level.
                                                                                                        The agreement includes language making               $43,000,000 is for the continued renovation of
                                                2020 Decennial Census.—In July 2019, the
                                                                                                      available to the United States Patent and              NIST’s Building 1 laboratory.
                                              Census Bureau provided an update to the
                                                                                                      Trademark Office (USPTO) $3,450,681,000, the             Safety, Capacity, Maintenance, and Major
                                              Committees on its 2020 Census Life Cycle
                                                                                                      full amount of offsetting fee collections esti-        Repairs (SCMMR).—Within the amount pro-
                                              Cost Estimate. While the total estimates for
                                                                                                      mated for fiscal year 2020 by the Congres-             vided for Construction of Research Facili-
                                              the overall Decennial costs remain un-
                                                                                                      sional Budget Office. The agreement trans-             ties, the agreement includes no less than
                                              changed, the Census Bureau assumes effi-
                                                                                                      fers $2,000,000 to the Office of Inspector Gen-        $75,000,000 for NIST to address its most press-
                                              ciencies in the program allow for a greater
                                                                                                      eral to continue oversight and audits of               ing SCMMR projects.
                                              contingency reserve to support potential
                                                                                                      USPTO operations and budget transparency.                   NATIONAL OCEANIC AND ATMOSPHERIC
                                              risks. The agreement provides $6,696,000,000
                                              for the Decennial Census and does not adopt                NATIONAL INSTITUTE OF STANDARDS AND                                  ADMINISTRATION
                                              House recommended levels for the key oper-                                TECHNOLOGY                             Sexual Assault and Sexual Harassment
                                              ational frames, as described in the House re-             The agreement includes $1,034,000,000 for            (SASH).—The agreement adopts House and
                                              port. The agreement includes $669,000,000               the National Institute of Standards and                Senate report language on SASH and pro-
                                              dedicated towards Secretarial contingency               Technology (NIST).                                     vides no less than $2,000,000, of which
                                              needs that may arise during the Census oper-                 SCIENTIFIC AND TECHNICAL RESEARCH AND             $1,000,000 shall be derived from funding pro-
                                              ation such as major disasters or other un-                                  SERVICES                           vided to Mission Support, Executive Leader-
                                              foreseen risks realized, and $263,000,000 in ad-                 (INCLUDING TRANSFER OF FUNDS)
                                                                                                                                                             ship.
                                              ditional sensitivity risks to support addi-                                                                        OPERATIONS, RESEARCH, AND FACILITIES
                                                                                                        The agreement provides $754,000,000 for
                                              tional pay increases and any reduction in               NIST’s Scientific and Technical Research                           (INCLUDING TRANSFER OF FUNDS)
                                              self-response rates beyond the current pro-             and Services (STRS) account. The agreement               The agreement includes a total program
                                              jections of the Census Bureau. The agree-               adopts the following within STRS: (1) House            level of $3,956,213,000 under this account for
                                              ment clarifies a previous requirement re-               and Senate language on pyrrhotite and no               the coastal, fisheries, marine, weather, sat-
                                              garding the notification to the Committees              less than $1,500,000; (2) House and Senate lan-        ellite, and other programs of the National
                                              on the obligation of funds within the Bu-               guage on regenerative medicine standards               Oceanic and Atmospheric Administration
                                              reau’s contingency reserve and directs the              and $2,500,000; (3) Senate language on indus-          (NOAA). This total funding level includes
                                              Census Bureau to report to the Committees               trial internet of things and no less than              $3,763,939,000 in direct appropriations; a
                                              no later than 15 days after any obligation of           $2,000,000; (4) Senate language on plastic and         transfer of $174,774,000 from balances in the
                                              such funds. Such report shall include a de-             polymeric materials and $1,000,000 above the           ‘‘Promote and Develop Fishery Products and
                                              scription of the work funded from this re-              fiscal year 2019 enacted level; (5) Senate lan-        Research Pertaining to American Fisheries’’
                                              serve during the fiscal year. The agreement             guage on graphene research and no less than            fund; and $17,500,000 derived from recoveries
                                              also supports no less than the level of effort          $1,250,000; (6) Senate language on unmanned            of prior year obligations.
                                              for outreach and communications that was                aerial vehicle challenges and no less than               The following narrative descriptions and
                                              utilized in preparation for the 2010 Decennial          $2,500,000; (7) Senate language on microelec-          tables identify the specific activities and
                                              Census, adjusted for inflation.                         tronics technology and no less than                    funding levels included in this Act.
                                                Mobile Questionnaire Assistance Centers.—                                                                      National Ocean Service (NOS).—$598,956,000
                                                                                                      $2,000,000; (8) Senate language on public
                                              Within funds provided, the agreement directs                                                                   is for NOS Operations, Research, and Facili-
                                                                                                      health risks to first responders and $2,000,000;
                                              the Census Bureau to support this new ini-                                                                     ties.
                                                                                                      (9) House language and funding for the
                                              tiative aimed at increasing response in his-            Greenhouse Gas Program and Urban Dome
                                              torically undercounted and hard to count                                                                                             NATIONAL OCEAN SERVICE
                                                                                                      Initiative; and (10) House and Senate lan-
                                              communities. As part of the report on out-              guage on metals-based additive manufac-                                      Operations, Research, and Facilities
                                              reach activities in hard to count commu-                turing and no less than $5,000,000.                                               [in thousands of dollars]
                                              nities as directed by the House, the Census               Disaster Resilience Research Grants.—In lieu
                                              Bureau shall include details on how the Mo-             of House and Senate language regarding Dis-                                     Program                                     Amount
                                              bile Questionnaire Assistance Centers will be           aster Resilience Research Grants, the agree-
                                              utilized as a part of these efforts.                    ment provides no less than $2,500,000.                 Navigation, Observations and Positioning
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                                                Quarterly Briefing.—The agreement con-                  Quantum Information Science (QIS).—The                    Navigation, Observations and Positioning                         $159,456
                                              tinues the requirement for quarterly updates            agreement adopts House and Senate lan-                      Hydrographic Survey Priorities/Contracts ...                       32,000
                                              from the Census Bureau to ensure the Com-               guage on QIS and provides $10,000,000 above                 Integrated Ocean Observing System Re-
                                              mittees are regularly apprised of the status            the fiscal year 2019 enacted level.                            gional Observations ................................            39,000
                                              of the 2020 Decennial operations, Census sys-             Industries of the Future.—The agreement
                                              tems readiness, Census Enterprise Data Col-             adopts House and Senate language on artifi-                         Navigation, Observations and Posi-
                                              lection and Processing, implementation of               cial intelligence and provides $8,000,000 above                       tioning ...........................................     230,456
                                              GAO recommendations, and the American                   the fiscal year 2019 enacted level.




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                                                                                                                              Exhibit 7

                                                        Department of Commerce
                                                          U.S. Census Bureau
                                                    Periodic Censuses and Programs
                                                       SUMMARY OF FINANCING
                                                      (Dollar amounts in thousands)




                                                   2018               2019             2020          2020          Increase/Decrease
                                                   Actual            Enacted           Base         Estimate         from 2020 Base

Total Obligations                                  $1,521,272           $3,600,310    $4,640,141    $6,901,800              $2,261,659


Offsetting collections from:
 Federal Funds                                              0                    0             0               0                    0
 Trust Funds                                                0                    0             0               0                    0
 Non-Federal sources                                        0                    0             0               0                    0

Recoveries                                             (8,365)             (36,406)            0               0                    0


Unobligated balance, start of year                     (6,438)          (1,036,072)   (1,020,000)   (1,020,000)                     0
Unobligated balance transferred                         3,000                    0             0             0                      0
Unobligated balance, end of year                    1,036,072            1,020,000             0             0                      0
Unobligated balance, expiring                             555                    0             0             0                      0

Refund                                                   (676)                   0            0             0                       0
Budget Authority                                    2,545,420            3,547,832    3,620,141     5,881,800               2,261,659

Financing:

  Transfer from other accounts                         (4,000)                   0            0             0                       0
  Transfer to other accounts                            2,580                3,556        3,556         3,556                       0
Total, Discretionary Appropriation                  2,544,000            3,551,388    3,623,697     5,885,356               2,261,659




                                                                                                                   CEN-51
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                      Exhibit 8
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Projections of the Size and Composition of
the U.S. Population: 2014 to 2060
Population Estimates and Projections
Current Population Reports
By Sandra L. Colby and Jennifer M. Ortman
Issued March 2015
P25-1143




INTRODUCTION                                                   demographic components of change—births, deaths,
                                                               and net international migration. The projections, based
Between 2014 and 2060, the U.S. population is pro-
                                                               on the 2010 Census and official estimates through
jected to increase from 319 million to 417 million,
                                                               2013, were produced using cohort-component meth-
reaching 400 million in 2051. The U.S. population is
                                                               ods. Such methods project the components of popula-
projected to grow more slowly in future decades than
                                                               tion change separately for each birth cohort (persons
in the recent past, as these projections assume that
                                                               born in a given year) based on past trends. The base
fertility rates will continue to decline and that there will
                                                               population is advanced each year by using projected
be a modest decline in the overall rate of net inter-
                                                               survival rates and net international migration. A new
national migration. By 2030, one in five Americans is
                                                               birth cohort is added to the population by applying the
projected to be 65 and over; by 2044, more than half
                                                               annual projected fertility rates to the female popula-
of all Americans are projected to belong to a minority
                                                               tion. The projections cover the period 2014 to 2060.
group (any group other than non-Hispanic White alone);
and by 2060, nearly one in five of the nation’s total          The 2014 National Projections are the first series of
population is projected to be foreign born.                    Census Bureau projections to incorporate separate
                                                               assumptions about the fertility of native and foreign-
This report summarizes results from the U.S. Census            born women. Differentiating assumptions about fertil-
Bureau’s 2014 National Projections, with a focus on            ity by nativity is expected to better account for the
changes in the age structure and shifts in the racial and      effects of international migration of the foreign born
ethnic composition of the population—both the total            on changes in the size and composition of the total
population as well as the native and foreign born.             U.S. population.

2014 NATIONAL PROJECTIONS                                      The 2014 National Projections, including summary
                                                               tables, downloadable files, and methodology and
This report is based on the 2014 National Projections          assumptions, can be found at <www.census.gov
of the resident population by age, sex, race, Hispanic         /population/projections/data/national/2014.html>.
origin, and country of birth (nativity), and include




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                                                                                          projected to increase by nearly 20
                                                                                          percent, compared with only 6.4
    UNDERSTANDING THE ASSUMPTIONS USED TO MAKE
                                                                                          percent for natives. In the decades
    POPULATION PROJECTIONS
                                                                                          that follow, the pace of growth is
    Projections illustrate possible courses of population change based                    projected to slow for both popula-
    on assumptions about future births, deaths, and net international                     tions, while the substantial gap
    migration. The projected values presented throughout this report                      between the rates of the foreign
    are one possible outcome for the future that would occur only if                      born and natives will narrow.
    all the assumptions hold true. All assumptions about the compo-                       Between 2050 and 2060, the
    nents of change are based on historical trends. Factors that might                    foreign born are expected to grow
    influence the levels of population components, policy decisions for                   by 8.2 percent, compared with 3.8
    example, cannot be predicted with any degree of certainty. There-                     percent for natives.
    fore, no attempts are made to incorporate these into the assump-
    tions that produce the projections. Both the size and the composi-                    Factors Contributing to
    tion of the projected population reflect the assumptions included in                  Population Growth
    these projections. The accuracy of the projections will depend on                     Changes in the size of the popula-
    how closely actual trends in fertility, mortality, and migration are                  tion are driven by the projected
    consistent with these assumptions.                                                    number of births, deaths, and
                                                                                          net international migrants. Some
                                                                                          components, such as births, are
PROJECTED TRENDS IN                      Figure 2 shows the projected rate                those that increase the size of the
POPULATION SIZE AND                      of growth of the native and                      population, while others, such as
GROWTH                                   foreign-born populations by                      deaths, are those that decrease the
                                         decade. Between 2010 and 2020,                   population. Net international migra-
The total U.S. population is pro-
                                         the foreign-born population is                   tion can either add to or subtract
jected to increase by 98.1 mil-
lion between 2014 and 2060. As
shown in Figure 1, the population
is expected to increase from just            Figure 1.
under 319 million in 2014 to just            U.S. Population by Nativity: 2014 to 2060
                                             (Population in millions)
under 417 million in 2060. This
corresponds to an average increase                        Native born              Foreign born         Percent foreign born
of 2.1 million people per year.
                                                                                                                  416.8
                                                                                                      398.3
Breaking the population down by                                                             380.2
nativity illustrates projected differ-                                        359.4                                78.2
ences in the size of the native pop-                                                                   72.3
                                                               334.5                         65.1
ulation relative to the foreign-born             318.7                        56.9
population. In 2014, the native                                 47.9
                                                  42.3
population is projected to be 276
million. Between 2014 and 2060,
the native population is expected                                                                                 338.6
                                                                                                      326.0
to increase by 62 million (or 22 per-                                                       315.1
                                                                              302.5
cent), reaching 339 million in 2060.                           286.6
At the same time, the foreign-born               276.4
population is projected to grow
from 42 million to 78 million, an
increase of 36 million (or 85 per-                                                                     18.2        18.8
                                                                                            17.1
                                                                14.3           15.8
cent). The foreign born, because                  13.3
its rate of growth is projected to
outpace that of natives, is expected
to account for an increasing share               2014           2020          2030           2040      2050        2060
of the total population, reaching
                                             Source: U.S. Census Bureau, 2014 National Projections.
19 percent in 2060, up from 13
percent in 2014.

2                                                                                                              U.S. Census Bureau
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                      Exhibit 9
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Population Distribution and Change:
2000 to 2010                                                                                                               Issued March 2011

2010 Census Briefs
                                                                                                                           C2010BR-01




INTRODUCTION                                                                                                               By
                                               Figure 1.                                                                   Paul Mackun
The 2010 Census reported                                                                                                   and
                                               U.S. Population Change: 1950–1960 to                                        Steven Wilson
308.7 million people in the                    2000–2010
United States, a 9.7 percent                   (For more information on confidentiality protection,                        (With Thomas Fischetti
increase from the Census 2000                  nonsampling error, and definitions, see                                     and Justyna Goworowska)
                                               www.census.gov/prod/cen2010/doc/pl94-171.pdf)
population of 281.4 million.
This report discusses popula-                                                                  Growth (in millions)
                                                                                               Percentage change
tion change between 2000 and
                                                                                                 32.7
2010 for several geographic
levels, including regions,                        28.0
                                                                                                            27.3
states, metropolitan and micro-
politan statistical areas, coun-                  18.5       23.9        23.3
                                                                                    22.2
ties, and places.
                                                             13.3                                13.2
NATIONAL AND
                                                                         11.5
REGIONAL CHANGE                                                                      9.8                     9.7
The increase of 9.7 percent
over the last decade was lower
than the 13.2 percent increase
for the 1990s and comparable
to the growth during the 1980s
                                                 1950–      1960–       1970–      1980–        1990–      2000–
of 9.8 percent (Figure 1). Since                 1960       1970        1980       1990         2000       2010
1900, only the 1930s experi-                   Note: Change for 1950–1960 includes the populations of Alaska
enced a lower growth rate (7.3                 and Hawaii in the U.S. total, although they were not U.S. states at
                                               the time of the 1950 census.
percent) than this past decade.1
                                               Source: U.S. Census Bureau, 2010 Census; Census 2000; Frank
From 2000 to 2010, regional                    Hobbs and Nicole Stoops, Demographic Trends in the 20th
                                               Century, Census 2000 Special Reports, CENSR-4, U.S. Census
growth was much faster for the                 Bureau, Washington, DC, 2002; and Richard L. Forstall, Population
South and West (14.3 and 13.8                  of States and Counties of the United States: 1790 to 1990, U.S.
                                               Census Bureau, Washington, DC, 1996.
percent, respectively) than for
the Midwest (3.9 percent) and
Northeast (3.2 percent)                                    (Table 1, Figure 2). The South grew by
                                                           14.3 million over the decade to 114.6
    1
      References to historical data in the report are
based on the Census 2000 PHC-T series                      million people, while the West increased
<www.census.gov/population/www/cen2000                     by 8.7 million to reach 71.9 million
/briefs/tablist.html>; Frank Hobbs and Nicole Stoops,
Demographic Trends in the 20th Century, Census             people—surpassing the population of
2000 Special Reports, CENSR-4, U.S. Census Bureau,         the Midwest. The Midwest gained 2.5
Washington, DC, 2002; and Richard L. Forstall,
Population of States and Counties of the United
                                                           million, increasing that region’s popula-
States: 1790 to 1990, U.S. Census Bureau,                  tion to 66.9 million, and the Northeast’s
Washington, DC, 1996. National historical data calcu-
lations before 1960 include Alaska and Hawaii.
                                                           gain of 1.7 million brought that region’s




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                                                                                 U.S. CENSUS BUREAU
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                    Exhibit 10
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                   2020 Decennial LCCE For Official Use Only         June 2019




2020 DECENNIAL LIFE‐CYCLE COST
ESTIMATE (LCCE)
BASIS OF ESTIMATE (BoE) – Version 2.0




                                                        Bureau of the Census
                                                                   June 2019
                                      1
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                                  2020 Decennial LCCE For Official Use Only                                   June 2019




                              Figure 3: The 2020 Census ‐ A New Design for the 21st Century

The first step (“Establish Where to Count”) is to identify all the addresses where people could live. An
accurate address list ensures that everyone is counted. For the 2020 Census, the Census Bureau began
an In‐Office review of 100 percent of the nation’s addresses in October 2015 and will continually
update the address list based on data from multiple sources, including the U.S. Postal Service; tribal,
state, and local governments; satellite imagery; and third‐party data providers.

Response rates to surveys and censuses have been declining. As a second step, “Motivate People to
Respond,” the 2020 Census will include a nationwide communications and partnership campaign. This
campaign is focused on getting people to respond on their own (self‐respond), as it costs significantly
less to process a response provided via the internet or through a paper form than it does to send a
fieldworker to someone’s home to collect their response.

As a third step, the Census Bureau will “Count the Population” by collecting information from all
housing units, including those residing in group or unique living arrangements. The Census Bureau
wants to make it easy for all people to respond anytime and anywhere. To this end, the 2020 Census
will encourage people to respond via the internet and will not require them to enter a unique Census
ID.5

The Census Bureau will use the most cost‐effective strategy for contacting and counting those who do
not respond. The goal for the 2020 Census is to reduce the average number of visits by using available
data from government administrative records and third‐party sources. These data may be used to



  5
        The Census Identification Number or Census ID is provided on the questionnaire mailed to each identified address.
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                                       2020 Decennial LCCE For Official Use Only                June 2019


6.3.2.1.2.2 Discrete Risk Cost Method Using Scenario Analysis
Two Discrete Risks were quantified through a scenario analysis by isolating the impact of a single input
value: 1) Admin Records Usage and 2) Cloud Implementation. For Admin Record usage, the scenario
analysis consisted of reducing the number of housing units resolved via use of administrative records
by 1,000,000. For Cloud Data Implementation, the scenario analysis cost was estimated using an
extrapolation based on the CEDCaP program estimate for cloud costs.

The Scenario Analysis Process used by both for both of these risks is shown below.




Figure 24: Scenario Analysis Process

                                             Figure 24: Scenario Analysis Process



6.3.2.2 Additional Sensitivity Analysis
Program risks associated with Additional Sensitivity Analysis were discretely estimated based on
impacts of occurrence and program mitigation techniques. The following program risks have been
reflected in the risk‐adjusted cost estimate via additional sensitivity analyses:

    1. Self‐response rates are critical, uncertain variables with expected large cost impacts in the
       Response Data life‐cycle costs. Response rates have declined decade‐over‐decade for reasons
       outlined in “Section 2.1: Challenging Environmental Factors”, and there are numerous external
       influences on the program that could cause a dampened self response for the 2020 Census.
       While the Monte Carlo and Risk Register risks include funding designed to address lowered self
       response rates, to acknowledge this uncertainty and cost impact, additional sensitivity analysis
       was performed to account for the possibility that the self‐response rate declines below the
       modeled levels from Census Bureau experts. This would cause an increase in the Nonresponse
       Followup Workload and cost. The impact of this risk was estimated by decreasing the self‐
       response rate point estimate from 60.5 percent to 55 percent. The estimated direct cost for
       this risk was $251.4 million.
    2. The cost of field operations is considered sensitive to the size and cost of recruiting and hiring
       the necessary workforce in all geographic areas. To acknowledge this uncertainty and cost
       impact, additional sensitivity analysis was performed to account for the possibility that

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                                2020 Decennial LCCE For Official Use Only                            June 2019


Secretarial contingency. The results of the September 2017 reconciliation between the POE and DOC
ICE was under one percent.

The latest comparison of the 2020 Census POE to an ICE was completed during May 2019. The ICE was
again prepared by the DOC OAM beginning in mid‐2018 as one of the key recommendations of the
Milestone 3 Review for the 2020 Census. The purpose was to continue to refine the ICE reconciliation
with updated program office estimates and actuals, as well as the results of the 2018 End‐to‐End
Census Test and system performance and scalability testing in FY 2019. The final difference in direct
costs (the point estimate) was about one percent, while the difference in risk and uncertainty was
about three percent. The delta between the two estimates (the current version) is zero at an aggregate
level. The ICE cost estimators increased their confidence level in the sufficiency of the $15.625B cost
estimate for the 2020 Census from 80 percent in FY 2017 to 86 percent in FY 2019, reflected by the
increased ICE risk reserve within the same overall cost total.

11.2 Benchmarking Against Prior Censuses
One of the means to assess the cost of a system or program is to compare it to similar historical
systems or programs. The Census Bureau has conducted a Decennial census for many years. The table
below shows the historic number of housing units, the cost of the census and the cost per housing unit
in constant dollars33. Table 41: Historical Census Costs (Constant 2020 Dollars) shows the historic trend
of increasing cost over each decade as well as the increase in the number of housing units.
                               Table 38: Historical Census Costs (Constant 2020 Dollars)

           Year             Housing Units                      Cost              Cost per Housing Unit
           1970                       69.5 M                      $1.1 B                           $15.8
           1980                       89.5 M                      $3.0 B                           $33.5
           1990                      103.5 M                      $4.7 B                           $45.4
           2000                      117.5 M                      $9.4 B                             $80
           2010                      133.5 M                     $12.3 B                           $92.1
           2020                      146.2 M                     $15.8 B                            $108

Figure 95: US Housing Units and Census Costs per Decade below uses dollars inflated to 2020 to show a
comparison of historic total cost and cost per housing unit. This graph uses a trend line to demonstrate
the rise in cost per housing unit.




33
  Presenting constant dollars in 2020 allow for a fair comparison of the costs across different Censuses as the
estimates have been adjusted for inflation to show what each Census would have cost in 2020 dollars. Instead of
showing the actual cost of each Census in terms of dollars in the year the Census was conducted, these estimates
show a comparative price tag in “fungible” dollars.
                                                         145
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                    Exhibit 11
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                             2010 Census Program for Evaluations and Experiments
                                                                        04/23/12




2010 Census Nonresponse Followup
Operations Assessment


U.S. Census Bureau standards and quality process procedures were applied throughout the
creation of this report.




FINAL



                                                      Shelley Walker and Susanna Winder
                                                         Geoff Jackson and Sarah Heimel

                                                         Decennial Management Division
                                                     Decennial Statistical Studies Division
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5.2.1.6 NRFU Production Staffing

Table 170 depicts the budgeted and actual number of field positions along with the
frontloading128 rate and the percent variance.

                                 Table 170: NRFU Production Staffing
                                                      Number of                        Number of
                                   Frontloading
               Position                                Positions                        Positions
                                       Rate
                                                       Budgeted                           Actual
               Enumerator                    50%         524,919                         516,709
               CLA                            0%          65,266                          48,973
               CL                             0%          40,781                          39,559
               FOS                            0%           4,568                           5,575
               Total                           --        635,534                         610,816

For NRFU, 635,534 total field staff positions were budgeted. However, we only filled 610,816
field positions. The FOS position was the only position type where actual positions were higher
than budgeted. The budget called for 4,568 FOS positions, however, 5,575 FOS worked on
NRFU. A late program change, which was successfully implemented, included adding an AMFO
Assistant position in the LCO office. Most AMFO Assistants (listed as a FOS in DAPPS)
charged to the LCO office project; however, some AMFO Assistants mistakenly charged to the
NRFU project. It is not possible to distinguish FOS from AMFO Assistant staff who charged to
the NRFU task code. As a result, the number of actual NRFU FOS staff is slightly inflated by
these AMFO Assistants.




128
   Frontloading is a staffing strategy of over-selecting enumerators for specific field operations to compensate for
the risk of dropouts (attrition). Frontloading allows the LCO to meet or exceed established operational deadlines by
ensuring that a pool of trained field staff is available as needed.


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                    Exhibit 12
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·1· · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · · ·FOR THE DISTRICT OF MARYLAND

·3· · · · · · · · · ·Southern Division

·4

·5·   ·-----------------------------x
· ·   ·NATIONAL ASSOCIATION FOR THE :
·6·   ·ADVANCEMENT OF COLORED· · · ·:
· ·   ·PEOPLE, et al.,· · · · · · · :
·7·   · · · · · · · · · · · · · · · :
· ·   · · · · · · · ·Plaintiffs,· · :· · · ·Case No.
·8·   · · · ·vs.· · · · · · · · · · :
· ·   · · · · · · · · · · · · · · · :· · · PWG-18-891
·9·   ·BUREAU OF THE CENSUS,· · · · :
· ·   ·et al.,· · · · · · · · · · · :
10·   · · · · · · · · · · · · · · · :
· ·   · · · · · · · ·Defendants.· · :
11·   ·-----------------------------x

12

13

14· · ·*** CONFIDENTIAL - UNDER PROTECTIVE ORDER ***

15

16· · · · · · ·DEPOSITION OF BENJAMIN TAYLOR

17· · · · · · · · ·Friday, July 12, 2019

18· · · · · · · · · · Washington, D.C.

19

20

21

22

23

24· ·Reported by:· Dawn A. Jaques, CSR, CLR

25· ·Job No.:· · · 277427


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·1· · · · · · · ·In a slight inconvenience, the concept

·2· ·has changed a little bit in 2019, but I think that

·3· ·it should still show that we've actually reduced

·4· ·the number of enumerators we actually think would

·5· ·be needed to get the job done, and that's what

·6· ·"core" is.· It's the 260 829.

·7· · · · · · · ·So we're reducing the amount that we

·8· ·actually think will be needed to retire the

·9· ·workload that we've estimated using the

10· ·productivity that we've estimated.· However, we

11· ·are going to prepare an even larger workforce, up

12· ·to 399,938 enumerators and CFS, that would be

13· ·fully cleared and trained and ready to deploy, and

14· ·that allows for a host of different flexibilities

15· ·to ensure that the operation goes well.

16· · · · · Q· · So my question then, if that's the

17· ·case, if we go back to Exhibit 8, how is it that

18· ·if you're hiring and training 399,000 people so

19· ·they're ready to go if needed, how then do you

20· ·reflect a reduction in cost based on the

21· ·productivity in column G if the total universe of

22· ·people that you're training and getting ready to

23· ·be deployed actually has increased from 2017 to

24· ·2019?· Do you see my point?

25· · · · · · · ·Let me walk you through it.


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·1· ·said we could pick 1- to 39 million number of

·2· ·people to put in the field.

·3· · · · · · · ·The only time that we would need more

·4· ·dollars beyond what's here is if the workload goes

·5· ·up or if the productivity goes down.· Those are

·6· ·the only two cases.· So it gives people total

·7· ·flexibility to put whatever number of people they

·8· ·want into the field and manage their workload, but

·9· ·as long workload stays the same and productivity

10· ·stays the same, it will not change the cost.

11· · · · · · · ·BY MR. CREELAN:

12· · · · · Q· · So let me ask you about the -- I want

13· ·to continue this chart discussion, but let me ask

14· ·you about the self-response rate because that is

15· ·one assumption that did not change from 2017 to

16· ·2019, correct?

17· · · · · A· · That is correct.

18· · · · · Q· · So what is your understanding for what

19· ·the basis is for the 60.5 self-response rate

20· ·assumption?

21· · · · · A· · So the 60.5 percent assumption is

22· ·based on a decade's worth of intense research by

23· ·some extremely smart subject matter experts at the

24· ·Census Bureau, and they in general are not swayed

25· ·all that much by test data.


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·1· · · · · · · ·BY MR. CREELAN:

·2· · · · · Q· · Okay.· Are you aware of any test

·3· ·conducted by the Bureau in this 2020 Census life

·4· ·cycle that produced or showed a response rate, a

·5· ·self-response rate, that reached 60 percent?

·6· · · · · · · ·MR. LYNCH:· Objection, outside the

·7· ·scope.

·8· · · · · · · ·THE WITNESS:· I don't have all that

·9· ·data in front of me, but it is my understanding

10· ·that none would have.

11· · · · · · · ·BY MR. CREELAN:

12· · · · · Q· · Let's continue with this chart just to

13· ·round out the changes.· I think you were on

14· ·column --

15· · · · · A· · This was I, so this would be J.

16· · · · · · · ·So I think we already covered the pay

17· ·rates, and the same kind of story applies for NRFU

18· ·as well.· There was a slight reduction on the

19· ·nationwide average.· That did not mean that every

20· ·possible community went down; some went up.

21· · · · · · · ·So in general, you can see that the

22· ·average went from $18.85 to $18.56.· Again, very

23· ·similar story to what we explained for address

24· ·canvassing, and that was a 25 and a half million

25· ·dollar reduction in the cost.


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·1· ·and beyond that 80 percent confidence level, which

·2· ·is the same level that's supported by our

·3· ·independent cost estimate as well.

·4· · · · · · · ·So everything at that 80 percent

·5· ·confidence level is included, so that would be the

·6· ·$12.7 billion in programmatic costs that we talked

·7· ·about at the very beginning, plus the $1.2 billion

·8· ·in program risk that is appropriated between FY19

·9· ·and FY20, and the amounts above that for special

10· ·risk contingencies are the amounts that are not

11· ·currently included.

12· · · · · · · ·BY MR. CREELAN:

13· · · · · Q· · Let me just clarify that.

14· · · · · · · ·Are those special contingencies

15· ·reflected in your table in Exhibit 9?

16· · · · · A· · Yes.

17· · · · · Q· · So where are they?

18· · · · · A· · They're in the Program Risk

19· ·Contingency.

20· · · · · Q· · The 1.25?

21· · · · · A· · Yes.

22· · · · · Q· · So what I'm trying to understand is,

23· ·and forgive me if I'm missing something.· The

24· ·shortfall that we just discussed of the

25· ·300+ million, that was a portion of the


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·1· ·$1.25 million, correct?

·2· · · · · · · ·In other words, we use the

·3· ·$1.25 million to come up with that shortfall, and

·4· ·we didn't have the full $1.25 million -- billion

·5· ·covered, correct?

·6· · · · · · · ·MR. LYNCH:· Objection.

·7· · · · · · · ·THE WITNESS:· There is $1.25 billion

·8· ·in new Program Risk Contingency in FY20, and we're

·9· ·saying that about 300 of it was not included in

10· ·the President's budget request for FY20.

11· · · · · · · ·However, there is over 300 that was

12· ·already appropriated in FY19, and if that's not

13· ·utilized, then that will carry over and form the

14· ·base for our program contingency.

15· · · · · · · ·BY MR. CREELAN:

16· · · · · Q· · But what's confusing me, is the

17· ·$322 billion that you're referring -- or million

18· ·that you're referring to, is that not part of

19· ·the billion that we discussed earlier that was

20· ·carried over from FY2019?

21· · · · · A· · No, that's not.

22· · · · · Q· · So carryover from FY2019 is a billion

23· ·plus $322 million that's unused?

24· · · · · A· · Well, we still need to get to the end

25· ·of FY19 without using it, but we are in a position


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·1· ·where we will likely end the year with a vast

·2· ·majority of that carried over to support FY2020.

·3· · · · · Q· · How much of it has been used to date?

·4· · · · · A· · I don't have the exact number, but it

·5· ·is less than $10 million.· I think between 5- and

·6· ·$10 million.

·7· · · · · Q· · So that was a helpful clarification.

·8· · · · · · · ·So getting back to your -- you were

·9· ·answering the question of if a portion of the

10· ·contingency is not appropriated and not available,

11· ·but is required, is needed, what, if anything, can

12· ·the Census Bureau do at that point?

13· · · · · A· · So the contingency would certainly not

14· ·be needed until well into the fiscal year,

15· ·certainly well into the operations.· Unless a very

16· ·strange kind of disaster happened, you know, it is

17· ·likely that we wouldn't be running out of money

18· ·available to us until late in the fiscal year,

19· ·late in the NRFU operation.

20· · · · · · · ·So a couple of things will be known to

21· ·us by then.· One of those is how much is actually

22· ·appropriated to us in FY20, which could very well

23· ·include money beyond the FY20 budget request.

24· · · · · · · ·But if that isn't, then we will almost

25· ·certainly be in very regular communication with


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·1· · · · · · · ·BY MR. CREELAN:

·2· · · · · Q· · Any other clarifications at this

·3· ·point?

·4· · · · · A· · I don't believe so.

·5· · · · · Q· · Okay.· I want to switch gears and talk

·6· ·a little bit about the Integrated Partnership and

·7· ·Communications Program.

·8· · · · · · · ·First, can you just describe for us

·9· ·what that program is and what role it plays in the

10· ·census?

11· · · · · A· · So generally speaking, the Integrated

12· ·Communications and Partnership Program constitutes

13· ·the entirety of what we define as respondent

14· ·outreach, and that is pretty much everything that

15· ·the Bureau does to raise awareness about the

16· ·2020 Census, both nationally and at the community

17· ·level, and there is a very complex set of very

18· ·important activities that are done under that

19· ·banner.

20· · · · · · · ·First and foremost is the advertising

21· ·campaign, which is done on multiple fronts; and

22· ·then we have the Partnership Program, which is

23· ·made up of a national partnership program, which

24· ·is generally trying to raise national awareness;

25· ·and then the Community Partnership Engagement


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·1· ·Program, which we sometimes refer to as field

·2· ·partnership, but that is really building a network

·3· ·of trusted community voices that build trust and

·4· ·get the word out about the census, how important

·5· ·it is to respond, that it's happening, and

·6· ·encourage people to respond.

·7· · · · · · · ·We viewed that whole program as

·8· ·paramount to the self-response of the census.

·9· · · · · Q· · And is that particularly important to

10· ·increase the self-response rate for hard-to-count

11· ·communities?

12· · · · · · · ·MR. LYNCH:· Objection, outside the

13· ·scope.

14· · · · · · · ·THE WITNESS:· Generally, yes.

15· · · · · · · ·BY MR. CREELAN:

16· · · · · Q· · Okay, I want to talk a little bit

17· ·about the cost estimates for that program.

18· · · · · · · ·If we go to the 2017 BoE, which is

19· ·Exhibit 3, and at Appendix FF --

20· · · · · A· · Yep, I'm there.

21· · · · · Q· · You'll see there's a row headed

22· ·"Respondent Outreach," and then to the right of

23· ·that in the same row, "Advertising Campaign and

24· ·Field Partnership Program."

25· · · · · · · ·Does this section include the cost


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Update on the 2020 Census

Presentation to the National Advisory Committee

May 2, 2019

Albert E. Fontenot, Jr., Associate Director
Decennial Census Programs
2018 End-to-End Census  Test
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Proportion of Self-Response for each Race
Total Household Population: 571,000


 80.00%

 70.00%

 60.00%
                                                                                                                                               56%
 50.00%

 40.00%

 30.00%

 20.00%

 10.00%

  0.00%
                White                 Black   American Indian and            Asian        Native Hawaiian and      Two or More Races   Some Other Race
                                                Alaskan Native                            Other Pacific Islander
                                                Self Response          Proportion Self Response (All Races)


                                                                         4
                                                   DRB Approval Number: CBDRB-FY19-RAGLIN-B0001
2018 End-to-End Census  Test
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Proportion of Self-Response Modes for each Race – Internet
Total Household Population: 571,000


 80.00%

 70.00%
                                                                                                                                                   65%
 60.00%

 50.00%

 40.00%

 30.00%

 20.00%

 10.00%

  0.00%
                White                 Black   American Indian and            Asian         Native Hawaiian and      Two or More Races   Some Other Race
                                                Alaskan Native                             Other Pacific Islander
                                                     Internet          Proportion Internet (All Races)


                                                                         5
                                                   DRB Approval Number: CBDRB-FY19-RAGLIN-B0001
2018 End-to-End Census  Test
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Proportion of Self-Response for Hispanic Origin
Total Household Population: 571,000


 80.00%


 70.00%


 60.00%                                                                      56%


 50.00%


 40.00%


 30.00%


 20.00%


 10.00%


  0.00%
                                      Non-Hispanic                                                                 Hispanic
                                                     Self Response          Proportion Self Response (All Races)


                                                                              8
                                                        DRB Approval Number: CBDRB-FY19-RAGLIN-B0001
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                    Exhibit 14
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                             United States Government Accountability Office
                            Report to Congressional Requesters




August 2018
                            2020 CENSUS

                            Continued
                            Management
                            Attention Needed to
                            Address Challenges
                            and Risks with
                            Developing, Testing,
                            and Securing IT
                            Systems




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                            is to resolve erroneous enumerations (such as people counted in the wrong place or more than once)
                            and omissions.




                            Even as the Bureau has made progress in its system development and
The Bureau                  testing activities, it continues to face challenges in managing and
Continues to Face           overseeing the development and testing of its IT systems for the 2018
                            End-to-End Test and the 2020 Census. Specifically, we have noted
Challenges and Risks        challenges in the Bureau’s efforts to manage the schedules, contracts,
in Implementing Its IT      costs, governance and internal coordination, and cybersecurity of its
                            systems.
Systems for the 2020
Census
Schedule management         The Bureau has faced significant challenges in managing its schedule for
                            developing and testing systems for the 2018 End-to-End Test. Further,
                            due, in part, to these challenges, the Bureau is replanning key IT
                            milestones for the 2020 Census.

                            In May 2018, we reported that the Bureau had delayed by several months
                            key IT milestone dates (e.g., dates to begin system integration testing) for
                            a majority of the 14 operations in the 2018 End-to-End Test. 12 For
                            example, the Bureau moved the test readiness review date for the fraud
                            detection operation from April 2018 to July 2018—a delay of 3 months.
                            These delays have compressed the time the Bureau has had for
                            integration testing before the systems are deployed in the 2018 End-to-
                            End Test.

                            Several of the systems subsequently experienced problems during the
                            end-to-end test, including the mobile device applications being used by
                            enumerators for the non-response follow-up 13 operation of the test. 14 For
                            example, Bureau officials reported that enumerators have experienced
                            problems with the sensitivity of the mobile devices’ touch screen. More
                            12
                              GAO-18-543T.
                            13
                              In non-response follow-up, if a household does not respond to the census by a certain
                            date, the Bureau will send out employees to visit the home. The Bureau’s plan is for these
                            enumerators to use a census application, on a mobile device provided by the Bureau, to
                            capture the information given to them by the in-person interviews.
                            14
                               As mentioned previously, the non-response follow-up operation of the End-to-End Test
                            is being performed in Rhode Island and began in May 2018 and is scheduled to conclude
                            in August 2018.




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                   specifically, in certain cases, the mobile device application did not identify
                   that the enumerator had made a selection on the touch screen until after
                   the enumerator attempted to select it multiple times.

                   In addition, we previously reported that the delays in system development
                   and testing had reduced the time available to conduct the security
                   reviews and approvals for the systems being used in the 2018 End-to-
                   End Test. 15 Officials in the Bureau’s Office of Information Security stated
                   that the original plan was to have at least 6 to 8 weeks to perform security
                   assessments for each system. However, given the compressed time
                   frames, Bureau officials informed us that, in some instances, they have
                   had 5 to 8 days to complete certain assessments. This resulted in
                   systems being deployed before the security of all system components
                   were assessed. 16 We concluded that, going forward, it would be important
                   for these security assessments to be completed in a timely manner and
                   that risks be at an acceptable level before the systems are deployed.

                   Due in part to IT development and testing schedule challenges that it has
                   identified during the 2018 End-to-End Test, the Bureau is in the process
                   of revising the milestone dates for the additional system development and
                   testing that is to occur after the 2018 End-to-End Test and before the
                   2020 Census. As noted earlier, the Bureau plans to develop, test, and
                   deploy the 52 systems in the 2020 Census in four operational releases.

                   According to the Bureau’s plans, the agency originally planned to
                   complete development for its first 2020 Census operational release (for
                   recruiting and hiring) in May 2018. However, in June 2018, Bureau
                   officials reported that the Bureau did not meet the May 2018 delivery date
                   for the 2020 Census recruiting and hiring operational release.
                   Additionally, the agency originally planned to complete integration and
                   testing for this operational release by July 2018. However, in July 2018,
                   Bureau officials reported that this milestone had been delayed to August
                   2018. The Bureau’s original milestone dates for the operational releases,
                   reflecting the system development completion status for recruiting and
                   hiring, are shown in table 1.


                   15
                    GAO-18-543T.
                   16
                      According to the Bureau’s Chief Information Security Officer, components that do not
                   have all controls assessed are to be tracked until the assessments are completed, even if
                   it is after the system deploys.




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Table 1: The Census Bureau’s Original Milestone Dates for Operational Releases for the 2020 Census, as of July 2018

                                                Number of             Expected completion
Operational release                         systems in the            date for system              Expected completion date       Expected
name                                    operational release           development                  for integration and test       deployment date
1.     Recruiting and hiring                                 21       May 2018 (Not met)           July 2018 (Not met)            September 2018
2.     Address canvassing                                    29       November 2018                March 2019                     May 2019
3.     Self-response, non-                                   47       February 2019                June 2019                      November 2019
       response follow-up,
       and fraud detection
4.     Reporting and                                         25       October 2019                 February 2020                  July 2020
       coverage
       measurement
Source: GAO analysis of Census Bureau data. | GAO-18-655




                                                           Bureau officials reported that they intend to revise the development and
                                                           testing milestone dates for all four operational releases for the 2020
                                                           Census, but that they do not expect the final deployment dates to change.
                                                           The officials further noted that they are planning to incorporate lessons
                                                           learned to date from the 2018 End-to-End Test as part of the replanning
                                                           efforts. However, Bureau officials had not yet identified a specific time
                                                           frame for completing these efforts.

                                                           Managing the schedule for system development and testing is also
                                                           important because the Bureau plans to conduct system performance and
                                                           scalability testing after the 2018 End-to-End Test and prior to the 2020
                                                           Census. 17 Specifically, in February 2018, the Bureau established an
                                                           approach to conducting performance and scalability testing that began in
                                                           February 2018 (with system design reviews and analyses) and is
                                                           expected to be completed in October 2019.

                                                           As of July 2018, the Bureau reported that it had completed design
                                                           reviews and analysis for 11 systems (such as the operational control
                                                           system) and had developed performance test plans for 8 systems. Figure
                                                           4 summarizes the Bureau’s performance and scalability test plans.




                                                           17
                                                             Performance testing is the process of determining how a system behaves under a
                                                           specific workload (e.g., number of users). Scalability testing is a subset of performance
                                                           testing to determine a system’s effectiveness in handling an increasing number of users.




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Figure 4: The Census’s Bureau’s Expected Performance and Scalability Test Plans for the 2020 Census, as of July 2018




                                        As planning for the 2020 Census continues, it will be important for the
                                        Bureau to provide adequate time for system development and testing
                                        activities. This will help ensure that the time available for security
                                        assessments is not reduced as it has been, thus far, during the 2018 End-
                                        to-End Test. We have previously reported that, without adequate time for
                                        completing these security assessments, the Bureau will be challenged in
                                        ensuring that risks are at an acceptable level before the systems are
                                        deployed for the 2020 Census.

Contract management                     The Bureau also faces challenges in managing its significant contractor
                                        support. The Bureau is relying on contractor support in many areas to
                                        prepare for the 2020 Census. For example, it is relying on contractors to
                                        develop a number of systems and components of the IT infrastructure.
                                        These activities include (1) developing the IT platform (as part of the
                                        CEDCaP program) that is intended to be used to collect data from
                                        households responding via the Internet and telephone, and for non-
                                        response follow-up activities; (2) procuring the mobile devices and cellular
                                        service to be used for non-response follow-up; and (3) deploying the IT
                                        and telecommunications hardware in the field offices. According to
                                        Bureau officials, contractors are also providing support in areas such as
                                        fraud detection, cloud computing services, and disaster recovery.

                                        In addition to the development of technology, the Bureau is relying on a
                                        technical integration contractor to integrate all of the key systems and
                                        infrastructure. The Bureau awarded a contract to integrate the 2020
                                        Census systems and infrastructure in August 2016. The contractor’s work


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                    Exhibit 15
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  2020 Census: The Number and
 Location of Area Census Offices
May Not Reflect NRFU Workload
 Demands and Will Not Result in
          Projected Cost Savings
                                         FINAL REPORT NO. OIG-18-018-A
                                                               APRIL 30, 2018




                                              U.S. Department of Commerce
                                                  Office of Inspector General
                                               Office of Audit and Evaluation
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    U.S. DEPARTMENT OF COMMERCE                                                     OFFICE OF INSPECTOR GENERAL


Introduction
A large, temporary field infrastructure is required to carry out the decennial census—
comprising more than half a dozen major field operations—across the United States. For the
2010 Census, the U.S. Census Bureau (the Bureau) operated 12 regional Census centers, 1 area
office in Puerto Rico, and 494 local Census offices, at a cost of nearly $331 million. 1 Census
staff selected the "area of consideration" for each field office site based on certain criteria,
including placing at least one office in each congressional district and equalizing the workload
for the nonresponse followup (NRFU) 2 operation—the decennial census’ largest—among each
of the 494 local Census offices.
For the 2020 Census, the Bureau only plans on opening 248 field offices (now referred to as
area Census offices or ACOs), thereby reducing the ‘brick-and-mortar’ footprint and associated
costs required to carry out the 2010 decennial census field operations by an estimated 50
percent. According to the Bureau, increased use of technology, streamlined staffing, and the
ability to work and manage remotely reduce the number of offices needed to support the 2020
Census. This change is designed to contribute to the goal of conducting the 2020 Census at a
lower cost per household (adjusted for inflation) than the 2010 Census.
The Bureau’s Field Division (specifically, the Field Infrastructure Branch) is responsible for
managing the acquisition of temporary offices required to support field operations, such as
NRFU, in-field address canvassing, and group quarters enumeration. 3 Each ACO must meet
space requirements and other specifications, such as those involving telecommunication lines,
security requirements, office equipment, and furniture.

As with the 2010 Census, the Bureau is partnering with the General Services Administration’s
(GSA’s) Public Buildings Service to search for, solicit, and acquire office space to meet its field
office needs and deployment schedule. GSA’s lease acquisition process comprises six phases:
     1. agency requirements development;
     2. procurement, which includes market development, solicitation, offer evaluation, and
        award;
     3. post-award design;
     4. tenant improvement negotiation;
     5. post-award construction; and
     6. acceptance and occupancy.


1
  Cost factors include such items as leasing fees and expenditures to furnish and equip offices.
2
  The NRFU operation determines housing unit status for addresses that do not self-respond to the 2020 Census,
and enumerates households that are determined to be “occupied.”
3
  During NRFU, enumerators visit households to obtain the information contained in questionnaires from those
that did not respond by mail, internet, or telephone. The in-field address canvassing operation aims to identify
where people currently (or could) reside or stay. Temporary field staff compare what they see on the ground to
the existing census address list and either verify or correct the address and location information, as necessary. The
group quarters operation enumerates people residing or staying in group quarters, such as nursing homes.


FINAL REPORT NO. OIG-18-018-A                                                                                       1
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            Table 2. Input Variables Used to Determine the Number of ACOs
                                                               2020 Census Life
                                         Field Division
                                                                  Cycle Cost                Percent
             Input Variable               Calculation
                                                                   Estimate                 Increase
                                           May 2016
                                                               December 2017
             Number of addresses              46,223,803               55,140,004                19%
             Number of visits                 98,023,991              136,253,268                39%
             Number of core
                                                 173,021                  256,336a               48%
             enumerators
             Enumerator per office
                                                     735                     1,034a              41%
             ratio
             Number of offices                        248b                    248                 0%
            Source: OIG analysis of U.S. Census Bureau information
            a
              OIG calculation based on the 2020 LCCE Assumption Table.
            b
              The Bureau decided to open 248 offices based on the enumerator per office ratio and
              after ensuring compliance with the criteria and consulting with the regional offices.

         Bureau officials stated that this increase in the NRFU workload and enumerators would
         have no impact on the total number of ACOs required for field operations. However,
         maintaining the same number of offices is not consistent with the Bureau’s previous
         actions. During the initial planning, the Bureau originally intended to open 30 Wave 1
         ACOs to support address canvassing, but subsequently increased the number of offices
         to 40 due to a projected increase in workload. We found no evidence that the Bureau
         reconciled the increased NRFU workload and associated increase in the number of
         enumerators with the Field Division’s original assumptions in the 54-step model that the
         original 248 ACO number was based on. Without such an assessment, the Bureau could
         not know what impact these increases will have on NRFU operations, other than
         increased costs.

II. Several Risks Currently Jeopardize ACO Space Acquisition, Requiring
    Additional Risk Planning
      The June 12, 2017, 2020 Census Project Risk Register identified eight risks that directly
      relate to ACO space acquisition. The most significant of these states that if the field
      infrastructure is not sufficient to support the work for the 2020 Census, then there is
      significant risk of not effectively or efficiently managing the associated field workload, which
      could impact cost and data quality (see appendix C for a listing of all eight risks). However,
      because the Bureau rated the exposure level of this as a medium-sized risk, it did not
      prepare mitigation or contingency plans, which were not required by its risk management
      plan. 12 The GSA manager responsible for the ACO space acquisition program stated that
      they wanted to develop a risk matrix for the ACO lease acquisition effort in December

12
  Mitigation activities aim to reduce the probability of a risk becoming realized, while the objective of the
contingency plan is to reduce or recover from the impact of a realized risk.


6                                                                                       FINAL REPORT NO. OIG-18-018-A
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                    Exhibit 16
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                             2010 Census Program for Evaluations and Experiments
                                                                     May 8, 2012




      2010 Census Be Counted and
      Questionnaire Assistance Centers
      Assessment


U.S. Census Bureau standards and quality process procedures were applied throughout the
creation of this report.




                                        Geoff Jackson and Keith Wechter
                                        Susanna Winder
                                        Decennial Statistical Studies Division
                                        Decennial Management Division




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                                        Executive Summary
The 2010 Be Counted and Questionnaire Assistance Centers Assessment reports the results of
the 2010 Census Be Counted/Quality Assistance Center operation. The Be
Counted/Questionnaire Assistance Center operation provided the public with an opportunity to
be included in the 2010 Census if they did not complete a 2010 Census questionnaire, were not
personally interviewed by a Census enumerator, or thought they were left off the 2010 Census
questionnaire for their address. The Be Counted questionnaires were available in six languages
(English, Spanish, Chinese (Simplified), Vietnamese, Korean, and Russian) for stateside and two
languages for Puerto Rico (English and Spanish). The Be Counted questionnaires were available
to be picked up in Be Counted sites or Questionnaire Assistance Center sites. There were 9,670
Be Counted sites and 29,157 Questionnaire Assistance Center sites located throughout the
country in areas where a person was able to mail back a 2010 Census questionnaire. Census
partnership specialists worked with the community to establish these sites in businesses,
community centers, and libraries, predominantly in hard-to-enumerate areas. Questionnaire
Assistance Centers differed from Be Counted sites because the Questionnaire Assistance Centers
employed a temporary Census worker at the site (for about fifteen hours per week) to assist
respondents in completing their Census forms (including the mailout questionnaire that was
delivered to their address and the Be Counted questionnaire). The Be Counted sites did not have
any Census Bureau employees available to assist the public.

Total operational spending for the Be Counted/Questionnaire Assistance Centers operation was
$35,574,131 (89.4 percent of the budgeted $39,804,886). Of the total costs, $7,662,108 was
spent on Be Counted and $27,287,489 was spent on Questionnaire Assistance Centers. The
operation was conducted in Mailout/Mailback areas on schedule from March 19 through April
19, 2010. As planned, 3,268 Questionnaire Assistance Centers in Update/Leave areas opened
earlier on February 26, 2010. Across the nation, 31,055 temporary employees worked on the
operation (not including Partnership staff). Operational staff included local census office clerks,
Be Counted clerks, Questionnaire Assistance Representatives, and Field Operations Supervisors.

Be Counted Sites and Questionnaire Assistance Centers

Thirty percent of the Be Counted sites were located in a business or corporation. Nineteen
percent were in a local government building. Twelve percent of the sites were in community
organizations or libraries. The Census Bureau hired employees to staff the Questionnaire
Assistance Centers. These centers were often located in community organizations (21 percent),
local government buildings (20 percent), or libraries (18 percent). Only 13 percent of
Questionnaire Assistance Centers were located in a business or corporation. The Census Bureau
website provided people with the opportunity to locate Be Counted sites and Questionnaire
Assistance Centers.

Some Questionnaire Assistance Centers were located in Suburban/Rural areas, and some were
located in Urban Hard-to-Count areas. Questionnaire Assistance Centers in Suburban/Rural areas
were visited the most often, as 34.7 percent of all visits were in Suburban/Rural areas. However,
Questionnaire Assistance Centers in Urban/Hard-to-Count Areas were more likely to be visited
when compared to the proportion of housing units located in those areas. Thirty-one percent of
Questionnaire Assistance Centers visits were in Urban/Hard-to-Count Areas while only 12.5

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percent of the national housing units were located in Urban/Hard-to-Count Areas. The most
frequently visited sites were in the Los Angeles and New York regions. The most common way
that a customer learned of the Questionnaire Assistance Centers was by seeing the physical
center, not necessarily by a specific means of advertising. Approximately 65 percent of all
customers knew of the center because they saw it. The internet or television was only reported
by 5.2 percent of all customers as the way they became aware of the center.

The main reasons for people visiting Questionnaire Assistance Centers were because the
customer did not receive a questionnaire (38.3 percent of stateside visits) or they lost their
questionnaires (11.1 percent of stateside visits). The third most common reason for a person to
visit a stateside Questionnaire Assistance Center was to inquire about a job (8.5 percent of
visits). When a customer required help with completing a questionnaire, the most common
questionnaires that they needed assistance with were the English Be Counted questionnaire (24.8
percent of visits) and the English Mailout/Mailback questionnaire (20.1 percent of visits).

Operational Implementation

Although the main goals of the program were implemented—establishing Be
Counted/Questionnaire Assistance Centers sites on time, staffing Questionnaire Assistance
Centers, and providing Be Counted boxes and questionnaires to each site as needed—monitoring
this operation was a challenge. The first challenge was not having the benefit of using the
Operations Control System to monitor the operation. When the Be Counted/Questionnaire
Assistance Centers program was removed from the Operations Control System development as a
cost saving measure, Field Division had to implement a series of Excel spreadsheets to monitor
the program that included monitoring the staffing, sites, and the distribution of questionnaires to
the sites. These spreadsheets somewhat resolved the issue for monitoring the operation but were
confusing to use and not accurate as they relied heavily on manual input from Local Census
Office staff.

In addition to the challenge above caused by dropping the Be Counted/Questionnaire Assistance
Centers program from the Operations Control System, another challenge was monitoring the site
selection from the regions. Field Division had to create a system within the Integrated
Partnership Contact Database to monitor Be Counted/Questionnaire Assistance Center sites.
Although the system maintained the sites that were selected for the program, updating it was a
challenge during operations. For example, if sites were added or removed within the Local
Census Offices, there was some lag time to when these updates were reflected in the Integrated
Partnership Contact Database that was loaded to the website. This caused some sites to be listed
on the website that were, in fact, closed.

Another challenge was dividing the Be Counted/Questionnaire Assistance Centers
responsibilities between operational and partnership areas. There was often confusion about each
of the area’s roles in the field. Various measures were taken to clarify concerns and roles, such as
conducting a thorough presentation on the roles before the start of the operation, but
misunderstandings remained. Information gathered from the debriefings points to having only
one area be responsible for the entire operation.



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Printing of Be Counted Questionnaires

The Census Bureau printed 13,901,000 Be Counted questionnaires. Of those, 5,813,000 were
stateside English questionnaires, 4,507,000 were stateside Spanish questionnaires, and 3,280,000
were the other four available languages stateside. For Puerto Rico, the Census Bureau printed
239,000 English and 62,000 Spanish questionnaires. Even though the Census Bureau printed
13,901,000 Be Counted questionnaires, only 39.1 percent were distributed to Be Counted sites
and Questionnaire Assistance Centers. The Census Bureau did not distribute 8,469,277
questionnaires. The majority of the forms not distributed were English language questionnaires.
The over printing of questionnaires was to minimize the chance for a Regional Office to run out
of questionnaires. Of the questionnaires that were distributed to sites and centers, only 2,844,827
(20.5 percent of printed questionnaires) were picked up by the public. Even fewer questionnaires
were actually completed and sent back to the Census Bureau. Only 784,103 Be Counted
questionnaires were received by Census data capture centers. Thus, 5.6 percent of the printed Be
Counted questionnaires were completed.

In relation to form printing, there were challenges on the distribution of these forms to the field.
Field Division created a model to distribute the questionnaires based on language use in Local
Census Offices using the Partnership Database. Although the distribution accounted for language
needs in the Local Census Offices, several regions ran out of non-English language
questionnaires in certain areas. Regions had to shuffle questionnaires within their region, and
Field Division facilitated the move of questionnaires across regions.

Processing of Be Counted Questionnaires

Since respondents were to pick up Be Counted questionnaires at Be Counted sites or
Questionnaire Assistance Centers, the Be Counted Questionnaires were not initially linked to an
address on the Master Address File. After a Be Counted questionnaire was data captured, the
address information entered by the respondent was sent to the Geography Division to be
processed. The total number of Be Counted questionnaires sent to the Geography Division was
780,914, less than the 784,103 Be Counted questionnaires checked into data capture, because
this number included blank questionnaires and any questionnaires that were data captured twice.
Each address underwent an automated and/or clerical address matching process. The type of
processing depended on the type of Be Counted questionnaire. Be Counted questionnaires were
grouped into two categories for processing: Type A and Type B cases. Type A cases consisted of
addresses from Be Counted questionnaires where the respondent reported that they had a housing
unit where they usually lived or stayed. There were 767,204 Type A Be Counted questionnaires.
Type B cases consisted of Be Counted questionnaires where the respondent indicated that they
did not have an address, and hence were experiencing homelessness. There were 13,710 Type B
Be Counted questionnaires.

Type A cases first went to an automated process that attempted to assign the address to a state
and county in a process known as header-coding, which is required in order to attempt to match
or geocode an address. Any successfully header-coded address was then compared to the Census
Bureau’s living quarters inventory – known as the Master Address File – in an attempt to match
it to an address already in the 2010 Census. If a match was not obtained, or the matching record
did not already have an assigned block, an attempt was made to derive a census-block level

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geocode. If no match or block geocode could be obtained during automated processing, the
address was sent to clerical processing. Also, it should be noted that if a Type A address was not
successfully header-coded during automated processing, it was passed directly on to clerical
processing for an attempt at header-coding, as well as matching and/or geocoding once
successfully assigned to a state and county. Ultimately, Type A cases that were only geocoded
and did not match to an existing record on the Master Address File were sent to the Field
Verification operation to be verified before their respective addresses, and the associated
persons, could be included in the 2010 Census.

Type B Be Counted cases underwent an automated and/or clerical process to assign the case to a
specific state and county. This process was also called header-coding. If successfully header-
coded, the people on the Type B Be Counted questionnaires were part of a person unduplication
process. If they were not identified as a duplicate of someone in a group quarters, then they were
randomly allocated to a group quarters in the state and county to which they were header-coded.

Eighty-nine percent of all Type A Be Counted cases were matched to a housing unit and/or
geocoded to a block. Slightly less than one percent of Type A cases were matched to a group
quarters. Of those that matched to a group quarters, the majority (19.3 percent) matched to an
emergency and transitional shelter for people experiencing homelessness. Eight percent of all
Type A cases were not matched to any address or geocoded to a block and therefore not eligible
to be included in final population counts. In Puerto Rico, 27.8 percent of Type A cases did not
match to an address. Of the 202,709 Type A Be Counted cases that went to the Field Verification
operation, 38.2 percent were verified as existing housing units.

Of the 13,710 Type B cases, 90.9 percent were header-coded to a state and county. There was
additional research conducted on the Type B cases after 2010 Census processing was completed.
The Geography Division performed the same type of address-level matching used on Type A
cases. This address matching was only completed for this assessment in March 2011 and was not
a part of the processing of Type B cases. Of the Type B cases, 39.3 percent were addresses that
linked to an existing address or group quarters. Of those people from the Type B questionnaires
that provided an address that was linked to an existing living quarters, 41.4 percent of them were
found to be already included in those units in the 2010 Census. This shows that a large number
of people that were identified as experiencing homelessness did in fact have an address where
they lived or stayed on April 1, 2010. This suggests the current method of identifying Type B
cases with a check box on the questionnaire is not working as intended.

People Counted In Census from Be Counted Questionnaires

There were 760,748 people counted in the Census from 350,307 total Be Counted questionnaires.
Of those people counted in the Census, 736,941 lived or stayed in housing units while 23,807
were counted in group quarters. Of the 736,941 people in housing units, 77.3 percent were
counted on an English language Be Counted questionnaire. The second most common
questionnaire was the stateside Spanish language Be Counted questionnaire, which consisted of
17.2 percent of all Be Counted people counted in the 2010 Census. The stateside Spanish
language Be Counted questionnaire had the largest average number of people counted in 2010
Census per Be Counted language questionnaire, with three people per questionnaire. It had an
average of one more person per questionnaire than the stateside English Be Counted

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questionnaire. Similar to the housing unit distribution, the Be Counted questionnaires that
contributed the most to the people counted in the 2010 Census and living in group quarters were
stateside English and stateside Spanish questionnaires.

Recommendations

The key recommendations from the 2010 Be Counted and Questionnaire Assistance Center
Program lessons learned sessions and the results of this assessment are the following:

       Manage the Be Counted/Questionnaire Assistance Center operation under one
       program area so that responsibility is not shared between Partnership and
       Operations areas.

       Implement an operations control system for the Be Counted/Questionnaire
       Assistance Center operation which creates real time reports and provides
       automated tracking.

       Plan and budget for using the Integrated Partnership Control Database and Census
       Bureau website for the Be Counted/Questionnaire Assistance Center operation to
       better match the needs of the program.

       Research allowing respondents to complete Be Counted questionnaires on the
       internet and having an electronic data collection method for Be Counted available in
       the field.

       Implement Be Counted sites in standard locations.

       Improve the way that respondents can identify themselves as experiencing
       homelessness (i.e. improve the identification of Type B Be Counted cases).

       Develop an efficient model to determine Be Counted form printing and distribution
       to the field, if paper forms are used.

       Research the feasibility of improving the structure of Questionnaire Assistance
       Centers and the methods we use to provide assistance.

       Research collecting and processing non-parsed address data from respondents.




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2.1.1 2000 Be Counted Program

The Census 2000 BC Program provided a means for persons to be included in Census 2000 who
may not have received a census questionnaire or believed they were not included on one. The
program also provided an opportunity for persons who had no usual address on Census Day to be
counted in the census. The Census 2000 BC questionnaire contained census short form data
questions, a question indicating whether the questionnaire was being completed for the
respondent’s whole household, and several additional questions needed to geocode the
respondent’s address and process the completed questionnaires.

Similar to 2010, the 2000 BC questionnaires were not intended to replace the addressed census
questionnaire so they were only made available to the public in targeted locations in
predominantly hard-to-enumerate areas, based on local knowledge of partnership staff and LCO
staff. The sites for placing BC questionnaires were identified using the Population Division’s
Planning Database and through consultations with local partners to improve the coverage in
these areas.

The BC questionnaires were available in English, Spanish, Simplified Chinese, Korean, Tagalog,
and Vietnamese – the same languages in which Census made available the Fulfillment
questionnaires. The Census Bureau printed about 16 million total BC questionnaires in
anticipation of receiving about one million completed questionnaires. The BC questionnaires
were available in the targeted locations on March 31, 2000 and were removed from the sites on
April 17, 2000. These dates coincided with Census Day (April 1, 2000) and the start of
Nonresponse Followup (NRFU) at the end of April. Respondents were able to call the Telephone
Questionnaire Assistance number and if they met certain criteria, they could provide their short-
form data via a telephone interview. If the respondents did not know their census ID 1 they could
request a questionnaire and a BC questionnaire was mailed to their address. The BC
questionnaires received for persons with no usual residence were included in the service-based
enumeration population universe.

The Census Bureau established 28,136 BC sites for Census 2000 across the nation. The field
implementation costs2 of the BC program were $1,479,499.

Respondents returned 804,939 BC questionnaires to the Census Bureau. There were 236,482
households with at least one person enumerated via the BC questionnaire. Of these, 116,019
households were enumerated only by BC questionnaires and the remaining 120,463 households
were enumerated on BC questionnaires as well as other census questionnaires. There were
560,880 persons added to the census through the BC questionnaires. There were approximately
15,410 BC questionnaires returned to the Census Bureau for persons with no usual residence.



1
    A unique identifier associated with an address.
2
  Field implementation costs refer to the costs associated with training salary, production salary and mileage for BC
clerks.




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      Include a separate question for people experiencing homelessness instead of the Mark [x]
      box that appears above the address fields.

The Census Bureau did not implement combining the House Number and Street Name because
the automated routines for address matching and geocoding could not process unparsed address
fields. The Census Bureau did not implement the second and third recommendations because
stakeholders felt the late wording and question changes could not be implemented without
having been evaluated in a larger test.

For detailed information about the findings and recommendations of the test, see (Childs, Gerber,
and Norris, 2009).


2.3      2010 BC/QAC

2.3.1 Overview

The purpose of the 2010 BC/QAC operation was to identify and collect information on people
who believed they did not receive a census questionnaire or who believed they were excluded
from the original mailback questionnaire returned by their household. It was also an opportunity
for people with no address to complete a questionnaire and be included in the final census count.
BC (D-10) questionnaires were available in six languages (English, Spanish, Chinese
(Simplified), Vietnamese, Korean, and Russian) for stateside and Spanish and English for Puerto
Rico – these six languages were the same six that were offered by the Census Fulfillment form.

The BC/QAC operation included two related components: the BC and the QAC. The BC
questionnaire was available at both types of sites. Sites staffed by a QAC representative who
provided on-site assistance to customers were referred to as QAC sites. QAC sites also had a BC
container with questionnaires available and the QAC representative provided assistance in
completing census questionnaires. BC sites were not staffed by a QAC representative, but
provided BC questionnaires.

The BC/QAC operation was conducted from February 26, 2010 to April 19, 2010. From
February 26 to March 18, 2010, a limited number of QAC sites opened in U/L areas only, to
assist individuals in these areas with completing their census questionnaires. During this time,
BC questionnaires were not available in order to allow U/L enumerators time to deliver the U/L
questionnaires. On March 19, 2010, all QAC sites were opened. Additionally, on this date LCO
staff delivered a BC box and BC questionnaires to all sites. The BC operation - based on the
Initial Mailout schedule - was to conclude by April 19, 2010 prior to the start of Nonresponse
Followup Operation (NRFU) on May 1, 2010.

The number of sites planned for the 2010 Census was 29,966 QAC sites and 9,969 BC sites (i.e.,
sites not staffed by a QAC representative).

Respondents who called Telephone Questionnaire Assistance (TQA) to request a questionnaire
were provided Form Fulfillment Questionnaires (form number D-1) instead of BC
Questionnaires.

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2.3.2 BC Questionnaire Language Selection

The BC questionnaire was available in six languages (English, Spanish, Chinese (Simplified),
Vietnamese, Korean, and Russian). After consulting with stakeholders within and outside of the
agency, the Census Bureau decided to use need-based, household-level criteria to select the
primary non-English languages. Using 2005 ACS data and growth factors from the estimates in
Census 2000, the Census Bureau extrapolated the “Number of Occupied Housing Units with no
persons age 15 or older who speaks English very well” to identify the languages spoken in
100,000 or more occupied housing units in the United States. The five language groups that met
this threshold were Spanish, Chinese, Korean, Vietnamese, and Russian (Angueira, 2007).

2.3.3 BC Questionnaire Design

The BC questionnaire was a paper questionnaire and the cover page provided instructions for the
respondent regarding whom they should include on the questionnaire, how to provide a complete
address and information on how they could obtain assistance completing the questionnaire. The
first question on the questionnaire asked if the respondent had a usual residence. The follow-up
question asked the respondent to provide the address where they lived most of the time on April
1, 2010. The questionnaire provided respondents the ability to identify if they were completing
the questionnaire for everyone that lived at the address. The BC questionnaire provided
respondents the opportunity to provide information for up to ten people at one address. The
respondent could enter full demographic (name, relationship, sex, date of birth, age, Hispanic
origin, and race) information for five people. If a person was completing the questionnaire for an
address with more than five people, they could only enter the following demographic
information for persons six through ten: sex, if the person was related to person one, age, and
date of birth. The questionnaire collected information on the tenure of the address and a
respondent telephone number. The questionnaire did not include coverage questions that are
included on the MO/MB and enumerator forms.

2.3.4 Site Allocation

Headquarters (HQ) developed BC/QAC site estimates by region based on Census 2000 for
budgeting and planning purposes. The LCOs used the number of sites allocated as guidelines for
establishing BC/QAC sites, predominantly in hard to enumerate areas, identified based on
Census 2000 results, partnership, and LCO staff local knowledge. LCO partnership staff utilized
a planning database, a tract action plan and type of enumeration area (TEA) information to select
sites. Site selection was based on the following criteria:

   Sites had to be in either a U/L or MO/MB area.

   Sites had to be located in one of the following Types of LCO areas:
                   Type A – Urban/Hard to Count
                   Type B – Urban/Metropolitan
                   Type C – Suburban/Rural (at a lower rate than Type A and B LCOs, because
                   these were in solely U/L area)
                   Type E – Alaska (U/L and MO/MB portions)
                   Type F – Puerto Rico

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5.1.7.4 Number of People Counted on Be Counted Forms

After the Be Counted questionnaires are linked to a MAFID the Be Counted questionnaires and
the people on that return are eligible to be counted in the final population counts. If there are
multiple returns at the MAFID and the BC form is not selected as the primary return, persons can
be added from the non-selected BC questionnaire when they do not exist on the primary return.
There were 760,748 people counted in the 2010 Census from 350,307 BC questionnaires. Of
those people counted in the 2010 Census, 736,941 were in housing units while 23,807 were
counted in GQs. Table 40 shows the number of people counted in a housing unit and the number
of forms in Census by each BC questionnaire type.

   Table 40. Number of Forms and People in a Housing Unit in Census by Questionnaire
                                         Type
Be Counted        Number Percentage Number of            Percentage of      Average
Questionnaire     of Forms     of Total      People       Total People    People Per
Type                            Forms                                    Questionnaire
English             279,444        82.5%       569,965            77.3%             2.0
Spanish               42,636       12.6%       126,499            17.2%             3.0
Chinese                6,572        1.9%        17,531             2.4%             2.7
Korean                 2,475        0.7%         5,299             0.7%             2.1
Vietnamese             1,966        0.6%         5,198             0.7%             2.6
Russian                  930        0.3%         1,659             0.2%             1.8
Puerto Rico            4,078        1.2%         9,593             1.3%             2.4
(Spanish)
Puerto Rico              541        0.2%         1,197             0.2%             2.2
(English)
Total               338,642      100.0%        736,941          100.0%              2.2
Source: CUF

The majority of people counted in the 2010 Census from BC forms were on the stateside English
language questionnaire. Of the 338,642 forms counted in housing units in the census, 82.5
percent were from English language forms. The stateside Spanish language questionnaire had the
second highest percentage of forms in census housing units with 12.6 percent. Of the 736,941
people in housing units, 77.3 percent were on an English language questionnaire. The second
most common questionnaire was the Spanish language questionnaire, which consisted of 17.2
percent of all BC people in the 2010 Census. The stateside Spanish language questionnaire had
the largest average number of people per questionnaire counted in the census with three people
per questionnaire. It had an average of one more person per questionnaire than the stateside
English language questionnaire. The Chinese language questionnaire had the second highest
average number of people per questionnaire with an average of 2.7 people.

Table 41 shows the final number of BC questionnaires in the 2010 Census and questionnaires
from other census operations that were associated with MAFIDs ultimately included in the 2010
Census. Table 41 also reports if the MAFID with only a BC questionnaire was a new address
verified in FV.



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                    Exhibit 17
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·1· · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE DISTRICT OF MARYLAND

·3

·4

·5· ·NAACP, et al.,· · · · · · · · )

·6· · · · · ·Plaintiffs,· · · · · ·)

·7· · · · · ·v.· · · · · · · · · · ) Case No.

·8· ·BUREAU OF THE CENSUS, et al., ) 8:18-cv-00891-

·9· · · · · ·Defendants.· · · · · ·) PWG

10· · · · · · · · ·- - - - - - - - - - -

11

12

13· · · · · · · · · · · CONFIDENTIAL

14

15· · · · · · · · · · · ·DEPOSITION

16· · · · · · · · · ·EDWARD KOBILARCIK

17

18

19· · · · · · · · ·Monday, July 15, 2019

20

21

22

23· ·Reported by:· Lori J. Goodin, RPR, CLR, CRR, RSA

24· · · · · · · · ·California CSR #13959

25· ·Assignment No. 277831


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·1· ·the same?

·2· · · · · A.· · I do not know specific numbers,

·3· ·because in 2010 it was part of other contracts.

·4· · · · · · · · But, what I recall is that we are

·5· ·paying more this time than we did in 2010.

·6· · · · · Q.· · And the questionnaire assistance

·7· ·contract.

·8· · · · · A.· · Yes.

·9· · · · · Q.· · What does that cover?

10· · · · · A.· · That covers, that gives the

11· ·opportunity to respondents to respond via

12· ·telephone mode of response, as well as to answer

13· ·questions from the public about the census.

14· · · · · · · · So, census questionnaire assistance

15· ·as well as response.

16· · · · · Q.· · And that is a contract with a

17· ·private company?

18· · · · · A.· · That is correct.

19· · · · · Q.· · And do you know in 2010 what, if

20· ·comparable services were provided by contract?

21· · · · · A.· · Yes.

22· · · · · Q.· · And, do you know by order of

23· ·magnitude the difference?· Between 2020 and 2010?

24· · · · · A.· · I know 2020 is much higher.

25· · · · · Q.· · Do you know why?


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·1· · · · · A.· · Allowing for the opportunity for

·2· ·people to respond via the telephone.

·3· · · · · Q.· · And does that contract cover

·4· ·services at, in person questionnaire assistance

·5· ·centers that a person could go into, off the

·6· ·street?

·7· · · · · A.· · No, this is, my understanding is it

·8· ·is strictly phone calls.

·9· · · · · Q.· · And do you know whether there is any

10· ·provision in the cost estimate for questionnaire

11· ·assistance centers for the 2020 census?

12· · · · · A.· · I'm not following your question.

13· · · · · Q.· · Is there any money set aside in the

14· ·2020 census for questionnaire assistance?

15· · · · · A.· · That right there is that contract,

16· ·see Census Questionnaire Assistance is that

17· ·contract vehicle.

18· · · · · Q.· · But, as you testified before, it is

19· ·just telephone.· You can't go in person to any

20· ·center.· Is that right?

21· · · · · A.· · That is correct.

22· · · · · Q.· · So, what I'm asking is, is there any

23· ·provision in the Basis of Estimate in any of the

24· ·cost expenditures for the 2020 census for

25· ·questionnaire assistance in person, do you know?


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·1· · · · · A.· · There is not.

·2· · · · · Q.· · Okay.· And the device as a service

·3· ·contract.· What does that cover?

·4· · · · · A.· · That is to provide to the field

·5· ·staff, which is our enumerators, a device for

·6· ·them to collect either addresses or responses, as

·7· ·well as to do their payroll, as well as for them

·8· ·to route them, route them, however you want to

·9· ·say it to route them to the most efficient route

10· ·for them to get to a housing unit that they need

11· ·to visit.

12· · · · · Q.· · Is that set of services new for the

13· ·2020 census?

14· · · · · A.· · No.· In 2010 we used devices like

15· ·this for the development of the address list.

16· · · · · Q.· · Were they actually used or just

17· ·developed?

18· · · · · A.· · They were actually used in the 2010

19· ·census to collect the address information in the

20· ·address canvassing operation.

21· · · · · Q.· · And is it the same vendor for 2020

22· ·as it was for 2010?· Or a different vendor?

23· · · · · A.· · A different vendor.

24· · · · · Q.· · And is the software system the same

25· ·or different in 2010 versus 2020?


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·1· · · · · A.· · Yes.

·2· · · · · Q.· · Do you know what a lister is?

·3· · · · · A.· · A lister is the actual person who

·4· ·visits housing units during in-field address

·5· ·canvassing.

·6· · · · · Q.· · And do you see where it says, "We

·7· ·observed ten listers and did not detect any

·8· ·significant deviation from Bureau procedures for

·9· ·seven of them."

10· · · · · · · · Do you see that?

11· · · · · A.· · Yes.

12· · · · · Q.· · And then, "We identified the

13· ·following instances of noncompliance during our

14· ·observations of the remaining three listers."

15· · · · · · · · Do you see that?

16· · · · · A.· · Yes.

17· · · · · Q.· · And there are three bullets with the

18· ·instances of noncompliance.· Do you see that?

19· · · · · A.· · Yes.

20· · · · · Q.· · And, you could see that one lister

21· ·did not even update the incorrect addresses on

22· ·more than ten occasions.· Do you see that?

23· · · · · A.· · Yes.

24· · · · · Q.· · And do you know whether the Basis of

25· ·Estimate accounts for the risk that three in ten


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·1· ·listers are not following Bureau procedure?

·2· · · · · A.· · I'm not aware that it addresses it

·3· ·specifically.· But you do take the results of a

·4· ·test and change procedures as you move forward.

·5· · · · · Q.· · And were the results of the

·6· ·procedures and the analysis and the Basis of

·7· ·Estimate changed as a result of this --

·8· · · · · A.· · My understanding is that is how the

·9· ·Census Bureau would operate.

10· · · · · Q.· · But, do you know whether this

11· ·specific issue was addressed?

12· · · · · A.· · I do not know that.

13· · · · · Q.· · Do you know whether compliance with

14· ·census procedures regarding in-field canvassing

15· ·is a factor that is driving cost assumptions for

16· ·the in-field canvassing process?

17· · · · · A.· · Could you repeat that again, please?

18· · · · · Q.· · Sure.· Do you know whether

19· ·compliance with census procedures regarding

20· ·in-field canvassing is a factor that drives cost

21· ·assumptions for that component of the census?

22· · · · · · · · MR. LYNCH:· Objection, vague.

23· · · · · · · · THE WITNESS:· There the estimate

24· · · ·deals with uncertainty in terms of

25· · · ·productivity and workload.


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·1· ·Census Bureau to do this.

·2· · · · · Q.· · And, do you know what is done at the

·3· ·Census Bureau when changes are made to ensure

·4· ·that the quality level stays the same, of the

·5· ·count?

·6· · · · · A.· · The design, my understanding is to

·7· ·maintain the quality that we have.

·8· · · · · Q.· · And, does that include the count of

·9· ·hard-to-count communities as well?

10· · · · · A.· · Yes.

11· · · · · Q.· · You know it is done specifically to

12· ·ensure that the quality of that count is not

13· ·compromised?

14· · · · · A.· · I think it is the overall design to

15· ·come up with a quality census.

16· · · · · Q.· · Okay.· So, nothing is done

17· ·specifically with regard to a particular

18· ·population, for example?

19· · · · · A.· · No.

20· · · · · · · · MR. LYNCH:· Objection.

21· · · · · · · · THE WITNESS:· I would say you have

22· · · ·the partnership program and you have the

23· · · ·advertising.

24· · · · · · · · So, the census is a whole package of

25· · · ·intertwined activities that support each


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·1· · · ·other.· And they are not independent of each

·2· · · ·other.

·3· ·BY MR. ROSS:

·4· · · · · Q.· · So, did you -- so, if you have data

·5· ·showing a particular demographic, let's say for

·6· ·instance, is self-responding at a lower rate, you

·7· ·have to spend more money in another area to make

·8· ·sure they are counted.· Is that fair?

·9· · · · · · · · MR. LYNCH:· Objection, hypothetical.

10· · · ·Calls for speculation.

11· ·BY MR. ROSS:

12· · · · · Q.· · You can answer.

13· · · · · A.· · If there is lower self-response,

14· ·depending on the area, it is more costly to send

15· ·people to knock on, to visit in person.

16· · · · · Q.· · So, more resources then need to be

17· ·devoted to address the response of that

18· ·particular group.· Is that right?

19· · · · · A.· · But, that is built into the design.

20· ·When you factor in, you know, productivity.

21· · · · · Q.· · But, that design doesn't include

22· ·accounting for specific subgroups.

23· · · · · · · · It is an overall self-response rate.

24· ·Isn't it?· It is not specific to subgroup

25· ·self-response rate.· Is it?


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                                United States Government Accountability Office
                               Report to Congressional Requesters




June 2018
                               2020 CENSUS

                               Actions Needed to
                               Improve In-Field
                               Address Canvassing
                               Operation




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                   During address canvassing, the Bureau verifies that its master address
                   list and maps are accurate to ensure the tabulation for all housing units
                   and group quarters is correct. 1 For the 2010 Census, the address
                   canvassing operation mobilized almost 150,000 field workers to canvass
                   almost every street in the United States and Puerto Rico to update the
                   Bureau’s address list and map data—and in 2012 reported the cost at
                   nearly $450 million. The cost of going door-to-door in 2010, along with the
                   emerging availability of imagery data, led the Bureau to explore an
                   approach for 2020 address canvassing that would allow for fewer boots
                   on the ground.

                   Traditionally, the Bureau went door-to-door to homes across the country
                   to verify addresses. This “in-field address canvassing” is a labor-intensive
                   and expensive operation. To achieve cost savings, in September 2014
                   the Bureau decided to use a reengineered approach for building its
                   address list for the 2020 Census and not go door-to-door (or “in-field”)
                   across the country, as it has in prior decennial censuses. 2 Rather, some
                   areas (known as “blocks”) would only need a review of their address and
                   map information using computer imagery and third-party data sources—
                   what the Bureau calls “in-office” address canvassing procedures.

                   According to the Bureau’s address canvassing operational plan, in-office
                   canvassing had two phases:

                   •   During the first phase, known as “Interactive Review,” Bureau
                       employees use current aerial imagery to determine if areas have
                       housing changes, such as new residential developments or
                       repurposed structures, or if the areas match what is in the Bureau’s
                       master address file. The Bureau assesses the extent to which the
                       number of housing units in the master address file is consistent with
                       the number of units visible in the current imagery. If the housing
                       shown in the imagery matches what is listed in the master address

                   1
                    A group quarters is a place where people live in a group living arrangement that is owned
                   or managed by an entity or organization providing housing or services for the residents
                   (e.g., college residence halls, residential treatment centers, nursing/skilled nursing
                   facilities, group homes, correctional facilities, workers’ dormitories, and domestic violence
                   shelters).
                   2
                    This change to how the Bureau builds its address list is one of four broad innovation
                   areas for the 2020 Census. The other three innovation areas are (1) seeking to improve
                   self-response by encouraging the use of the Internet and telephone, (2) using
                   administrative records to reduce field work, and (3) reengineering field operations using
                   technology to reduce manual effort and improve productivity, among other things.




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                       file, then those areas are considered to be resolved or stable and
                       would not be canvassed in-field.
                   •   During the second phase, known as “Active Block Resolution,”
                       employees would try to resolve coverage concerns identified during
                       the first phase and verify every housing unit by virtually canvassing
                       the entire area. As part of this virtual canvass, the Bureau would
                       compare what is found in imagery to the master address file data and
                       other data sources in an attempt to resolve any discrepancies. If
                       Bureau employees still could not reconcile the discrepancies, such as
                       housing unit count or street locations with what is on the address list,
                       then they would refer these blocks to in-field address canvassing.

                   However, in March 2017, citing budget uncertainty the Bureau decided to
                   discontinue the second phase of in-office review for the 2020 Census.
                   According to the Bureau, in order to ensure that the operations
                   implemented in the 2018 End-to-End Test were consistent with
                   operations planned for the 2020 Census, the Bureau added the blocks
                   originally resolved during the second phase of in-office review back into
                   the in-field workload for the test. The cancellation of Active Block
                   Resolution is expected to increase the national workload of the in-field
                   canvassing workload by 5 percentage points (25 percent to 30 percent).

                   During in-field address canvassing, listers use laptop computers to
                   compare what they see on the ground to what is on the address list and
                   map. Listers confirm, add, delete, or move addresses to their correct map
                   positions. At each housing unit, listers are trained to speak with a
                   knowledgeable resident to confirm or update address data, ask about
                   hidden housing units, confirm the housing unit location on the map,
                   (known as the map spot) and collect a map spot using global positioning
                   systems (GPS). If no one is available, listers are to use house numbers
                   and street signs to verify the address data. The data are transmitted
                   electronically to the Bureau.

                   The Census Bureau expects that the End-to-End Test for address
                   canvassing will identify areas for improvement and changes that need to
                   be made for the 2020 Census. Our prior work has shown the importance
                   of robust testing. Rigorous testing is a critical risk mitigation strategy
                   because it provides information on the feasibility and performance of
                   individual census-taking activities, their potential for achieving desired
                   results, and the extent to which they are able to function together under
                   full operational conditions.




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                          In February 2017, we added the 2020 Census to GAO’s High-Risk List
                          because operational and other issues are threatening the Bureau’s ability
                          to deliver a cost-effective enumeration. 3 We reported on concerns about
                          the Bureau’s capacity to implement innovative census-taking methods,
                          uncertainties surrounding critical information technology systems, and the
                          quality of the Bureau’s cost-estimates. Underlying these issues are
                          challenges in such essential management functions as the Bureau’s
                          ability to:

                          •   collect and use real-time indicators of cost, performance, and
                              schedule;
                          •   follow leading practices for cost estimation; scheduling; risk
                              management; IT acquisition, development, testing, and security; and
                          •   cost-effectively deal with contingencies including, for example, fiscal
                              constraints, potential changes in design, and natural disasters.


                          The Bureau completed in-field address canvassing as scheduled by
The Listers Generally     September 29, 2017, canvassing approximately 340,400 addresses. Most
Followed Procedures,      of the listers we observed generally followed procedures. For example, 15
                          of 18 listers knocked on doors, and 16 of 18 looked for hidden housing
but the Bureau            units, which is important for establishing that address lists and maps are
Experienced Some          accurate and for identifying hard-to-count populations. Those procedures
                          include taking such steps as:
Issues Reassigning
Work, Estimating          •   comparing the housing units they see on the “ground” to the housing
                              units on the address list,
Workload and Lister
                          •   knocking on all doors so they could speak with a resident to confirm
Productivity, and             the address (even if the address is visible on the mailbox or house)
Managing to Staffing          and to confirm that there are no other living quarters such as a
                              basement apartment,
Goals                     •   looking for “hidden housing units”,
                          •   looking for group quarters such as group homes or dormitories, and
                          •   confirming the location of the housing unit on a map with GPS
                              coordinates collected on the doorstep.


                          3
                           GAO, High-Risk Series: Progress on Many High-Risk Areas, While Substantial Efforts
                          Needed on Others, GAO-17-317 (Washington, D.C.: Feb. 15, 2017).




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   2020 Census: Issues Observed
     During the 2018 End-to-End
Census Test’s Address Canvassing
       Operation Indicate Risk to
             Address List Quality
                                         FINAL REPORT NO. OIG-19-008-A
                                                           FEBRUARY 6, 2019




                                              U.S. Department of Commerce
                                                  Office of Inspector General
                                               Office of Audit and Evaluation
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Introduction
The Census Bureau (the Bureau) is constitutionally mandated1 to carry out a census of the U.S.
population every 10 years. Prior to the enumeration, the Bureau verifies and updates the
address of each housing unit in the country. In large part, the Bureau accomplishes this by
conducting the address canvassing operation prior to the decennial census to refine the
Bureau’s address list and help ensure that the Bureau can contact every household. The address
canvassing operation is just one operation included in the 2018 End-to-End Census (E2E) Test. 2
The address canvassing operation for the 2020 Census will verify the address and physical
location of an estimated 143 million housing units within 11 million blocks. 3

During the address canvassing operation for the 2010 Census, nearly every block in the country
was traversed by temporary employees—known as Listers—who compared what they saw “on
the ground” to address lists generated by the Bureau’s Master Address File (MAF). As a cost-
saving innovation for the 2020 Census, the Bureau redesigned the address canvassing operation
used during the 2010 Census and divided the operation into two components: in-office address
canvassing 4 and in-field address canvassing. 5

Part of in-office address canvassing is an activity known as “Interactive Review,” where a Bureau
reviewer compares aerial imagery from different years to identify blocks containing (1) growth
and decline, (2) MAF overcoverage and undercoverage, 6 and (3) the potential to add living
quarters in the future. The reviewer designates a block as “active” if the block contains one of
these conditions. If not, the reviewer designates the block as “passive.” A block is placed “on
hold” if additional information is needed to make a determination. Active blocks are included in
the in-field address canvassing operation for verification—passive blocks are not. One hundred


1
  U.S. Const. art. I, § 2.
2
  The 2018 E2E Test consists of many operations: (1) address canvassing; (2) group quarters; (3) internet self-
response; (4) update leave; (5) nonresponse followup; and (6) post processing and products.
3
  A Census collection block is a geographic area containing housing units and other structures bounded on all sides
by visible features such as roads, railroad tracks, and rivers—or by invisible features such as county lines, city
limits, or property lines.
4
  In-office address canvassing originally consisted of two operations: Interactive Review followed by active block
resolution (ABR). The Bureau cancelled ABR in March 2017. OIG assessed in-office address canvassing activities in
two fiscal year 2017 reports: (1) U.S. Department of Commerce Office of Inspector General, May 11, 2017.
2020 Census: The Address Canvassing Test Revealed Cost and Schedule Risks and May Not Inform Future Planning as
Intended, OIG-17-024-A. Washington, DC: OIG; and (2) DOC OIG, September 13, 2017. 2020 Census: Evaluation
of Interactive Review Address Canvassing Operation Revealed Issues with Quality Assurance Controls, OIG-17-030-I.
Washington, DC: OIG.
5
  The in-field address canvassing operation mirrors the procedures used in the 2010 Census address canvassing
operation.
6
  “Overcoverage occurs when the address list contains an address that does not exist on the ground or when
there are multiple instances of an address [sic] for the same residential structure on the ground. Undercoverage
occurs when the address list is missing an address [sic] that exists on the ground.” See U.S. Census Bureau,
July 13, 2017. Study Plan for the Evaluation of Address Canvassing 2018 End-to-End Census Test, Version 0.2. Suitland,
MD: Census, 5.




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Objectives, Findings, and Recommendations
Our audit objectives were to (1) assess the performance of in-field address canvassing
operations and (2) determine whether in-office address canvassing correctly identified blocks
for the in-field address canvassing operation.
During our fieldwork, we assessed the performance of in-field address canvassing and identified
multiple instances of noncompliance with in-field test procedures by Listers, Supervisors, and
Managers. We also determined that in-office address canvassing did not correctly identify
blocks for the in-field address canvassing operation.

Specifically, we found the following:
     1. In-office address canvassing did not correctly identify blocks for in-field address
        canvassing at the Providence test site.
     2. Resolution of alerts indicating potential instances of low quality and fraud/abuse was
        sometimes untimely or non-existent.
     3. The Bureau’s ability to inform the 2020 Census address canvassing operation using the
        2018 E2E Test faces some limitations.
     4. The Bureau is unsure whether 26 Listers who updated addresses were qualified.

Appendix A provides additional details regarding the objectives, scope, and methodology of our
audit.

I. In-Office Address Canvassing Did Not Correctly Identify Blocks for In-Field
   Address Canvassing at the Providence Test Site
     The Bureau, in part, defined the 2018 E2E Test 8 to be successful if in-field address
     canvassing validated the work of in-office address canvassing. 9 However, OIG analysis 10 of
     the 433 passive blocks included in the 2018 E2E Test 11 found that in-office address
     canvassing results differed from in-field results in 61 percent of the blocks tested. 12 This
     does not mean that all of the housing units within those blocks were missed; rather, it
     means that at least one housing unit was added to or removed from the address list by a
     field representative. In total, we found that field representatives added 1,087 housing units

8
  For purposes of this report, reference to the 2018 E2E Test refers to the address canvassing operation only, not
peak operations that occurred later.
9
  Census, August 22, 2017. 2018 End-to-End Census Test Plan, Version 1.1. Suitland, MD: Census.
10
   OIG only analyzed the accuracy of passive blocks, because these blocks will not be sent for in-field verification.
11
   While the 2018 End-to-End address canvassing in-field operation was conducted at three locations—Providence;
Beckley, West Virginia; and Pierce County, Washington—the Bureau only included passive blocks in the
Providence site to assess the accuracy of the in-office operation.
12
   OIG’s analysis included all 433 passive blocks designated by in-office review. The Bureau plans to send passive
blocks back to in-office address canvassing for a second review when outside data sources show potential change to
those blocks, which could decrease the number of passive blocks and increase the number of in-field blocks.
However, this second review did not occur during the 2018 E2E Test—and, as there is no assurance that a second in-
office review would have changed the status from passive to active, our analysis included all passive blocks.


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Other Matter
      On-Site Observations Revealed Some Listers Did Not Comply with In-Field
      Canvassing Procedures
      Noncompliance with test procedures during the in-field address canvassing operation could
      result in an inaccurate address list. According to the Address Canvassing Lister Manual, 20
      Listers were supposed to perform the following procedures during the in-field address
      canvassing operation and the 2018 E2E Test:
         •   Verify or update the location address and physical description of the living quarters.
         •   Stand in the proper location to collect “mapspots” 21 as denoted by the mobile
             device’s “You Are Here Indicator.” 22
         •   Park their car and walk the driveway or path until they come to the house if the
             Lister saw a mailbox, driveway, or other indication of a house on the ground.
         •   Canvass each floor of multi-unit structures if they can gain access, and a
             manager/other knowledgeable person is not available.

      We observed 10 Listers, and did not detect any significant deviation from Bureau
      procedures from 7 of them. We identified the following instances of noncompliance during
      our observations of the remaining 3 Listers:
         •   A Lister did not verify the location address and physical description of the living
             quarters. Specifically, one Lister did not update incorrect addresses on more than
             10 occasions.
         •   Listers did not stand in the proper location to collect “mapspots” or park their car
             and walk until they came to a house while canvassing. Specifically, QC and
             production Listers entered “mapspots” away from housing units and while inside
             their vehicles.
         •   A Lister did not canvass each floor of a multi-unit structure although they could gain
             access and a manager/other knowledgeable person was not available.

      The following issues contributed to Listers’ lack of compliance with procedures:
         •   Some Listers reported that it was difficult to translate online training on listing and
             mapping procedures into actual work in-field and that training did not cover adding,
             editing, or deleting units in multi-unit structures well enough.



20
   Census, June 2017. Address Canvassing Lister Manual. Suitland, MD: Census.
21
   Mapspots (also referred to as MAF structure points) are symbols used to indicate the location of structures
containing one or more living quarters.
22
   The “You Are Here Indicator” is a symbol on the mobile device’s map used to indicate where you are on the
ground using Global Positioning System.


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Summary of Agency Response and
OIG Comments
In its November 8, 2018, response to our draft report, the Bureau concurred with our
recommendations. This final report accurately represents the facts and evidence obtained
during audit fieldwork—but was revised to add additional context and better reflect the
Bureau's position.

Despite concurring with the recommendations, the Bureau disagreed with the methodology
used in calculating the in-office address canvassing block classification error rate. As stated in
finding I, the Bureau, in part, defined the 2018 E2E Test a success if the canvassing conducted by
Listers in the field validated in-office address canvassing results.

In its response to our audit finding I, the Bureau asserted that the blocks within 200 Basic
Collection Units marked passive by the in-office operation should be excluded because they
were triggered by another activity (such as new, unaccounted for postal service addresses) as
being in need of a second in-office address canvassing review. However, these blocks, in fact,
did not go through the triggered second in-office review prior to the 2018 E2E Test. Further,
there is no guarantee that a second in-office review would have changed the blocks from
passive to active. Thus, OIG believes that the most accurate way to assess the validity of in-
office results as determined by in-field address canvassing is to include the passive triggered
blocks because they were “classified as passive” by in-office address canvassing. Nonetheless,
even if the passive triggered blocks were excluded, the in-office block classification error rate
would still be 45 percent—which, as we state in finding I, indicates that in-office address
canvassing is yielding results that are either incorrect or inconsistent with in-field address
canvassing to a substantial degree.

Additionally, the Bureau noted in its response that we used “‘raw’ unprocessed results” in our
analysis. In contrast, the Bureau stated that the Geography Division conducted a separate
analysis to determine the accuracy of the Listers’ actions to add or delete addresses during
canvassing. We do not reference the analysis in the report because it was conducted after our
fieldwork was completed and, therefore, was outside of the scope of our audit. It should be
noted that when the Bureau (1) excluded the passive triggered blocks and (2) conducted this
additional analysis, it still found that in-office address canvassing had a greater than 30 percent
block classification error rate.

Furthermore, the Bureau stated that only 2 percent of the addresses within passive blocks
represented coverage errors. However, to quantify the number of housing unit additions or
deletions that were missed in the in-office address canvassing operation, we looked at a Bureau
study conducted during fiscal year 2016. The Bureau took a nationally representative sample of
18,500 blocks and found that errors in passive blocks could result in 1.4 million missed
households in the 2020 decennial census and 3.4 million households incorrectly left on the
address list, causing enumerators to conduct unnecessary visits. Moreover, the Bureau does not
know which populations or regions will be most affected by the missed households in passive
blocks.


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                                United States Government Accountability Office
                               Report to Congressional Requesters




July 2017
                               2020 CENSUS

                               Bureau Is Taking
                               Steps to Address
                               Limitations of
                               Administrative
                               Records




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                              has been unsuccessful, the Bureau is to use the same records to
                              determine the count of people living in the household as well as the race,
                              sex, and other characteristics of each person as required by the census.
                              These modelling procedures using administrative records have been
                              demonstrated by the Bureau in prior tests.

                              Administrative records collected by various programs, by their design,
                              only contain information about the subgroups of the population the
                              respective programs serve or engage. For example, the Selective Service
                              System registers only men over the age of 18; therefore, the data
                              provided to the Bureau include no women or children. The Special
                              Supplemental Nutrition Program for Women, Infants, and Children (WIC)
                              covers low-income women and children up to age 5 who are found to be
                              at nutritional risk and who apply for food assistance. Men and families
                              above the program’s income criteria do not generally appear in the WIC
                              data provided to the Bureau. Appendix II includes a more extensive list of
                              administrative-record sources the Bureau plans to use and who is
                              covered by them. 7


                              To position the agency to realize cost and quality improvements for the
The Bureau Is Taking          decennial, the Bureau has implemented steps to ensure that using
Steps to Address              administrative records is viable for 2020 and to address potential
                              coverage limitations.
Known Limitations
with Administrative
Records
The Bureau Took Actions to    Because the purpose and target group of each of the programs vary, the
Address the Risk of           demographic data collected from those covered by each program are not
Administrative Records        always the same. For example, in May 2017 the Urban Institute issued a
Missing Certain Populations   report that raised several concerns about the use of administrative
                              records for the 2020 Census, such as whether those records are less
                              likely to represent people who do not routinely interact with society’s




                              7
                               Bureau officials state that they are assessing administrative records and will determine
                              the final set of administrative records data sources to be used to support the 2020 Census
                              by September 2018.




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                   public institutions—citing the homeless, undocumented immigrants,
                   formerly incarcerated people, and runaway or trafficked youth. 8

                   According to Bureau reviews of numerous record sources, such as from
                   Supplemental Security Income (SSI) and Temporary Assistance for
                   Needy Families (TANF), noncitizens and more recent entrants into the
                   United States who are less likely to be eligible for some government
                   assistance programs are underrepresented by counts based solely on
                   administrative records. Further, according to the Bureau, third-party
                   sources that rely heavily on utility or publicly available property tax
                   records will underrepresent noncitizens and recent immigrants who are
                   less likely to have established housing. Moreover, according to a working
                   group of the Bureau’s National Advisory Committee tasked with advising
                   on administrative records, the records generally tend to over-represent
                   white and economically advantaged populations in comparison to how
                   other groups appear in the records.

                   To help minimize possible coverage problems with administrative records
                   so that subpopulations are not miscounted, the Bureau introduced a
                   business rule to include administrative records for consideration in its
                   modeling only when a minimum amount of information is present for a
                   given household. Specifically, the Bureau must have an age for and be
                   able to uniquely identify each person within its administrative records
                   sources in order for the records to be considered for enumeration for that
                   household. Bureau officials acknowledge that this business rule limits
                   somewhat the extent to which it can rely on administrative records in
                   place of more expensive door-to-door data collection methods for
                   households that do not respond. Yet they also believe that their research
                   has shown that the rule ensures that administrative records are used only
                   in circumstances where research has shown them to be most accurate.

                   The Bureau has also developed statistical models for determining when
                   administrative records are sufficiently reliable to represent a housing unit.
                   The Bureau models what administrative records indicate about whether a
                   housing unit is vacant, non-existent, or occupied, and also about who
                   lives in units believed to be occupied. The models allow the Bureau to
                   estimate the probability that administrative records are providing the
                   correct information; the Bureau then uses the records when the

                   8
                    The Urban Institute, Administrative Records in the 2020 US Census: Civil Rights
                   Considerations and Opportunities (Washington, D.C.: The Urban Institute, 2017).




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                               probabilities exceed a specified threshold. According to the Bureau, this
                               approach lets it confidently rely on records where they appear to be
                               strongest, resolving in an objective manner what the administrative
                               records may report for the housing units in question.

                               The Bureau modified its NRFU contact strategy to ensure better coverage
                               of non-Hispanic black households. The Bureau found in simulations of its
                               initial administrative records approach that it was obtaining higher
                               vacancy rates in areas of high concentration of non-Hispanic blacks than
                               it did in those areas in the 2010 Census. The Bureau attributed this result
                               to its administrative-records modeling of which households are vacant,
                               and the Bureau determined that it could improve the modeling results by
                               requiring two—instead of just one—notices from USPS that mail could not
                               be delivered to the addresses in question. So the Bureau added the step
                               of an additional mailing to its contact strategy for households that USPS
                               flagged as vacant. The Bureau acknowledged that this additional contact
                               will cost more, but it will decrease the chance of a family being missed by
                               the census, particularly where housing units turn out not to be vacant.

The Bureau Plans to Assess     Although the Bureau has no control over the accuracy of data provided to
and Link Its Data Sources to   it by other agencies, it is responsible for ensuring that it is fit for purposes
Address Incomplete or          of the 2020 Census. Administrative records collected by other agencies
Inaccurate Administrative      for programs they administer are inevitably collected under a variety of
Records                        circumstances and conditions. Since they are collected for purposes other
                               than for the decennial census, the quality control over their collection will
                               vary from how the Bureau would execute it or need it to be. The data
                               received by the Bureau may be incomplete or inaccurate. Missing data
                               can make it more difficult to match administrative records.

                               Before using any administrative records to support census operations—
                               whether for the 2020 Census or other Bureau surveys—the Bureau
                               subjects each source and its files to a structured quality assurance
                               process to (1) identify any technical limitations that may need to be
                               considered and (2) help determine their suitability for the decennial and
                               other Bureau programs. Although, we did not test the use of this process,
                               figure 1 shows the process the Bureau is to follow.




                               Page 6                                GAO 17-664 2020 Census Administrative Records
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                     Exhibit 21
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2020 Census Operational Plan




Deborah Stempowski
Chief, Decennial Management Division




                                                              18
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2020 NRFU Contact Strategy
Overview

• Primary issues to resolve from mid-decade testing
    • Low resolution rate for telephone reinterview operation
    • Occupied status for Administrative Record (AdRec) vacant/delete determinations
         • 18% of AdRec Vacants were found to be occupied
         • 30% of AdRec Deletes were found to be occupied
    • High unresolved rate-cases closed without minimal information

• Solution strategies
    • Eliminate telephone mode for reinterview and send all reinterview cases to field for personal visits
    • At least one visit for AdRec Vacant/Delete cases
         • If visit indicates the housing unit may be occupied, the case will remain in the NRFU for additional contact attempts
    • Phased contact strategy-Phase 1, Phase 2, Closeout




                                                                     64
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                     Exhibit 22
      HARD-TO-COUNT    CENSUS TRACTS
             Case 8:18-cv-00891-PWG    IN PRINCE
                                    Document       GEORGE'S
                                             169-9 Filed 01/21/20 COUNTY,
                                                                   Page 111 ofMARYLAND
                                                                              160
                                                                                                                                                                          Savage                                             Severn



                                                                                                                  Burtonsville           8002.03
                                                                                                                                                                                                                                                                  Pasadena
                                                                                                                                                         8001.02           Maryland
                                                                                                                                                          8001.09
                                                                       Layhill                                                                             8001.08    8001.03 City
                               Rockville                                                                                                              8002.13                                                               Odenton
                                                          Aspen Hill                                                                            8002.12
                                                                                   Colesville           Fairland                                                     8002.11
                                                                                                                                                                                                                                                                          Severna Park
                                                                                                                           8074.07                        8002.15

                                                                 Glenmont                                  Calverton
                                                                                                                                                          8002.08
                                                                                 Kemp White
                                                                                                                                     8074.04                          8002.06
                                                                                  Mill Oak
                                                                                                                8074.09        Beltsville
                                                                                  Four        Hillandale              8074.05              8074.08
            Potomac                                                              Corners                   8073.04
                                                                                                                                                                               8004.11
                                                              Forest Glen                                         8073.01
                                                                                                                                                                                              8004.10
                                                                                                      8073.05               8069
                                                                                                                                       Greenbelt                                                                               Crofton
                                                                                                                               8067.14 8067.08                                                         8004.03
                                                                                                     8059.04                                                                   Glenn
                                                                         Silver Spring                            8072                                   8067.12                                                 8004.01
                                                                                            8056.01                              8068              8067.10                     Dale
                                                Bethesda                                        8055            College Park                           8067.11
                                                                                                                                                                         8004.13           8004.09 8004.02                                                                             Parole
                                                                                                                                  8067.06 8036.06                                                      Bowie
                                                                                           8052.02                        8071.02                                                  8004.08
                                                                                                                                                                                   8005.04
                                                                                                                                           8036.05   8036.07
                                                                                                         8060                                   8036.10
                                                                                                                                                                                                                                                                          Edgewater
                                                                                             8050                     8065.01                    8036.08
                                                                                                                                               8036.13           Fairwood
                                                                                                               8061                                                     8005.13 8005.05
                                                                                                 8049                 8063      8038.03  8036.12
                                                                                                                                                        8035.16 8005.14           8005.16
                                                                                                                                                                              8005.15
                                                                                                               8046            8038.01
                                                                                                                      8040.02                          8035.20
                       McLean                                                                              8047               8041.02 8036.02 8036.01            8005.18
    Tysons                                                                                                        8044                 8035.09                                                                    8005.19
    Corner Pimmit                                                                                                        8042                             8035.08
                                                                                                                                                              8035.21
            Hills                                                                                                     8043    8032                   8034.02
                                                                                                                            8031                      8035.25      8035.23 8005.17                               8005.11
                                                                                                                                8030.01           8035.24            8035.14
                                                                                                                                                                                 8035.22
         Idylwood                                                Washington                                                                                                    8035.27
                         Falls                       Arlington                                                                             8028.05
                                                                                                                                                         8035.19                                                                                                                             Mayo
                        Church
                                                                                                                                      8029.01
                                                                                                                                                                               Kettering     8005.09                8005.07
    Merrifield
                                                                                                                              8027
                                                                                                                                           8028.04                             8035.13
                         Seven Corners                                                                                                                                 8035.12
                                                                                                                                8028.03        8022.04                                   8006.07
                                      Bailey's                                                                                       District Heights                                              8006.08
                                    Crossroads                                                                    8024.05 8024.06                     8022.03                                  Brock Hall                                                                                    Shady
 Woodburn                                                                                                                      8020.02         8021.03
                                                                                                                                                                               Westphalia                            8006.04                                                                  Side
                                                                                                        Hillcrest          8020.01

               Annandale
                                                                                                        Heights
                                                                                                                       8019.07
                                                                                                                                                 8021.04                   8007.01
                                                                                                8018.07                                                   8022.01
Wakefield
                                 Lincolnia
                                                                                            8017.04      8017.06
                                                                                                                            8019.05                                                                 8006.06
                                                                                                                                                                                                                  8006.01
                                                                                                    8017.08    8019.01 8019.04
                                                                                              8017.07
       North Springfield                                         Alexandria                                        Camp Springs
                                                                                   8015                    8017.01
                                                                                                                                                                                   8007.07
                                                          Huntington
                                                                                           8014.05    8014.08                                   8011.04
                 Springfield                 Rose Hill                                           8014.09
                                                                                                      8014.07 8012.12
                                                                                                                                                                                                         8006.05
        West                    Franconia                                   8014.04                             8012.11                                                  8007.06             8007.04
                                                                                                                                                   8012.14                               Marlton
     Springfield                                                                               8014.06 8012.13 8012.10
                                                     Groveton                                                                                               8012.15
                                Kingstowne                                         8014.11                                              8012.17
                                                                                               8013.05                                                                         Rosaryville
                                                                           8014.10            Friendly
 Newington                                          Hybla Valley
                                                                                                                                                                               8010.06
                                                                                                                                                                                         8007.05
                                                                                              8013.13                      8012.16                    8012.07 8010.05
   Forest        Newington                                                                                                                  8012.08
                                                              Fort Hunt      8013.07
                                                                                                                                     8012.09

 Laurel Hill                        Woodlawn                                 Fort             8013.12
                                                                                                               8013.11                                    8010.04
     Lorton                                                               Washington

                                                                                 8013.09                                                                    Brandywine                                                                                                        Chesapeake
                                                                                                                                                                                                       8008                                                                     Beach
                                                                       8013.02
                                                                                                                                                         8010.03
                                                                          Accokeek
                                                                                       8013.10



                                                         Bryans Road                                                             Waldorf
                                                                                  Bensville                                                                                                                        8009




                                                                                                                                                                                                                                                           Carroll                           Harford
                                                                                                                                                                                                                                           Frederick                             Baltimore
                                                                                                                                                                                                                                                                            Baltimore



±       0          2       4 Miles
                                                                                               La Plata


                                                                                                                                                                                                                                         Loudoun
                                                                                                                                                                                                                                                Montgomery
                                                                                                                                                                                                                                                                 Howard



                                                                                                                                                                                                                                                                          Anne Arundel
                                                                                                                                                                                                                                                                                                Kent


                                                                                                                                                                                                                                                                                            Queen

Hardest to Count (HTC)                                             0 - 60% mail return rate                                           Tracts counted using                                             Tracts with lowest      Fairfax Arlington District
                                                                                                                                                                                                                                                                                            Anne's

                                                                                                                                                                                                                                 Fairfax      of Columbia
Tracts in the Nation                                               60 - 65%                                                           special Update/Enumerate                                         mail return rate in            Alexandria
                                                                                                                                                                                                                                                     Prince                                  Talbot
                                                                   65 - 70%                                                           method; they are hard-to-                                        Prince George's County VIRGINIA             George's
Tracts with 2010 mail return rates of                                                                                                                                                                                                        Prince
                                                                   70 - 73%                                                           count but mail return rates
73% or less (in the bottom 20 percent                                                                                                                                                                                                       William

                                                                   above 73%                                                          are not applicable                                                                                 Fauquier           Charles
                                                                                                                                                                                                                                                                           Calvert
of return rates nationwide) are shaded                                                                                                                                                                                                                                                  Dorchester
                                                                                                                                                                                                                                                                 MARYLAND
on the map.                                                                                                                                                                                                                               Stafford
                                                                                                                                                                                                                                                         King             St. Mary's
                                                                                                                                                                                                                                         Spotsylvania
                                                                                                                                                                                                                                          FredericksburgGeorge
For more details and additional information, please visit: https://www.CensusHardtoCountMaps2020.us
Cartography by CUNY Graduate Center, Center for Urban Research, 2018. Data: U.S. Census Bureau; ESRI Basemap. Created: 3/29/2018                                                                                                                       HTC 2020
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                     Exhibit 23
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  2010 Census Coverage Measurement Person Results for Prince George's County, MD
2010 Census Household Population Count: 844,092
                                                     Net Coverage
Net undercount is the CCM population estimate minus the census household population count. Percent net undercount is the
net undercount divided by the CCM population estimate. A negative value is a net overcount.

Net Undercount: 19,900 (17,500 RMSE)                              Percent Net Undercount: 2.30% (1.97% RMSE)
90% confidence interval: -8,800 to 48,600                         90% confidence interval: -0.95% to 5.55%




                                         Components of Census Coverage
Correct enumerations are persons who should have been counted anywhere in Prince George's County, MD. Erroneous
enumerations include duplicate enumerations and persons who should not have been counted in Prince George's County,
MD. Whole-person census imputations are census records that required all of their characteristics to be imputed. Omissions
are persons who should have been counted in Prince George's County, MD but were not.




  Census Components (Percent of Census Count)                       Omission Percentage (Percent of CCM Estimate)
Correct Enumerations: 93.9% (0.9% SE)                             Omissions: 8.3% (2.0% RMSE)
90% confidence interval: 92.4% to 95.3%                           90% confidence interval: 4.9% to 11.7%




Erroneous Enumerations: 3.7% (0.9% SE)
90% confidence interval: 2.2% to 5.1%                             Note: For the estimates of correct and erroneous
                                                                  enumerations, the standard error is an estimate of the
                                                                  sampling error. For estimates of the net undercount,
                                                                  percent net undercount, and omissions percentage, we
                                                                  provide estimates of the root mean squared error. These
                                                                  estimates of error add an estimate of the synthetic bias to
                                                                  the sampling error of the point estimates.



Whole-Person Census Imputations: 2.5%
Whole-person census imputations are tallied, not
estimated. Therefore the percentage is not subject to
sampling error.

Source: 2010 Census Coverage Measurement
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                     Exhibit 24
1/17/2020                                                                                           PricewaterhouseCoopers Census Study
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                                                                                                        Archive




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       August 7, 2001 - PricewaterhouseCoopers Census Study:
       CENSUS 2000 UNDERCOUNT COULD COST STATES BILLIONS




       These estimates show the effect of the Census 2000 undercount on federal funding of eight major programs over
       a ten year period, 2002-20012. The eight programs are Medicaid, Foster Care, Rehabilitation Services Basic
       Support, Child Care and Development Block Grant, Social Services Block Grant, Substance Abuse Prevention and
       Treatment Block Grant, Adoption Assistance, and Vocational Education Basic Grants.

                                         State Estimated 2000 Census Undercount:
       State                                               Undercount                                         Undercount Rate3
                                             State/                                                     State/
                                           USTotal1              Over182             Under182          USTotal        Over18          Under18
       United States                      3,355,585            2,213,342             1,142,243             1.18           1.05            1.56

       Maryland                               75,204               50,559                  24,645          1.40           1.27            1.78




https://govinfo.library.unt.edu/cmb/cmbp/reports/080601.pricewaterhouse/state_md.asp.htm                                                         1/3
1/17/2020                                                                                             PricewaterhouseCoopers Census Study
       1
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        Source: Dr. Eugene Ericksen, "Estimates of State and County Undercount Rates," May 1, 2001.
       2
        PricewaterhouseCoopers calculations based on undercount rates provided by Dr. Ericksen.
       3
        Undercount as a percent of adjusted population. U.S. Census Bureau and Dr. Eugene Ericksen, "Estimates of State and County Undercount
       Rates," May 1, 2001.


                                Selected County Estimated 2000 Census Undercount:
                                                                   2000 Population Projection                      Estimated Undercount
       State, County                                                 Unadjusted         Adjusted
                                                                                                                          Number3            Rate4
                                                                         Count1           Count2

       Total, All 112 Selected Counties                              125,460,358              127,081,879                1,621,521          1.28

       Maryland                                                        5,296,486               5,371,690                    75,204          1.40
       Baltimore City5                                                    651,154                 664,993                    13,839         2.08
       Baltimore County                                                   754,292                 763,672                     9,380         1.23
       Montgomery County                                                  873,341                 885,453                    12,112         1.37
       Prince George's County                                             801,515                 817,093                    15,578         1.91


       1
        Source: U.S. Census Bureau, Census 2000 Redistricting Data (P.L. 94-171) Summary File, Table 1.
       2
        Equals unadjusted population count plus undercount.
       3
        Equals adjusted minus unadjusted 2000 population projections.
       4
        Undercount as a percent of adjusted population. U.S. Census Bureau and Dr. Eugene Ericksen, "Estimates of State and County Undercount
       Rates," May 1, 2001.
       5
        Baltimore City is an independent city (i.e., it is independent of any county organization).
       6
        Richmond County is included in order to comprise the 5 counties of New York City.


            Estimated Effect of 2000 Census Undercount On Federal Funding for the State
                                       (thousands of dollars):
       State                                    2002           2003           2004            2005           2006          2007      2002-2012


       Maryland                                  -406           -514           -525           -535            -546          -557            -5,545


       Total, United States                          0    -31,924        -34,726           -37,826       -41,114       -44,693        -478,297
       Funding Gains                          16,436       245,656        265,865          288,148       311,756       319,336        3,594,843
       Funding Losses                       -16,436 -277,580 -300,591                      -325,974     -352,870      -364,028       -4,073,140


       Source: PricewaterhouseCoopers calculations.


            Estimated Effect of 2000 Census Undercount On Federal Funding By Selected
                                             County:
       State, County                             Between-State Effects               Within-State Effects                   Net Effect
                                                         (Thousands)                        (Thousands)                  Amount         Percent1
                                                                                                                     (Thousands)
https://govinfo.library.unt.edu/cmb/cmbp/reports/080601.pricewaterhouse/state_md.asp.htm                                                             2/3
1/17/2020                                                                                             PricewaterhouseCoopers Census Study
                                               Case 8:18-cv-00891-PWG Document 169-9( Filed 01/21/20
                                                                                              )      Page 117 of 160
       Maryland
       Baltimore City2                                                    -682                         -28,288             -28,970          -0.7%
       Baltimore County                                                   -790                            8,194               7,404         0.2%
       Montgomery County                                                  -914                            1,773                 859            *
       Prince George's County                                             -839                         -25,851             -26,690          -0.5%


       Source: PricewaterhouseCoopers calculations.
       * Denotes less than 0.05%.
       1
        Net effect as a percent of the adjusted funding level under the eight programs over 2002-2012
       2
        Baltimore City is an independent city (i.e., it is independent of any county organization).
       3
        Richmond County is included in order to comprise the 5 counties of New York city.




       U.S. Census Monitoring Board                       4700 Silver Hill Road     Phone: (301) 457-9900
                                                          Suite 1250 – 3            Fax: (301) 457-9901
       Presidential Members                               Suitland, MD 20746        comments@cmbp.census.gov




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                     Exhibit 25
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       Net Undercount and Undercount Rate for Counties (1990)
                                                Total                                 Under 18 Years
                                                          Net                                        Net
                            Adjusted       Official    Undercount Rate    Adjusted    Official    Undercount   Rate
Maryland
Total                       4,882,452      4,781,468     100,984   2.1%   1,214,380   1,162,241      52,139    4.3%
White                       3,438,148      3,393,964      44,184   1.3%     792,329     765,441      26,888    3.4%
Black                       1,241,091      1,189,899      51,192   4.1%     364,412     341,106      23,306    6.4%
AIEA                           13,278         12,972         306   2.3%       3,598       3,412         186    5.2%
API                           141,616        139,719       1,897   1.3%      39,256      38,472         784    2.0%
Other                          48,319         44,914       3,405   7.0%      14,785      13,810         975    6.6%
Hispanic Origin               133,101       125,102        7,999   6.0%      38,655     36,311         2,344   6.1%

Allegany County
Total                          75,892        74,946         946    1.2%      16,874     16,365          509    3.0%
White                          73,852        72,955         897    1.2%      16,218     15,738          480    3.0%
Black                           1,575         1,535          40    2.5%         490        463           27    5.5%
AIEA                               60            59           1    1.7%          10         10            0    0.0%
API                               327           321           6    1.8%         118        117            1    0.8%
Other                              78            76           2    2.6%          38         37            1    2.6%
Hispanic Origin                   335           319          16    4.8%        107         102            5    4.7%

Anne Arundel County
Total                         434,458       427,239        7,219   1.7%     109,313    105,188         4,125   3.8%
White                         371,024       365,953        5,071   1.4%      90,798     87,746         3,052   3.4%
Black                          52,379        50,525        1,854   3.5%      15,308     14,354           954   6.2%
AIEA                            1,321         1,292           29   2.2%         330        317            13   3.9%
API                             7,819         7,675          144   1.8%       2,206      2,150            56   2.5%
Other                           1,915         1,794          121   6.3%         671        621            50   7.5%
Hispanic Origin                 7,194         6,815         379    5.3%       2,275       2,141         134    5.9%

Baltimore County
Total                         702,814       692,134       10,680   1.5%     157,541    151,162         6,379   4.0%
White                         594,206       587,898        6,308   1.1%     125,639    121,100         4,539   3.6%
Black                          89,419        85,451        3,968   4.4%      26,342     24,662         1,680   6.4%
AIEA                            1,509         1,468           41   2.7%         409        383            26   6.4%
API                            15,783        15,544          239   1.5%       4,535      4,440            95   2.1%
Other                           1,897         1,773          124   6.5%         616        577            39   6.3%
Hispanic Origin                 8,604         8,131         473    5.5%       2,426       2,289         137    5.6%

Calvert County
Total                          52,182        51,372         810    1.6%      15,136     14,600          536    3.5%
White                          43,327        42,825         502    1.2%      12,470     12,100          370    3.0%
Black                           8,349         8,046         303    3.6%       2,512      2,350          162    6.4%
AIEA                              128           127           1    0.8%          24         23            1    4.2%
API                               294           292           2    0.7%          95         93            2    2.1%
Other                              84            82           2    2.4%          35         34            1    2.9%
Hispanic Origin                   531           502          29    5.5%        197         187           10    5.1%




AIEA - American Indian, Eskimo and Aleut
API - Asian and Pacific Islander
Hispanic Origin - may be of any Race
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       Net Undercount and Undercount Rate for Counties (1990)
                                                Total                                 Under 18 Years
                                                         Net                                         Net
                            Adjusted       Official   Undercount Rate     Adjusted    Official    Undercount   Rate
Caroline County
Total                          27,507        27,035        472     1.7%       7,374       7,100         274    3.7%
White                          22,666        22,355        311     1.4%       5,869       5,693         176    3.0%
Black                           4,609         4,459        150     3.3%       1,435       1,339          96    6.7%
AIEA                               58            58          0     0.0%          19          18           1    5.3%
API                                80            79          1     1.3%          32          31           1    3.1%
Other                              94            84         10    10.6%          19          19           0    0.0%
Hispanic Origin                   252           231         21    8.3%          92           85           7    7.6%

Carroll County
Total                         124,933       123,372       1,561   1.2%       33,747     32,770          977    2.9%
White                         120,818       119,336       1,482    1.2%      32,621     31,688          933     2.9%
Black                           2,997         2,933          64    2.1%         742        704           38     5.1%
AIEA                              197           192           5    2.5%          59         56             3    5.1%
API                               743           747          -4   -0.5%         252        253            -1   -0.4%
Other                             178           164          14    7.9%          73         69             4    5.5%
Hispanic Origin                   945           903         42    4.4%         339         330            9    2.7%

Cecil County
Total                          72,549        71,347       1,202   1.7%       20,258     19,508          750    3.7%
White                          68,530        67,450       1,080   1.6%       19,014     18,330          684    3.6%
Black                           3,337         3,240          97   2.9%        1,026        969           57    5.6%
AIEA                              154           150           4   2.6%           41         39            2    4.9%
API                               312           310           2   0.6%          108        106            2    1.9%
Other                             216           197          19   8.8%           69         64            5    7.2%
Hispanic Origin                   682           635         47    6.9%         245         229           16    6.5%

Charles County
Total                         102,795       101,154       1,641   1.6%       30,781     29,756         1,025   3.3%
White                          81,237        80,234       1,003   1.2%       23,772     23,137           635   2.7%
Black                          19,024        18,419         605   3.2%        6,140      5,771           369   6.0%
AIEA                              778           761          17   2.2%          235        224            11   4.7%
API                             1,342         1,338           4   0.3%          479        473             6   1.3%
Other                             414           402          12   2.9%          155        151             4   2.6%
Hispanic Origin                 1,746         1,705         41    2.3%         642         635            7    1.1%

Dorchester County
Total                          30,762        30,236        526    1.7%        7,239       6,917         322    4.4%
White                          21,786        21,548        238     1.1%       4,505       4,359         146    3.2%
Black                           8,708         8,423        285     3.3%       2,653       2,479         174    6.6%
AIEA                               52            51          1     1.9%          16          15           1    6.3%
API                               137           138         -1    -0.7%          36          36           0    0.0%
Other                              79            76          3     3.8%          29          28           1    3.4%
Hispanic Origin                   190           177         13    6.8%          63           58           5    7.9%




AIEA - American Indian, Eskimo and Aleut
API - Asian and Pacific Islander
Hispanic Origin - may be of any Race
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       Net Undercount and Undercount Rate for Counties (1990)
                                                Total                                 Under 18 Years
                                                         Net                                         Net
                            Adjusted       Official   Undercount Rate     Adjusted    Official    Undercount   Rate
Frederick County
Total                         152,696       150,208       2,488   1.6%       40,993     39,731         1,262   3.1%
White                         142,088       139,909       2,179   1.5%       37,754     36,654         1,100   2.9%
Black                           8,257         8,010         247   3.0%        2,465      2,324           141   5.7%
AIEA                              290           284           6   2.1%           93         91             2   2.2%
API                             1,543         1,510          33   2.1%          486        475            11   2.3%
Other                             518           495          23   4.4%          195        187             8   4.1%
Hispanic Origin                 1,791         1,713         78    4.4%         587         566           21    3.6%

Garrett County
Total                          28,518        28,138        380    1.3%        7,863       7,620         243    3.1%
White                          28,341        27,963        378    1.3%        7,767       7,524         243    3.1%
Black                             106           105          1    0.9%           68          68           0    0.0%
AIEA                               22            22          0    0.0%           10          10           0    0.0%
API                                41            40          1    2.4%           14          14           0    0.0%
Other                               8             8          0    0.0%            4           4           0    0.0%
Hispanic Origin                   121           110         11    9.1%          54           49           5    9.3%

Harford County
Total                         185,024       182,132       2,892   1.6%       50,569     48,782         1,787   3.5%
White                         164,751       162,559       2,192   1.3%       43,989     42,578         1,411   3.2%
Black                          16,139        15,530         609   3.8%        5,246      4,909           337   6.4%
AIEA                              505           490          15   3.0%          143        135             8   5.6%
API                             2,523         2,503          20   0.8%          797        783            14   1.8%
Other                           1,106         1,050          56   5.1%          394        377            17   4.3%
Hispanic Origin                 2,968         2,821        147    5.0%        1,046        989           57    5.4%

Howard County
Total                         190,432       187,328       3,104   1.6%       50,214     48,482         1,732   3.4%
White                         157,981       155,899       2,082   1.3%       40,826     39,549         1,277   3.1%
Black                          22,928        22,019         909   4.0%        6,331      5,934           397   6.3%
AIEA                              413           402          11   2.7%          103         94             9   8.7%
API                             8,133         8,098          35   0.4%        2,610      2,576            34   1.3%
Other                             977           910          67   6.9%          344        329            15   4.4%
Hispanic Origin                 3,911         3,699        212    5.4%        1,271       1,201          70    5.5%

Kent County
Total                          18,246        17,842        404     2.2%       3,988       3,805         183     4.6%
White                          14,357        14,085        272     1.9%       2,933       2,817         116     4.0%
Black                           3,643         3,534        109     3.0%         971         911          60     6.2%
AIEA                               30            29          1     3.3%           3           3            0    0.0%
API                                70            68          2     2.9%          21          22           -1   -4.8%
Other                             146           126         20    13.7%          60          52            8   13.3%
Hispanic Origin                   533           467         66    12.4%        150         129           21    14.0%




AIEA - American Indian, Eskimo and Aleut
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Hispanic Origin - may be of any Race
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       Net Undercount and Undercount Rate for Counties (1990)
                                                Total                                 Under 18 Years
                                                         Net                                         Net
                            Adjusted       Official   Undercount Rate     Adjusted    Official    Undercount   Rate
Montgomery County
Total                         771,174       757,027      14,147   1.8%      185,316    178,244         7,072   3.8%
White                         588,217       580,635       7,582   1.3%      133,178    128,704         4,474   3.4%
Black                          96,745        92,267       4,478   4.6%       27,476     25,674         1,802   6.6%
AIEA                            1,886         1,841          45   2.4%          461        437            24   5.2%
API                            62,446        61,981         465   0.7%       17,686     17,374           312   1.8%
Other                          21,880        20,303       1,577   7.2%        6,515      6,055           460   7.1%
Hispanic Origin                59,353        55,684       3,669   6.2%       16,723     15,668         1,055   6.3%

Prince George's County
Total                         751,595       729,268      22,327   3.0%      187,625    177,945         9,680   5.2%
White                         319,145       314,616       4,529   1.4%       61,911     59,545         2,366   3.8%
Black                         385,855       369,791      16,064   4.2%      113,455    106,623         6,832   6.0%
AIEA                            2,380         2,339          41   1.7%          604        581            23   3.8%
API                            28,818        28,255         563   2.0%        7,185      7,015           170   2.4%
Other                          15,397        14,267       1,130   7.3%        4,470      4,181           289   6.5%
Hispanic Origin                32,060        29,983       2,077   6.5%        8,999       8,434         565    6.3%

Queen Anne's County
Total                          34,468        33,953        515     1.5%       8,662       8,341         321     3.7%
White                          30,299        29,911        388     1.3%       7,517       7,268         249     3.3%
Black                           3,962         3,839        123     3.1%       1,083       1,013          70     6.5%
AIEA                               46            45          1     2.2%           9           8           1    11.1%
API                               123           125         -2    -1.6%          40          40           0     0.0%
Other                              38            33          5    13.2%          13          12           1     7.7%
Hispanic Origin                   203           189         14    6.9%          64           59           5    7.8%

St. Mary's County
Total                          77,611        75,974       1,637   2.1%       22,382     21,553          829    3.7%
White                          65,367        64,129       1,238   1.9%       18,519     17,919          600    3.2%
Black                          10,633        10,275         358   3.4%        3,345      3,132          213    6.4%
AIEA                              274           268           6   2.2%           83         79            4    4.8%
API                               943           928          15   1.6%          300        292            8    2.7%
Other                             394           374          20   5.1%          135        131            4    3.0%
Hispanic Origin                 1,306         1,230         76    5.8%         468         441           27    5.8%

Somerset County
Total                          23,853        23,440        413     1.7%       4,976       4,727         249     5.0%
White                          14,430        14,282        148     1.0%       2,955       2,852         103     3.5%
Black                           9,194         8,943        251     2.7%       1,979       1,836         143     7.2%
AIEA                               47            47          0     0.0%          10          10           0     0.0%
API                               100            96          4     4.0%          14          13           1     7.1%
Other                              82            72         10    12.2%          18          16           2    11.1%
Hispanic Origin                   252           229         23    9.1%          65           58           7    10.8%




AIEA - American Indian, Eskimo and Aleut
API - Asian and Pacific Islander
Hispanic Origin - may be of any Race
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       Net Undercount and Undercount Rate for Counties (1990)
                                                Total                                Under 18 Years
                                                         Net                                        Net
                            Adjusted       Official   Undercount Rate    Adjusted    Official    Undercount   Rate
Talbot County
Total                          31,030        30,549        481    1.6%       6,689       6,433         256     3.8%
White                          25,141        24,833        308    1.2%       5,167       5,006         161     3.1%
Black                           5,666         5,502        164    2.9%       1,436       1,345          91     6.3%
AIEA                               43            42          1    2.3%           7           6           1    14.3%
API                               103           102          1    1.0%          42          41           1     2.4%
Other                              77            70          7    9.1%          37          35           2     5.4%
Hispanic Origin                   175           167          8    4.6%         58           57           1    1.7%

Washington County
Total                         123,259       121,393       1,866   1.5%      28,542     27,536         1,006   3.5%
White                         114,517       112,828       1,689   1.5%      26,695     25,801           894   3.3%
Black                           7,379         7,245         134   1.8%       1,371      1,283            88   6.4%
AIEA                              245           241           4   1.6%          49         47             2   4.1%
API                               812           793          19   2.3%         289        279            10   3.5%
Other                             306           286          20   6.5%         138        126            12   8.7%
Hispanic Origin                   957           905         52    5.4%        359         330           29    8.1%

Wicomico County
Total                          75,889        74,339       1,550   2.0%      18,908     18,110          798    4.2%
White                          57,645        56,755         890   1.5%      13,072     12,654          418    3.2%
Black                          17,192        16,573         619   3.6%       5,525      5,157          368    6.7%
AIEA                              141           137           4   2.8%          36         34            2    5.6%
API                               691           671          20   2.9%         193        188            5    2.6%
Other                             220           203          17   7.7%          82         77            5    6.1%
Hispanic Origin                   660           610         50    7.6%        193         179           14    7.3%

Worcester County
Total                          35,639        35,028        611    1.7%       8,029       7,697         332    4.1%
White                          27,608        27,253        355    1.3%       5,538       5,368         170    3.1%
Black                           7,711         7,467        244    3.2%       2,377       2,220         157    6.6%
AIEA                               72            72          0    0.0%          12          12           0    0.0%
API                               168           163          5    3.0%          65          63           2    3.1%
Other                              80            73          7    8.8%          37          34           3    8.1%
Hispanic Origin                   292           275         17    5.8%         85           80           5    5.9%

Baltimore city
Total                         759,126       736,014      23,112   3.0%     191,361    179,869       11,492    6.0%
White                         290,815       287,753       3,062   1.1%      53,602     51,311        2,291    4.3%
Black                         455,284       435,768      19,516   4.3%     134,636    125,586        9,050    6.7%
AIEA                            2,627         2,555          72   2.7%         832        780           52    6.3%
API                             8,265         7,942         323   3.9%       1,653      1,598           55    3.3%
Other                           2,135         1,996         139   6.5%         638        594           44    6.9%
Hispanic Origin                 8,040         7,602        438    5.4%       2,147       2,015         132    6.1%




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Hispanic Origin - may be of any Race
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                     Exhibit 26
    The Washington Post            Case 8:18-cv-00891-PWG Document 169-9 Filed 01/21/20 Page 125 of 160

For Prince George's, the Census Can Pay Off

By Tracey A. Reeves
March 8, 2000

A word to Prince George's County residents: If a stranger comes knocking on your door wanting to ask nosy questions about things like your age,
race and income, answer them.

If you get a form in the mail asking for the same information, don't throw it away. What you tell both of these sources could translate into
hundreds of millions of dollars for the county.

That's the message that Elizabeth M. Hewlett, chairman of the county Planning Board, gave Friday to the county's delegates to the Maryland
General Assembly.

Hewlett, speaking before the delegation Friday, said that Prince George's lost an undetermined amount of money because the 1990 Census
undercounted about 22,327 residents. Statewide, 100,984 people were undercounted.

Had the census count been more accurate, the county could have received $20 million a year or a total of $200 million in grants and loans over
the past decade, Hewlett said.

"It's easy money," Hewlett said.

Hewlett said the county is especially interested in making sure that its non-English-speaking residents are counted. Hispanics, in particular,
some of whom are living in the United States illegally, tend to shy away from such questionnaires because they fear the census could lead to
deportation.

Census counts, which the federal government must take every 10 years, are important because the information gleaned from them is used to
determine everything from the numbers of representatives states send to Congress to how much money communities receive for schools, roads,
transportation, housing and a host of social programs.

                                                                                                                                                 /
                                  Case
In addition to asking that residents   8:18-cv-00891-PWG
                                     make                      Document
                                          sure that they are counted,    169-9
                                                                      Hewlett    Filed
                                                                              urged    01/21/20
                                                                                     county       Page
                                                                                            residents to 126 of 160
                                                                                                         become  census counters--a temporary job
that can pay as much as $12 an hour.

Looking for Help on Route 1

Proposing legislation is easy. It's garnering support that can get tricky.

Just ask Del. John A. Giannetti Jr., who recently ran into some harsh criticism from fellow members of the Prince George's House delegation
when he asked for their support on a bill he's sponsoring that speaks more to Howard County than it does to Prince George's.

Giannetti, a Democrat who represents Laurel--which is in both Prince George's and Howard--arrived at the weekly delegation meeting in
Annapolis on Friday upbeat and ready to pitch his bill for a statewide task force to study ways to revitalize Route 1.

But by the end of the morning meeting, even though he had won the support he wanted, he was shaking his head in disbelief at the energy he had
just exerted trying to convince his colleagues that a yes vote for his proposal was right.

Critics of Giannetti's bill said it's not that they don't want to improve the run-down corridor. Nor are the legislators bothered by the fact that a
task force is being sought even after others have dissected the unsightly road, with its miles of strip malls, billboards and fast-food eateries, but
done nothing to enhance its condition.

What bothers some county lawmakers about Giannetti's proposal is that it would study only that part of Route 1 that runs from the Capital
Beltway at College Park to the Baltimore Beltway near Linthicum--and most of that is in Howard.

The proposal, which needs the blessing of the full state legislature, calls for the task force to investigate and recommend ways to redevelop the
corridor.

The recommendations would have to be completed by next year's legislative session.

"I agree with this motion, but I want to be in on it, too," said Anne Healey (D-Hyattsville), whose district includes Route 1. "We have serious
concerns about Route 1 inside the Beltway. It's been studied before, but it's never been part of a statewide effort. I think we should be included."

Because the bill is not sponsored by the Prince George's County delegation, it does not need a vote from the delegation. But Giannetti said he
brought his proposal to the Prince George's delegation in hopes that the added support would boost the bill's fortunes.
                                                                                                                                                        /
                               Case 8:18-cv-00891-PWG
Healey and other delegation members,                       Document
                                     including Richard A. Palumbo   169-9 Filedand
                                                                  (D-Hyattsville) 01/21/20
                                                                                     DarrenPage 127 of
                                                                                           M. Swain    160
                                                                                                    (D-Bowie), were among those who
said that any statewide look at Route 1 should include the entire length of the road from Mount Rainier at the District line to Baltimore.

"Before I can support it, we have to be included," Palumbo sniped. "How can we not?"

Giannetti countered that he is not opposed to repairing all of Route 1. Rather, he said his proposal "has to start and stop somewhere."

"If this body does not want to weigh in on [the bill], I will submit an amendment to not include Prince George's. That's why things get done," an
agitated Giannetti said after it appeared that his request would be referred to a House committee for review. "The county executive likes the bill.
The governor likes the bill. It's part of his smart growth plan."

Healey and Palumbo later softened, saying they would support Giannetti's effort, but only if he made the task force aware of his colleagues' desire
to look at all of Route 1, not just a portion of it.

In the end, Giannetti's forceful argument was enough to kill the motion that would have sent the bill to a committee, and he won the unanimous
support of the Prince George's delegation for his measure. But it was a hard-fought battle--one that Giannetti later said was tougher than he
thought it would be.

"I knew there would be some apprehension, but I didn't think it would be like this," Giannetti said. "I'd say getting this done was akin to pulling
teeth."


                                                                          Comments




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                                                                                                                                                  /
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                     Exhibit 27
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May 22, 2012

DSSD 2010 CENSUS COVERAGE MEASUREMENT MEMORANDUM SERIES #2010-G-03


MEMORANDUM FOR              David C. Whitford
                            Chief, Decennial Statistical Studies Division

From:                       Patrick J. Cantwell (Signed)
                            Assistant Division Chief, Sampling and Estimation
                            Decennial Statistical Studies Division

Prepared by:                Peter P. Davis
                            James Mulligan
                            Decennial Statistical Studies Division

Subject:                    2010 Census Coverage Measurement Estimation Report: Net
                            Coverage for the Household Population in the United States


This report is one of twelve documents providing estimation results from the 2010 Census
Coverage Measurement program. This report provides net coverage estimates for the household
population in the United States showing undercount and overcount.

For more information, contact Peter Davis on (301) 763-4291 or James Mulligan on
(301) 763-1978.


Attachments

cc:
DSSD CCM Contacts List
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    Census Coverage Measurement Estimation Report


        Net Coverage for the Household Population
                   in the United States




                                Prepared by
                               Peter P. Davis
                              James Mulligan

                   Decennial Statistical Studies Division
                Case 8:18-cv-00891-PWG Document 169-9 Filed 01/21/20 Page 131 of 160
                                                                            Attachment 1

          Attachment 1: Net Coverage for Counties with Total Population Greater than 100,000 – 2010 and 2000
                                                              2010                                                         2000
                                Census        Net        Root Mean      Percent Net    Root Mean         Net       Standard   Percent Net   Standard
                                 Count     Undercount   Squared Error   Undercount    Squared Error   Undercount     Error    Undercount      Error
State and County (FIPS Code)    (×1000)     (×1000)       (×1000)           (%)           (%)          (×1000)     (×1000)        (%)         (%)

Alabama (01)                     4,663.9          6.2            58.1          0.13            1.24        -14.9       11.8         -0.35       0.27
 Baldwin County (003)              180.0          0.5             5.2          0.27            2.87         -1.5        0.4         -1.12       0.32
 Calhoun County (015)              115.7          0.7             3.7          0.61            3.16         -0.8        0.4         -0.74       0.33
 Etowah County (055)               102.3          0.3             3.3          0.25            3.25         -1.4        0.3         -1.38       0.32
 Houston County (069)              100.1          0.5             3.3          0.53            3.27         -0.5        0.3         -0.54       0.34
 Jefferson County (073)            642.7          3.9            13.8          0.61            2.12          1.4        1.9          0.21       0.29
 Lee County (081)                  135.8          1.5             4.2          1.10            3.05          0.5        0.5          0.45       0.40
 Madison County (089)              326.8          1.0             8.1          0.32            2.45          0.6        1.0          0.21       0.35
 Mobile County (097)               406.2          0.4             9.6          0.10            2.37          1.4        1.2          0.37       0.30
 Montgomery County (101)           220.3          3.9             6.3          1.73            2.75          0.1        0.8          0.07       0.40
 Morgan County (103)               117.4         -0.3             3.6         -0.26            3.12         -0.6        0.4         -0.56       0.36
 Shelby County (117)               192.5         -0.3             5.3         -0.16            2.78         -1.3        0.4         -0.96       0.31
 Tuscaloosa County (125)           184.2          2.5             5.4          1.34            2.85         -0.4        0.5         -0.28       0.35
 Balance of Alabama              1,940.0         -8.4            36.7         -0.44            1.91        -12.4        4.9         -0.67       0.27

Alaska (02)                       629.1          -5.3            13.8         -0.85            2.22          1.8        3.0          0.33       0.54
 Anchorage Municipality (020)     283.4           1.6             7.4          0.57            2.59          0.8        1.2          0.33       0.47
 Balance of Alaska                345.7          -6.9            11.4         -2.04            3.44          1.0        1.0          0.34       0.32

Arizona (04)                     6,252.6        -26.2            73.9         -0.42            1.19        -16.5       18.3         -0.33       0.37
 Cochise County (003)              125.1          0.2             4.1          0.18            3.25          0.5        0.6          0.45       0.49
 Coconino County (005)             125.6          1.3             4.0          1.01            3.14          0.4        0.6          0.35       0.56
 Maricopa County (013)           3,763.9        -14.0            55.5         -0.37            1.49         -9.0       12.4         -0.30       0.41
 Mohave County (015)               197.6         -6.1             6.0         -3.20            3.24         -2.4        0.6         -1.56       0.39
 Navajo County (017)               105.2          0.5             3.7          0.46            3.45          0.0        0.8         -0.02       0.87
 Pima County (019)                 956.1         -3.4            18.8         -0.35            1.98         -6.0        2.7         -0.74       0.33
 Pinal County (021)                349.5         -5.3             8.7         -1.55            2.58         -0.4        1.1         -0.25       0.68
 Yavapai County (025)              207.5         -1.9             5.8         -0.94            2.84         -0.8        1.1         -0.52       0.67
 Yuma County (027)                 189.8          0.8             5.5          0.44            2.86          1.6        1.4          1.02       0.87
 Balance of Arizona                232.3          1.8             9.0          0.77            3.81         -0.3        0.7         -0.12       0.33

Arkansas (05)                    2,837.0        -11.5            40.7         -0.41            1.45         -2.5        7.8         -0.10       0.30
 Benton County (007)               219.3          0.1             6.1          0.06            2.76         -0.4        0.5         -0.26       0.34
 Faulkner County (045)             109.2         -0.6             3.4         -0.54            3.19         -0.2        0.2         -0.23       0.29
 Pulaski County (119)              374.8          1.7             9.1          0.44            2.39          1.5        1.0          0.42       0.28
 Saline County (125)               105.7         -0.7             3.4         -0.70            3.22         -0.1        0.3         -0.17       0.38
 Sebastian County (131)            123.5          0.3             3.9          0.26            3.12          0.0        0.4          0.03       0.33
 Washington County (143)           195.5          1.5             5.6          0.75            2.81          0.3        0.5          0.20       0.33
 Balance of Arkansas             1,709.0        -13.7            34.2         -0.81            2.03         -3.6        4.5         -0.22       0.27

California (06)                 36,434.1         95.6           265.6          0.26            0.73         44.1       87.1          0.13       0.26
 Alameda County (001)            1,472.8          5.2            26.3          0.35            1.77          0.8        4.3          0.06       0.30
 Butte County (007)                215.1          1.5             6.0          0.67            2.73         -0.9        0.7         -0.48       0.36
 Contra Costa County (013)       1,038.7          0.6            19.9          0.06            1.91         -4.4        2.6         -0.47       0.28
 El Dorado County (017)            179.4         -1.9             5.1         -1.09            2.89         -0.9        0.6         -0.56       0.41
 Fresno County (019)               912.9          3.6            18.3          0.40            1.99          3.6        2.7          0.46       0.34
 Humboldt County (023)             129.6         -0.3             4.2         -0.23            3.26         -0.2        0.5         -0.13       0.41
 Imperial County (025)             163.8          2.6             4.9          1.59            2.92          2.1        1.1          1.61       0.79
 Kern County (029)                 802.9         -0.4            16.5         -0.05            2.06          0.9        2.4          0.14       0.38
 Kings County (031)                131.4          2.1             4.1          1.57            3.01          1.1        0.5          1.02       0.45
 Los Angeles County (037)        9,646.9         49.2           116.2          0.51            1.19         53.0       29.3          0.56       0.31
 Madera County (039)               142.2          0.8             4.3          0.58            2.97         -1.6        0.5         -1.37       0.41
 Marin County (041)                243.4         -0.7             6.4         -0.29            2.66         -1.8        0.7         -0.78       0.32
 Merced County (047)               250.9          4.4             6.8          1.71            2.61          2.6        1.0          1.23       0.46
 Monterey County (053)             396.4          7.8             9.9          1.93            2.39          2.7        1.9          0.71       0.49
 Napa County (055)                 131.6         -0.2             4.0         -0.13            3.04         -0.7        0.4         -0.57       0.31


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                                                               2010                                                            2000
                                Census        Net         Root Mean      Percent Net     Root Mean          Net        Standard   Percent Net    Standard
                                 Count     Undercount    Squared Error   Undercount     Squared Error    Undercount      Error    Undercount       Error
State and County (FIPS Code)    (×1000)     (×1000)        (×1000)           (%)            (%)           (×1000)      (×1000)        (%)          (%)
 Orange County (059)             2,971.0           4.0            45.5          0.14             1.53            2.0         8.3         0.07         0.30
 Placer County (061)               344.6          -2.5             8.4         -0.73             2.47           -1.6         1.0        -0.64         0.42
 Riverside County (065)          2,153.8          -2.6            35.4         -0.12             1.65           -3.1         4.3        -0.20         0.29
 Sacramento County (067)         1,395.0          -0.2            25.3         -0.01             1.82           -2.4         3.9        -0.20         0.33
 San Bernardino County (071)     1,995.2           2.5            33.2          0.13             1.66           -1.2         4.8        -0.07         0.29
 San Diego County (073)          2,993.3          -2.8            46.4         -0.09             1.55            5.6         8.1         0.21         0.30
 San Francisco County (075)        781.0           0.6            16.1          0.07             2.06           -1.1         2.9        -0.15         0.38
 San Joaquin County (077)          671.0           1.2            14.3          0.17             2.13           -2.0         2.4        -0.37         0.45
 San Luis Obispo County (079)      252.6           2.3             6.7          0.89             2.62            0.1         0.8         0.06         0.35
 San Mateo County (081)            709.6           1.2            14.8          0.17             2.08           -2.7         2.1        -0.38         0.31
 Santa Barbara County (083)        406.1           7.9             9.9          1.90             2.36            2.3         1.6         0.61         0.42
 Santa Clara County (085)        1,751.3           5.8            30.0          0.33             1.70           -6.7         5.5        -0.41         0.33
 Santa Cruz County (087)           251.4           0.3             6.6          0.13             2.63           -0.9         0.8        -0.36         0.32
 Shasta County (089)               174.6           0.4             5.0          0.23             2.87           -0.7         0.5        -0.45         0.34
 Solano County (095)               400.9          -0.2             9.5         -0.05             2.37           -0.6         1.2        -0.16         0.33
 Sonoma County (097)               473.8          -1.3            10.8         -0.27             2.30           -2.1         1.5        -0.48         0.33
 Stanislaus County (099)           508.1          -0.5            11.4         -0.10             2.25            0.9         1.7         0.20         0.39
 Tulare County (107)               437.4           7.6            10.5          1.71             2.33            2.5         1.8         0.67         0.49
 Ventura County (111)              812.7           1.4            16.5          0.17             2.02           -1.7         2.1        -0.23         0.29
 Yolo County (113)                 194.1           0.7             5.4          0.37             2.77            0.2         0.5         0.12         0.31
 Balance of California             898.5          -4.6            22.3         -0.52             2.51            0.8         2.4         0.09         0.29

Colorado (08)                    4,913.3         -14.1            59.9         -0.29             1.23           -0.3       14.2         -0.01        0.34
 Adams County (001)                437.6           0.3            10.1          0.07             2.31           -1.9        1.4         -0.53        0.40
 Arapahoe County (005)             567.1          -0.1            12.4         -0.02             2.19           -1.5        1.5         -0.32        0.31
 Boulder County (013)              285.6          -0.7             7.3         -0.24             2.56           -1.8        0.9         -0.65        0.32
 Denver County (031)               584.2           2.4            12.8          0.40             2.17           -1.2        1.9         -0.23        0.35
 Douglas County (035)              284.8          -1.1             7.2         -0.38             2.56           -0.3        0.6         -0.19        0.36
 El Paso County (041)              603.1          -2.8            13.0         -0.47             2.17            1.2        1.8          0.24        0.37
 Jefferson County (059)            527.1          -0.9            11.7         -0.17             2.23           -2.8        1.8         -0.54        0.35
 Larimer County (069)              291.1           1.4             7.5          0.47             2.54            0.7        1.1          0.29        0.46
 Mesa County (077)                 143.1           0.4             4.3          0.25             2.98            0.1        0.5          0.06        0.43
 Pueblo County (101)               154.7           1.1             4.6          0.74             2.92            0.1        0.6          0.06        0.41
 Weld County (123)                 246.9          -0.7             6.5         -0.27             2.64            2.2        1.0          1.24        0.58
 Balance of Colorado               787.9         -13.3            20.8         -1.71             2.73            5.0        2.0          0.75        0.29

Connecticut (09)                 3,455.9         -15.6            45.8         -0.45             1.34          -25.3        8.2         -0.77        0.25
 Fairfield County (001)            897.7          -4.6            17.6         -0.51             1.99           -4.9        2.5         -0.57        0.29
 Hartford County (003)             865.8          -5.3            17.5         -0.61             2.05           -7.8        3.3         -0.94        0.40
 Litchfield County (005)           187.1           0.3             5.5          0.16             2.92           -2.3        0.6         -1.28        0.35
 Middlesex County (007)            160.6          -0.9             4.6         -0.59             2.93           -1.2        0.5         -0.80        0.35
 New Haven County (009)            833.3          -4.1            16.7         -0.49             2.02           -5.0        2.3         -0.63        0.29
 New London County (011)           261.3           0.6             7.3          0.25             2.76           -0.9        1.1         -0.37        0.44
 Tolland County (013)              136.6          -0.7             4.1         -0.48             3.03           -1.8        0.5         -1.45        0.42
 Windham County (015)              113.7          -1.1             3.6         -0.96             3.20           -1.4        0.4         -1.34        0.39
 Balance of Connecticut               --            --              --             --               --            --         --             --          --

Delaware (10)                     873.5            4.8            17.1          0.55             1.93           -2.5        2.4         -0.33        0.32
 Kent County (001)                158.0            1.1             4.7          0.71             2.95            0.3        0.6          0.22        0.49
 New Castle County (003)          521.3            4.1            11.8          0.77             2.22           -1.7        2.0         -0.35        0.43
 Sussex County (005)              194.2           -0.4             5.5         -0.20             2.84           -1.1        0.6         -0.69        0.37
 Balance of Delaware                 --             --              --             --               --            --         --             --          --

District of Columbia (11)         561.7          12.8             12.9         2.23              2.20            8.9        2.0          1.64        0.36

Florida (12)                    18,379.6         83.4           160.3          0.45              0.86         -102.0       35.5         -0.66        0.23
 Alachua County (001)              233.4          4.2             6.5          1.75              2.71            0.8        1.1          0.39        0.53
 Bay County (005)                  165.0          6.9             6.0          4.00              3.37           -0.9        0.5         -0.59        0.32


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                                                              2010                                                          2000
                               Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Brevard County (009)             535.6          -1.6            11.8         -0.30            2.22          -3.1         1.6        -0.66        0.35
 Broward County (011)           1,731.2         14.6             30.3          0.84            1.72          -8.9         4.4        -0.56        0.28
 Charlotte County (015)           157.0          -1.5             4.6         -0.97            2.96          -1.2         0.5        -0.88        0.36
 Citrus County (017)              139.0          -0.5             4.2         -0.36            3.05          -1.4         0.4        -1.18        0.38
 Clay County (019)                189.6          -0.5             5.3         -0.28            2.80          -0.5         0.4        -0.37        0.32
 Collier County (021)             317.0           1.9             8.2          0.60            2.57          -2.1         1.0        -0.87        0.40
 Duval County (031)               844.3           2.6            17.1          0.30            2.01           2.2         2.3         0.28        0.30
 Escambia County (033)            279.7           2.4             7.5          0.85            2.62          -1.1         0.9        -0.42        0.33
 Hernando County (053)            171.0          -0.9             4.9         -0.51            2.88          -1.3         0.4        -0.99        0.33
 Hillsborough County (057)      1,207.2           6.0            22.6          0.50            1.85          -5.9         2.8        -0.61        0.29
 Indian River County (061)        136.2          -0.6             4.1         -0.41            3.02          -1.2         0.4        -1.05        0.35
 Lake County (069)                293.1          -0.9             7.4         -0.31            2.55          -3.1         0.7        -1.51        0.34
 Lee County (071)                 610.3          -1.8            13.3         -0.30            2.19          -4.0         1.5        -0.92        0.34
 Leon County (073)                260.5           5.5             7.2          2.06            2.65          -0.9         0.8        -0.38        0.36
 Manatee County (081)             318.0          -0.7             7.9         -0.22            2.51          -2.4         0.7        -0.95        0.29
 Marion County (083)              323.1           0.1             8.2          0.03            2.55          -1.8         0.7        -0.72        0.30
 Martin County (085)              142.4          -0.5             4.2         -0.36            2.99          -1.6         0.5        -1.30        0.38
 Miami-Dade County (086)        2,456.4         27.0             40.0          1.09            1.59          -5.8         6.6        -0.26        0.30
 Okaloosa County (091)            175.9           3.6             5.4          2.00            2.93          -0.3         0.5        -0.20        0.31
 Orange County (095)            1,112.3           7.9            21.4          0.71            1.90          -0.3         2.6        -0.03        0.30
 Osceola County (097)             265.4           0.7             7.0          0.26            2.61          -0.6         0.5        -0.35        0.29
 Palm Beach County (099)        1,300.2           7.3            24.1          0.56            1.83          -9.6         3.1        -0.87        0.28
 Pasco County (101)               459.0          -2.4            10.5         -0.52            2.31          -5.3         1.1        -1.60        0.32
 Pinellas County (103)            896.9          -2.7            17.8         -0.30            1.99          -9.5         2.6        -1.07        0.30
 Polk County (105)                589.8           0.0            12.9          0.01            2.18          -6.4         1.7        -1.37        0.36
 St. Johns County (109)           187.2          -0.8             5.2         -0.43            2.82          -0.9         0.4        -0.71        0.31
 St. Lucie County (111)           274.7           0.0             7.1          0.01            2.57          -1.2         0.7        -0.65        0.36
 Santa Rosa County (113)          147.1           0.1             4.4          0.07            3.01          -0.7         0.4        -0.59        0.32
 Sarasota County (115)            373.8          -3.0             9.0         -0.81            2.44          -3.2         1.0        -1.00        0.33
 Seminole County (117)            419.2           0.3             9.8          0.06            2.34          -3.7         1.0        -1.04        0.29
 Volusia County (127)             481.8          -2.0            10.9         -0.41            2.29          -3.7         1.4        -0.87        0.33
 Balance of Florida             1,186.4         12.7             27.9          1.06            2.30        -12.7          2.8        -1.29        0.29

Georgia (13)                    9,434.5         87.0             99.9          0.91            1.04         22.0        20.1          0.28       0.25
 Bartow County (015)               99.2          0.2              3.2          0.24            3.24         -0.2         0.2         -0.31       0.29
 Bibb County (021)                149.5          2.5              4.6          1.67            2.99          0.5         0.6          0.34       0.42
 Carroll County (045)             106.9          0.6              3.4          0.59            3.17          0.1         0.2          0.06       0.29
 Chatham County (051)             252.2          4.0              7.0          1.58            2.68          0.0         0.8         -0.02       0.37
 Cherokee County (057)            212.9          0.6              5.8          0.28            2.71         -1.1         0.5         -0.75       0.35
 Clarke County (059)              107.5          2.7              3.6          2.46            3.17          0.3         0.4          0.37       0.41
 Clayton County (063)             255.4          5.6              6.9          2.14            2.60          3.6         0.8          1.54       0.33
 Cobb County (067)                679.0          7.6             14.4          1.10            2.08          3.7         1.8          0.62       0.29
 Columbia County (073)            123.4         -0.1              3.8         -0.11            3.07         -0.2         0.3         -0.19       0.38
 Coweta County (077)              126.7          0.6              3.9          0.50            3.03         -0.2         0.2         -0.25       0.28
 DeKalb County (089)              678.8         15.1             15.0          2.18            2.11         12.9         2.2          1.94       0.32
 Douglas County (097)             131.0          1.2              4.0          0.92            3.00         -0.1         0.3         -0.11       0.31
 Fayette County (113)             106.0          0.3              3.4          0.27            3.16          0.2         0.3          0.21       0.34
 Forsyth County (117)             174.9          0.2              5.0          0.12            2.83         -0.6         0.4         -0.65       0.38
 Fulton County (121)              889.2         16.3             18.4          1.80            1.99          8.4         2.5          1.05       0.31
 Gwinnett County (135)            799.6         10.7             16.6          1.32            2.02          0.8         1.7          0.14       0.29
 Hall County (139)                176.5          1.6              5.0          0.88            2.81          0.1         0.6          0.08       0.45
 Henry County (151)               203.0          1.6              5.6          0.78            2.71         -0.2         0.4         -0.17       0.34
 Houston County (153)             138.3          1.4              4.3          0.98            3.02          0.4         0.4          0.41       0.34
 Lowndes County (185)             102.8          1.6              3.4          1.57            3.21          0.8         0.3          0.98       0.39
 Muscogee County (215)            182.9          3.2              5.4          1.72            2.86          1.4         0.7          0.78       0.39
 Paulding County (223)            141.7          0.3              4.2          0.23            2.97         -0.1         0.5         -0.12       0.60
 Richmond County (245)            190.0          1.8              5.4          0.93            2.77          0.2         0.8          0.10       0.43
 Whitfield County (313)           101.6          1.0              3.4          0.93            3.24         -0.1         0.3         -0.08       0.39


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                                                             2010                                                          2000
                               Census        Net        Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount   Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)       (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Balance of Georgia             3,305.2          6.3            53.3          0.19            1.61          -8.8         7.3        -0.30        0.25

Hawaii (15)                     1,317.4         -5.8            27.2         -0.44            2.08           2.7        9.3          0.23       0.79
 Hawaii County (001)              181.4         -2.7             6.0         -1.49            3.43           0.6        1.5          0.43       1.01
 Honolulu County (003)            917.9         -0.4            20.4         -0.04            2.23           1.5        6.4          0.18       0.76
 Maui County (009)                152.1         -1.8             5.1         -1.18            3.42           0.2        1.1          0.17       0.85
 Balance of Hawaii                 66.0         -1.0             3.8         -1.55            5.99           0.3        0.2          0.57       0.37

Idaho (16)                      1,538.6         -0.5            26.1         -0.03            1.70          -5.3        4.7         -0.42       0.38
 Ada County (001)                 382.7         -0.7             9.1         -0.19            2.40          -2.0        1.1         -0.67       0.39
 Bonneville County (019)          103.1          0.7             3.3          0.68            3.18          -0.6        0.3         -0.73       0.40
 Canyon County (027)              185.6         -0.4             5.2         -0.22            2.82          -0.2        0.6         -0.16       0.50
 Kootenai County (055)            137.0          0.3             4.1          0.21            3.01          -1.0        0.4         -0.94       0.39
 Balance of Idaho                 730.3         -0.3            19.3         -0.05            2.65          -1.5        1.9         -0.23       0.30

Illinois (17)                  12,528.9        -59.8          126.1          -0.48            1.02        -174.1       27.5         -1.46       0.23
  Champaign County (019)          185.0          4.1            5.8           2.15            2.99          -0.9        0.6         -0.56       0.35
  Cook County (031)             5,104.4        -33.1           77.0          -0.65            1.53         -61.3       15.6         -1.17       0.30
  DeKalb County (037)              98.5         -0.6            3.2          -0.64            3.29          -1.2        0.2         -1.55       0.30
  DuPage County (043)             904.8         -7.9           18.0          -0.88            2.03         -13.8        2.6         -1.57       0.30
  Kane County (089)               508.5         -4.4           11.7          -0.87            2.33          -6.8        1.1         -1.75       0.29
  Kankakee County (091)           108.3         -1.0            3.4          -0.97            3.23          -1.8        0.3         -1.80       0.28
  Kendall County (093)            114.5         -1.0            3.6          -0.87            3.18          -0.9        0.2         -1.77       0.33
  Lake County (097)               682.8         -6.0           14.5          -0.89            2.17          -9.4        1.8         -1.53       0.29
  LaSalle County (099)            111.0         -1.1            3.5          -1.04            3.22          -2.0        0.3         -1.87       0.32
  McHenry County (111)            307.1         -2.7            7.7          -0.89            2.56          -4.5        0.8         -1.78       0.33
  McLean County (113)             158.9          1.8            4.9           1.14            3.02          -1.5        0.4         -1.07       0.28
  Macon County (115)              106.7          1.2            3.5           1.14            3.24          -1.6        0.3         -1.51       0.31
  Madison County (119)            265.5         -2.8            6.9          -1.08            2.64          -6.1        0.6         -2.46       0.25
  Peoria County (143)             181.5          2.5            5.4           1.35            2.92          -2.0        0.5         -1.12       0.30
  Rock Island County (161)        143.2          1.4            4.5           0.95            3.06          -2.0        0.4         -1.43       0.31
  St. Clair County (163)          265.6         -1.8            6.9          -0.68            2.62          -3.1        0.6         -1.25       0.25
  Sangamon County (167)           193.5          2.1            5.6           1.08            2.86          -2.7        0.5         -1.50       0.30
  Tazewell County (179)           132.6          0.7            4.1           0.50            3.06          -1.8        0.4         -1.50       0.30
  Will County (197)               669.0         -4.8           14.2          -0.73            2.15          -8.5        1.4         -1.75       0.30
  Winnebago County (201)          290.6          3.4            7.9           1.16            2.65          -3.2        0.8         -1.17       0.31
  Balance of Illinois           1,996.9         -9.5           37.2          -0.48            1.88         -38.9        5.1         -2.00       0.27

Indiana (18)                    6,296.9        -42.0            71.1         -0.67            1.14         -99.4       13.7         -1.71       0.24
 Allen County (003)               349.2         -3.3             8.5         -0.97            2.47          -5.3        0.7         -1.64       0.24
 Clark County (019)               108.7         -1.2             3.4         -1.13            3.23          -2.2        0.2         -2.42       0.26
 Delaware County (035)            108.8          1.2             3.6          1.09            3.27          -1.6        0.4         -1.49       0.38
 Elkhart County (039)             193.8         -2.3             5.4         -1.19            2.84          -2.1        0.6         -1.18       0.32
 Hamilton County (057)            272.9         -2.2             7.0         -0.81            2.60          -3.5        0.4         -1.99       0.25
 Hendricks County (063)           142.1         -1.4             4.2         -1.00            3.03          -2.4        0.5         -2.40       0.47
 Johnson County (081)             137.3         -1.7             4.1         -1.25            3.07          -2.5        0.3         -2.33       0.31
 Lake County (089)                489.7         -4.0            11.2         -0.82            2.33          -6.1        1.3         -1.29       0.27
 LaPorte County (091)             104.8         -1.2             3.3         -1.19            3.27          -2.0        0.3         -1.99       0.32
 Madison County (095)             125.4         -1.5             3.8         -1.22            3.13          -3.2        0.4         -2.55       0.31
 Marion County (097)              886.7         -6.3            17.7         -0.71            2.02         -10.8        2.2         -1.30       0.27
 Monroe County (105)              123.0          2.2             4.2          1.78            3.26          -1.0        0.4         -0.93       0.41
 Porter County (127)              160.9         -1.7             4.7         -1.04            2.96          -3.0        0.4         -2.12       0.31
 St. Joseph County (141)          255.7         -2.3             6.6         -0.92            2.65          -3.1        0.8         -1.25       0.31
 Tippecanoe County (157)          158.3          2.7             5.0          1.69            3.05          -0.7        0.4         -0.54       0.33
 Vanderburgh County (163)         172.2          1.8             5.2          1.03            2.95          -2.0        0.5         -1.24       0.31
 Vigo County (167)                 98.3          0.9             3.3          0.89            3.35          -1.3        0.4         -1.37       0.47
 Balance of Indiana             2,409.0        -21.8            41.9         -0.91            1.77         -46.5        6.0         -2.02       0.26



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                                                                2010                                                          2000
                                 Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                  Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)     (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
Iowa (19)                         2,948.2          -8.2            41.4         -0.28            1.41        -41.6          7.1        -1.50        0.26
 Black Hawk County (013)            125.1           1.4             4.0          1.10            3.14          -0.7         0.4        -0.57        0.32
 Johnson County (103)               123.0           2.0             4.0          1.61            3.14          -0.5         0.3        -0.49        0.32
 Linn County (113)                  206.1           1.6             5.8          0.79            2.79          -2.1         0.5        -1.16        0.30
 Polk County (153)                  421.3          -4.2             9.8         -1.00            2.38          -6.1         1.2        -1.69        0.34
 Scott County (163)                 161.9           1.3             4.9          0.82            2.96          -1.1         0.4        -0.71        0.29
 Woodbury County (193)               99.5           0.7             3.3          0.71            3.31          -1.7         0.3        -1.74        0.29
 Balance of Iowa                  1,811.3        -11.1             34.6         -0.62            1.94        -29.4          4.7        -1.67        0.27

Kansas (20)                       2,774.0         -18.5            39.3         -0.67            1.44         -33.9        5.6         -1.32       0.22
 Douglas County (045)               102.0           1.6             3.5          1.55            3.30          -0.2        0.3         -0.20       0.32
 Johnson County (091)               539.0          -4.8            11.9         -0.90            2.24          -6.4        1.1         -1.46       0.24
 Sedgwick County (173)              491.1          -5.5            11.1         -1.13            2.31          -6.3        1.1         -1.42       0.25
 Shawnee County (177)               173.5           1.8             5.2          1.03            2.94          -1.5        0.5         -0.91       0.32
 Wyandotte County (209)             156.2          -1.4             4.6         -0.88            2.99          -1.8        0.4         -1.14       0.27
 Balance of Kansas                1,312.2         -10.3            27.9         -0.79            2.16         -17.8        3.5         -1.39       0.28

Kentucky (21)                     4,213.5          -5.5            53.6         -0.13            1.28         -19.2       10.6         -0.49       0.27
 Boone County (015)                 118.0          -0.3             3.7         -0.24            3.11          -0.2        0.3         -0.18       0.31
 Fayette County (067)               283.0           1.1             7.3          0.39            2.54           0.0        0.9         -0.02       0.35
 Hardin County (093)                102.3           0.0             3.3         -0.04            3.21           0.2        0.3          0.18       0.36
 Jefferson County (111)             726.9           1.6            15.1          0.22            2.07          -1.3        2.0         -0.19       0.29
 Kenton County (117)                157.4          -0.3             4.6         -0.19            2.92          -0.5        0.5         -0.34       0.33
 Warren County (227)                107.6           0.9             3.5          0.81            3.19           0.0        0.3         -0.02       0.33
 Balance of Kentucky              2,718.3          -8.5            46.2         -0.31            1.71         -17.4        6.6         -0.68       0.26

Louisiana (22)                    4,405.9         -16.7            57.2         -0.38            1.31          -3.8       11.5         -0.09       0.27
 Ascension Parish (005)             106.4          -0.6             3.4         -0.58            3.21          -0.7        0.3         -0.93       0.37
 Bossier Parish (015)               115.0           0.6             3.7          0.54            3.15           0.3        0.3          0.27       0.30
 Caddo Parish (017)                 248.7           2.7             6.8          1.06            2.69           0.2        1.0          0.09       0.39
 Calcasieu Parish (019)             189.0          -0.4             5.4         -0.21            2.87          -1.4        0.6         -0.80       0.34
 East Baton Rouge Parish (033)      429.1           3.5            10.2          0.80            2.34           0.7        1.2          0.18       0.31
 Jefferson Parish (051)             429.2           1.5            10.1          0.34            2.33           1.6        1.2          0.34       0.27
 Lafayette Parish (055)             216.4          -0.3             5.9         -0.13            2.73          -0.6        0.6         -0.35       0.34
 Livingston Parish (063)            126.8          -2.3             3.9         -1.85            3.19          -1.4        0.4         -1.61       0.45
 Orleans Parish (071)               330.7          -6.8            10.4         -2.11            3.28           7.9        1.8          1.67       0.37
 Ouachita Parish (073)              148.2           1.7             4.5          1.12            3.00           0.1        0.6          0.06       0.40
 Rapides Parish (079)               127.1           0.2             4.0          0.13            3.12          -0.3        0.4         -0.23       0.34
 St. Tammany Parish (103)           232.5          -2.4             6.2         -1.03            2.71          -0.9        0.6         -0.47       0.31
 Tangipahoa Parish (105)            117.5           0.0             3.8          0.01            3.23          -0.8        0.5         -0.80       0.54
 Terrebonne Parish (109)            110.4           0.3             3.6          0.29            3.22          -0.2        0.3         -0.16       0.33
 Balance of Louisiana             1,479.0         -14.3            30.8         -0.98            2.12          -8.3        4.0         -0.56       0.27

Maine (23)                        1,292.8           8.5            26.0          0.65            1.99         -15.1        9.0         -1.23       0.75
 Androscoggin County (001)          104.9          -0.4             3.4         -0.37            3.29          -0.9        0.5         -0.91       0.56
 Cumberland County (005)            272.5           0.1             7.5          0.02            2.75          -3.2        1.8         -1.25       0.73
 Kennebec County (011)              118.5           1.9             4.0          1.54            3.29          -0.8        1.1         -0.68       0.97
 Penobscot County (019)             146.6           4.8             6.7          3.17            4.26          -1.4        0.9         -1.03       0.68
 York County (031)                  194.0          -0.2             5.9         -0.10            3.03          -1.3        1.4         -0.73       0.78
 Balance of Maine                   456.2           2.3            14.3          0.51            3.11          -7.5        1.3         -1.70       0.31

Maryland (24)                     5,635.2         53.3             68.6          0.94            1.19         13.0        16.3          0.25       0.31
 Anne Arundel County (003)          523.5          2.4             11.7          0.45            2.22         -1.7         2.0         -0.36       0.43
 Baltimore County (005)             784.2          5.3             16.1          0.67            2.03         -2.4         2.8         -0.33       0.38
 Carroll County (013)               163.8          0.0              4.7         -0.01            2.88         -1.0         0.7         -0.66       0.48
 Cecil County (015)                  99.6         -0.2              3.2         -0.24            3.26         -0.7         0.5         -0.82       0.65
 Charles County (017)               145.1          1.2              4.3          0.80            2.92          0.8         0.4          0.67       0.31
 Frederick County (021)             229.2          0.6              6.1          0.26            2.66         -0.7         0.8         -0.38       0.45


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                                                              2010                                                          2000
                                Census        Net        Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                 Count     Undercount   Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)    (×1000)     (×1000)       (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Harford County (025)              242.1          0.7             6.4          0.28            2.63          -0.6         1.0        -0.29        0.45
 Howard County (027)               284.8          1.7             7.3          0.59            2.52           0.7         0.9         0.28        0.38
 Montgomery County (031)           962.9          8.3            18.9          0.85            1.93           1.3         3.0         0.15        0.34
 Prince George's County (033)      844.1         19.9            17.5          2.30            1.97         12.6          2.8         1.58        0.34
 St. Mary's County (037)           102.2          0.3             3.3          0.28            3.19           0.6         0.4         0.70        0.44
 Washington County (043)           139.0          0.2             4.2          0.16            3.04          -0.7         0.4        -0.58        0.37
 Baltimore city (510)              595.8         13.0            13.8          2.14            2.22           4.5         2.8         0.72        0.44
 Balance of Maryland               518.9          0.0            14.9          0.00            2.86           0.3         1.4         0.07        0.30

Massachusetts (25)               6,308.7        -32.4            72.0         -0.52            1.15         -63.1       16.1         -1.04       0.27
 Barnstable County (001)           211.9          1.4             6.7          0.67            3.11          -5.3        1.1         -2.49       0.52
 Berkshire County (003)            125.1          2.1             4.5          1.66            3.50          -1.5        0.7         -1.14       0.54
 Bristol County (005)              532.4         -6.0            11.7         -1.14            2.26          -6.6        1.5         -1.28       0.29
 Essex County (009)                726.7         -7.3            15.0         -1.02            2.10          -9.1        2.1         -1.31       0.31
 Hampden County (013)              448.7         -2.9            10.4         -0.66            2.36          -4.5        1.7         -1.04       0.38
 Hampshire County (015)            137.2          0.1             4.2          0.10            3.02          -2.3        0.6         -1.75       0.43
 Middlesex County (017)          1,447.7         -6.2            25.6         -0.43            1.78         -10.9        4.3         -0.78       0.31
 Norfolk County (021)              653.2         -2.3            13.8         -0.35            2.12          -6.5        2.0         -1.04       0.32
 Plymouth County (023)             483.1         -3.1            10.9         -0.64            2.29          -7.7        1.5         -1.70       0.34
 Suffolk County (025)              674.8         -9.0            14.7         -1.36            2.24           0.9        2.6          0.13       0.40
 Worcester County (027)            771.5         -2.3            15.7         -0.30            2.05          -7.6        2.1         -1.06       0.30
 Balance of Massachusetts           96.4          3.1             5.7          3.13            5.54          -2.0        0.3         -2.19       0.37

Michigan (26)                    9,654.6        -63.0            97.7         -0.66            1.02         -93.4       20.8         -0.97       0.22
 Allegan County (005)              110.5         -1.4             3.5         -1.25            3.22          -2.2        0.2         -2.19       0.24
 Bay County (017)                  106.3          0.7             3.5          0.63            3.21          -1.3        0.3         -1.22       0.31
 Berrien County (021)              153.3          1.2             4.7          0.80            3.05          -2.0        0.5         -1.28       0.31
 Calhoun County (025)              131.9          1.2             4.2          0.92            3.13          -1.4        0.5         -1.09       0.40
 Eaton County (045)                106.2         -1.0             3.4         -0.93            3.23          -1.1        0.3         -1.11       0.29
 Genesee County (049)              419.8         -2.8             9.9         -0.67            2.39          -4.9        1.2         -1.15       0.28
 Ingham County (065)               262.4         -1.8             6.8         -0.69            2.64          -1.0        0.8         -0.36       0.30
 Jackson County (075)              150.6          1.1             4.6          0.75            3.01          -1.8        0.4         -1.26       0.29
 Kalamazoo County (077)            241.9          3.5             6.8          1.41            2.74          -1.3        0.7         -0.58       0.30
 Kent County (081)                 591.3         -4.8            12.8         -0.82            2.20          -7.3        1.3         -1.31       0.24
 Livingston County (093)           179.8         -1.6             5.1         -0.89            2.87          -2.4        0.4         -1.60       0.30
 Macomb County (099)               833.5         -7.2            16.8         -0.88            2.05          -9.7        2.5         -1.26       0.32
 Monroe County (115)               150.6         -1.6             4.4         -1.09            3.00          -2.1        0.4         -1.50       0.31
 Muskegon County (121)             165.8         -1.6             4.8         -0.98            2.92          -2.4        0.4         -1.47       0.23
 Oakland County (125)            1,189.9         -8.2            22.2         -0.70            1.90         -10.0        3.5         -0.85       0.30
 Ottawa County (139)               255.5         -2.4             6.7         -0.93            2.65          -3.7        0.5         -1.65       0.25
 Saginaw County (145)              193.1          2.2             5.6          1.14            2.84          -1.0        0.6         -0.51       0.29
 St. Clair County (147)            161.0         -1.7             4.7         -1.05            2.96          -2.4        0.5         -1.50       0.32
 Washtenaw County (161)            327.0         -1.2             8.2         -0.38            2.51          -1.1        0.9         -0.36       0.30
 Wayne County (163)              1,796.7        -10.3            31.8         -0.58            1.79           5.1        5.9          0.25       0.29
 Balance of Michigan             2,127.5        -25.3            38.9         -1.20            1.87         -39.2        5.4         -1.90       0.27

Minnesota (27)                   5,168.5        -28.8            61.5         -0.56            1.20         -82.1        9.7         -1.75       0.21
 Anoka County (003)                327.8         -2.7             8.1         -0.83            2.50          -6.5        0.7         -2.24       0.26
 Dakota County (037)               395.7         -3.2             9.3         -0.81            2.40          -5.8        0.9         -1.66       0.25
 Hennepin County (053)           1,127.3         -5.6            21.2         -0.50            1.90         -15.4        2.5         -1.44       0.24
 Olmsted County (109)              141.5          1.2             4.3          0.81            3.00          -1.3        0.3         -1.05       0.28
 Ramsey County (123)               490.3         -4.1            11.1         -0.84            2.31          -7.6        1.2         -1.57       0.25
 St. Louis County (137)            190.8          1.1             5.6          0.58            2.88          -2.8        0.5         -1.50       0.29
 Scott County (139)                128.6         -1.0             3.9         -0.80            3.08          -1.7        0.2         -1.96       0.26
 Stearns County (145)              142.4         -0.9             4.2         -0.65            3.01          -1.2        0.4         -1.00       0.33
 Washington County (163)           234.6         -1.8             6.2         -0.77            2.69          -3.9        0.5         -2.02       0.25
 Wright County (171)               123.6         -0.8             3.8         -0.69            3.12          -2.1        0.2         -2.45       0.28
 Balance of Minnesota            1,865.9        -10.9            35.4         -0.59            1.92         -33.7        4.6         -1.98       0.27


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                                                             2010                                                         2000
                               Census        Net        Root Mean      Percent Net    Root Mean         Net       Standard   Percent Net   Standard
                                Count     Undercount   Squared Error   Undercount    Squared Error   Undercount     Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)       (×1000)           (%)           (%)          (×1000)     (×1000)        (%)         (%)

Mississippi (28)                2,875.3          6.9            41.8          0.24            1.45        -11.7        9.4         -0.43       0.34
 DeSoto County (033)              160.6          0.0             4.6          0.01            2.89         -1.7        0.4         -1.58       0.42
 Harrison County (047)            181.7         -0.1             5.3         -0.06            2.90         -0.6        0.7         -0.32       0.37
 Hinds County (049)               237.4          2.6             6.4          1.07            2.63          1.1        1.1          0.44       0.47
 Jackson County (059)             138.4         -0.2             4.2         -0.16            3.06          0.1        0.6          0.10       0.45
 Rankin County (121)              136.0         -0.3             4.1         -0.20            3.01         -0.7        0.4         -0.64       0.33
 Balance of Mississippi         2,021.2          5.0            38.8          0.24            1.91         -9.9        5.2         -0.51       0.26

Missouri (29)                   5,814.8        -38.0            68.2         -0.66            1.19        -74.3       11.4         -1.39       0.22
 Boone County (019)               153.6          2.4             4.8          1.54            3.06         -0.5        0.4         -0.41       0.30
 Clay County (047)                219.3         -2.3             5.9         -1.06            2.75         -2.9        0.4         -1.60       0.24
 Franklin County (071)            100.6         -1.3             3.2         -1.27            3.29         -2.1        0.2         -2.28       0.28
 Greene County (077)              263.9          2.3             7.3          0.88            2.73         -1.8        0.6         -0.80       0.28
 Jackson County (095)             662.9         -5.0            14.0         -0.76            2.14         -6.4        1.5         -1.00       0.24
 Jasper County (097)              114.9          0.6             3.8          0.51            3.25         -1.5        0.3         -1.52       0.29
 Jefferson County (099)           216.8         -2.8             5.9         -1.30            2.77         -4.9        0.5         -2.54       0.25
 St. Charles County (183)         355.1         -3.5             8.6         -1.01            2.46         -4.9        0.7         -1.78       0.25
 St. Louis County (189)           979.5         -6.3            18.9         -0.65            1.96         -9.6        2.2         -0.97       0.23
 St. Louis city (510)             307.3         -1.0             7.9         -0.34            2.59          0.2        1.2          0.05       0.35
 Balance of Missouri            2,440.8        -21.1            43.6         -0.87            1.82        -39.9        5.8         -1.81       0.27

Montana (30)                     960.6          -6.2            19.0         -0.65            2.01          4.4        7.6          0.50       0.85
 Missoula County (063)           105.7           0.2             3.4          0.16            3.21          1.2        0.7          1.27       0.73
 Yellowstone County (111)        144.3           0.5             4.3          0.33            2.97          0.3        1.0          0.27       0.82
 Balance of Montana              710.6          -6.9            19.1         -0.98            2.74          2.9        1.9          0.43       0.29

Nebraska (31)                   1,775.2         -9.6            28.3         -0.54            1.61        -13.7        3.6         -0.83       0.22
 Douglas County (055)             504.9         -4.4            11.3         -0.87            2.28         -3.4        1.1         -0.77       0.24
 Lancaster County (109)           271.6          3.2             7.5          1.16            2.68         -0.4        0.7         -0.15       0.29
 Sarpy County (153)               157.6         -1.6             4.6         -1.05            2.96         -0.5        0.3         -0.44       0.28
 Balance of Nebraska              841.1         -6.7            20.7         -0.81            2.49         -9.3        2.4         -1.11       0.29

Nevada (32)                     2,664.4         -1.1            38.8         -0.04            1.46         10.0        8.0          0.50       0.40
 Clark County (003)             1,929.3         -5.1            33.0         -0.27            1.72          9.3        6.0          0.68       0.44
 Washoe County (031)              416.1          5.3            10.0          1.26            2.34          2.3        1.8          0.67       0.52
 Balance of Nevada                319.0         -1.2            10.7         -0.38            3.37         -1.6        0.9         -0.60       0.32

New Hampshire (33)              1,276.4          7.7            26.8          0.60            2.07        -14.0        5.2         -1.18       0.45
 Hillsborough County (011)        393.0         -1.0             9.5         -0.25            2.42         -3.4        1.3         -0.91       0.37
 Merrimack County (013)           140.1          0.8             4.6          0.58            3.22         -1.3        0.8         -0.98       0.62
 Rockingham County (015)          292.7         -1.7             7.4         -0.58            2.55         -3.8        0.9         -1.41       0.34
 Strafford County (017)           114.7         -0.1             3.6         -0.13            3.18         -0.6        0.5         -0.55       0.46
 Balance of New Hampshire         335.8          9.7            15.1          2.82            4.25         -5.0        1.0         -1.60       0.32

New Jersey (34)                 8,605.0        -31.0            91.2         -0.36            1.07        -43.4       22.2         -0.53       0.27
 Atlantic County (001)            268.5         -0.6             7.6         -0.23            2.86         -2.8        0.7         -1.15       0.28
 Bergen County (003)              894.7         -5.0            17.6         -0.56            1.98         -6.2        2.5         -0.71       0.29
 Burlington County (005)          435.5          1.1            10.1          0.26            2.30         -2.1        1.2         -0.51       0.30
 Camden County (007)              506.2         -0.2            11.3         -0.05            2.24         -2.1        1.4         -0.43       0.28
 Cumberland County (011)          144.8         -0.1             4.3         -0.04            2.97         -1.0        0.4         -0.75       0.29
 Essex County (013)               760.2         -4.7            16.3         -0.62            2.17         -0.3        3.1         -0.04       0.40
 Gloucester County (015)          284.1         -0.4             7.2         -0.14            2.55         -2.3        0.8         -0.93       0.31
 Hudson County (017)              624.9         -7.8            13.7         -1.27            2.25         -3.2        2.2         -0.53       0.37
 Hunterdon County (019)           123.8          0.0             3.8          0.02            3.06         -1.4        0.4         -1.19       0.34
 Mercer County (021)              347.7          0.3             8.5          0.07            2.43         -2.4        0.9         -0.73       0.28
 Middlesex County (023)           786.0         -1.0            16.0         -0.12            2.03         -2.8        2.1         -0.38       0.29
 Monmouth County (025)            622.7         -2.6            13.2         -0.41            2.14         -5.3        1.8         -0.89       0.30


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                                                              2010                                                          2000
                               Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Morris County (027)              483.4           0.4            10.9          0.08            2.25          -3.0         1.4        -0.64        0.31
 Ocean County (029)               569.4          -3.8            12.4         -0.67            2.20          -4.5         1.6        -0.90        0.32
 Passaic County (031)             490.2          -3.3            11.2         -0.67            2.31           1.1         1.4         0.24        0.30
 Somerset County (035)            319.5           0.9             7.9          0.28            2.46          -1.0         0.8        -0.34        0.29
 Sussex County (037)              147.5          -0.7             4.3         -0.45            2.97          -1.2         0.5        -0.87        0.38
 Union County (039)               529.7          -0.5            11.8         -0.10            2.23          -0.8         1.4        -0.16        0.27
 Warren County (041)              106.7          -0.7             3.4         -0.66            3.21          -0.2         0.4        -0.17        0.44
 Balance of New Jersey            159.5          -2.4             6.7         -1.53            4.36          -2.2         0.5        -1.36        0.34

New Mexico (35)                 2,016.6          -3.2            31.8         -0.16            1.58           0.3        8.4          0.02       0.47
 Bernalillo County (001)          650.6          -0.5            13.9         -0.08            2.14           0.3        1.9          0.06       0.34
 Dona Ana County (013)            204.7           2.1             5.8          1.01            2.78           1.6        1.5          0.96       0.88
 Sandoval County (043)            130.8          -0.5             4.0         -0.37            3.07          -0.9        0.3         -0.97       0.39
 San Juan County (045)            128.3           0.2             4.1          0.16            3.20           0.4        0.7          0.39       0.65
 Santa Fe County (049)            141.6           0.5             4.3          0.33            3.01          -1.0        0.9         -0.76       0.71
 Balance of New Mexico            760.6          -5.0            19.7         -0.67            2.63          -0.3        2.1         -0.04       0.29

New York (36)                  18,792.4        -148.2          170.7          -0.79            0.92         -47.6       49.8         -0.26       0.27
 Albany County (001)              287.2          -1.9            7.4          -0.66            2.60          -1.7        1.0         -0.61       0.37
 Bronx County (005)             1,338.4          -5.2           26.2          -0.39            1.97          26.2        5.5          2.00       0.41
 Broome County (007)              190.5           0.7            5.7           0.36            2.95          -0.8        0.9         -0.40       0.46
 Chautauqua County (013)          128.4           2.3            4.4           1.76            3.30          -0.2        0.6         -0.15       0.46
 Dutchess County (027)            277.5           4.7            9.9           1.68            3.44          -1.2        1.4         -0.46       0.54
 Erie County (029)                890.7          -7.5           17.9          -0.85            2.04          -4.1        3.9         -0.45       0.43
 Jefferson County (045)           110.1           2.4            4.0           2.17            3.47           0.6        0.5          0.53       0.51
 Kings County (047)             2,469.1         -62.8           44.7          -2.61            1.91           9.0       11.2          0.37       0.46
 Monroe County (055)              718.1          -2.4           15.1          -0.33            2.11          -2.3        3.0         -0.32       0.42
 Nassau County (059)            1,317.9         -10.7           23.7          -0.82            1.83         -13.8        3.8         -1.06       0.30
 New York County (061)          1,518.5          -9.3           27.4          -0.62            1.83           4.6        5.8          0.31       0.39
 Niagara County (063)             212.2          -1.2            5.8          -0.58            2.76          -1.9        1.0         -0.88       0.49
 Oneida County (065)              221.5           0.0            6.4          -0.01            2.87          -1.2        1.1         -0.57       0.50
 Onondaga County (067)            450.0          -1.3           10.4          -0.29            2.33          -3.5        1.8         -0.79       0.42
 Ontario County (069)             104.6          -0.4            3.3          -0.37            3.21          -1.9        0.5         -1.96       0.49
 Orange County (071)              360.6          -4.6            8.7          -1.30            2.47          -0.5        2.2         -0.15       0.66
 Oswego County (075)              117.2          -0.7            3.7          -0.59            3.16          -0.5        0.8         -0.39       0.65
 Queens County (081)            2,202.7         -43.9           39.5          -2.04            1.87           1.3        8.3          0.06       0.38
 Rensselaer County (083)          153.8          -1.4            4.5          -0.93            2.99          -1.2        0.8         -0.84       0.52
 Richmond County (085)            460.9          -9.9           10.7          -2.18            2.41          -5.3        1.4         -1.23       0.34
 Rockland County (087)            304.5          -2.6            7.6          -0.85            2.54          -2.4        0.8         -0.87       0.29
 St. Lawrence County (089)        101.2           2.2            3.6           2.10            3.41          -0.5        0.6         -0.46       0.58
 Saratoga County (091)            215.7          -0.6            5.8          -0.28            2.72          -3.3        0.8         -1.73       0.45
 Schenectady County (093)         150.3          -1.5            4.4          -1.04            3.02          -1.8        0.6         -1.31       0.41
 Suffolk County (103)           1,463.9          -2.4           29.3          -0.16            2.01         -21.8        4.1         -1.59       0.30
 Tompkins County (109)             88.3           0.7            3.1           0.83            3.48          -0.2        0.6         -0.21       0.67
 Ulster County (111)              170.7           2.1            6.6           1.23            3.76          -0.7        1.4         -0.42       0.84
 Westchester County (119)         920.4          -5.6           18.0          -0.61            1.98          -1.2        2.5         -0.13       0.28
 Balance of New York            1,847.8          12.6           37.9           0.68            2.02         -17.3        4.8         -0.95       0.27

North Carolina (37)             9,278.2         48.6             96.2          0.52            1.03         -12.1       20.9         -0.15       0.27
 Alamance County (001)            146.9          0.0              4.3          0.02            2.95          -0.4        0.4         -0.32       0.28
 Brunswick County (019)           106.6          0.4              3.5          0.33            3.22          -0.1        0.3         -0.19       0.46
 Buncombe County (021)            230.6          0.7              6.3          0.29            2.73          -1.7        0.7         -0.87       0.33
 Cabarrus County (025)            176.5          0.2              5.0          0.10            2.82          -1.2        0.4         -0.94       0.32
 Catawba County (035)             152.0          0.8              4.6          0.50            2.97          -1.4        0.4         -1.02       0.32
 Craven County (049)               98.6          0.7              3.2          0.69            3.25           0.0        0.3         -0.05       0.33
 Cumberland County (051)          309.3          4.6              8.2          1.46            2.58           2.8        1.0          0.97       0.36
 Davidson County (057)            161.2         -0.6              4.7         -0.37            2.91          -1.6        0.5         -1.09       0.33
 Durham County (063)              257.5          3.9              6.8          1.48            2.55           3.1        0.6          1.43       0.28


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                                                              2010                                                          2000
                               Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Forsyth County (067)             340.8           2.0             8.3          0.57            2.42           0.4         0.8         0.14        0.26
 Gaston County (071)              202.8          -0.1             5.6         -0.06            2.75          -1.7         0.6        -0.89        0.32
 Guilford County (081)            472.9           3.3            10.8          0.69            2.25           2.6         1.2         0.64        0.29
 Harnett County (085)             111.3           0.0             3.5          0.00            3.15          -0.2         0.4        -0.22        0.48
 Henderson County (089)           105.4           0.1             3.4          0.07            3.23          -0.6         0.4        -0.66        0.48
 Iredell County (097)             158.1          -0.2             4.6         -0.11            2.91          -0.4         0.4        -0.35        0.32
 Johnston County (101)            167.1           0.1             4.8          0.07            2.87          -1.4         0.4        -1.21        0.35
 Mecklenburg County (119)         903.6           8.6            18.0          0.95            1.95           2.7         1.9         0.40        0.28
 New Hanover County (129)         196.0           2.2             5.6          1.10            2.81           0.9         0.6         0.58        0.39
 Onslow County (133)              160.0           1.7             4.8          1.06            2.94           2.2         0.5         1.66        0.37
 Orange County (135)              124.2           0.4             3.8          0.35            3.05           0.1         0.3         0.08        0.28
 Pitt County (147)                161.6           2.4             4.9          1.45            2.93           0.3         0.5         0.24        0.42
 Randolph County (151)            140.5          -0.5             4.2         -0.34            3.00          -0.7         0.4        -0.55        0.33
 Robeson County (155)             130.1          -0.4             4.7         -0.31            3.61          -1.7         0.8        -1.40        0.73
 Rowan County (159)               134.1          -0.4             4.0         -0.30            3.03          -1.4         0.4        -1.15        0.31
 Union County (179)               199.2           0.1             5.5          0.05            2.75          -1.1         0.4        -0.89        0.35
 Wake County (183)                880.0           5.4            17.5          0.61            1.96           4.2         1.6         0.68        0.27
 Wayne County (191)               119.4           1.3             3.8          1.09            3.12           0.4         0.4         0.37        0.39
 Balance of North Carolina      2,931.9         12.1             49.2          0.41            1.67        -16.1          6.8        -0.61        0.26

North Dakota (38)                647.5            0.6            14.1          0.09            2.17          -9.0        1.6         -1.48       0.26
 Cass County (017)               144.8            1.8             4.5          1.21            3.04          -0.8        0.3         -0.65       0.29
 Balance of North Dakota         502.8           -1.2            14.7         -0.23            2.93          -8.3        1.5         -1.68       0.31

Ohio (39)                      11,230.2         -92.6          110.2          -0.83            1.00        -142.8       22.9         -1.31       0.21
 Allen County (003)               100.4           0.9            3.4           0.94            3.30          -0.9        0.4         -0.88       0.36
 Ashtabula County (007)            98.3          -1.4            3.2          -1.43            3.32          -2.2        0.2         -2.23       0.25
 Butler County (017)              357.2          -3.8            8.6          -1.08            2.47          -4.7        0.8         -1.49       0.25
 Clark County (023)               135.5          -1.7            4.1          -1.27            3.08          -2.7        0.3         -1.99       0.25
 Clermont County (025)            195.6          -2.4            5.4          -1.27            2.83          -3.0        0.5         -1.75       0.27
 Columbiana County (029)          103.9          -1.5            3.3          -1.43            3.28          -2.8        0.4         -2.66       0.35
 Cuyahoga County (035)          1,250.9          -9.6           23.2          -0.78            1.88          -9.3        3.2         -0.69       0.24
 Delaware County (041)            171.8          -1.4            4.9          -0.85            2.89          -1.9        0.3         -1.80       0.25
 Fairfield County (045)           143.3          -1.6            4.2          -1.14            3.03          -2.1        0.3         -1.79       0.25
 Franklin County (049)          1,138.2          -8.9           21.6          -0.79            1.93          -6.9        2.7         -0.67       0.26
 Greene County (057)              152.8          -1.7            4.5          -1.10            2.99          -1.5        0.4         -1.08       0.26
 Hamilton County (061)            782.9          -5.1           16.0          -0.65            2.07          -4.7        2.0         -0.57       0.24
 Lake County (085)                227.3          -2.5            6.1          -1.11            2.73          -4.0        0.5         -1.83       0.25
 Licking County (089)             163.0          -2.0            4.7          -1.24            2.95          -2.7        0.3         -1.91       0.25
 Lorain County (093)              292.0          -3.2            7.4          -1.10            2.58          -4.2        0.6         -1.53       0.23
 Lucas County (095)               431.1          -4.2           10.0          -0.97            2.37          -6.0        1.0         -1.36       0.24
 Mahoning County (099)            230.9          -2.4            6.1          -1.03            2.72          -3.2        0.5         -1.29       0.22
 Medina County (103)              171.1          -1.7            4.9          -1.03            2.90          -2.8        0.4         -1.93       0.25
 Miami County (109)               101.5          -1.3            3.3          -1.30            3.29          -1.7        0.3         -1.81       0.27
 Montgomery County (113)          521.0          -4.9           11.6          -0.94            2.27          -4.8        1.3         -0.90       0.25
 Portage County (133)             153.5          -1.7            4.5          -1.14            2.99          -3.5        0.3         -2.51       0.25
 Richland County (139)            117.2           0.8            3.8           0.66            3.19          -1.5        0.4         -1.22       0.30
 Stark County (151)               366.3           2.8            9.3           0.76            2.51          -2.7        1.1         -0.75       0.30
 Summit County (153)              531.8          -4.9           11.8          -0.93            2.25         -10.0        1.2         -1.90       0.24
 Trumbull County (155)            206.5          -2.4            5.6          -1.20            2.79          -3.7        0.5         -1.72       0.24
 Warren County (165)              206.7          -2.1            5.6          -1.04            2.78          -2.9        0.4         -1.93       0.25
 Wayne County (169)               111.3          -1.0            3.5          -0.92            3.21          -1.1        0.3         -1.07       0.29
 Wood County (173)                119.3          -1.2            3.7          -1.03            3.15          -1.8        0.3         -1.65       0.25
 Balance of Ohio                2,648.9         -22.5           44.9          -0.86            1.73         -43.3        6.6         -1.69       0.26

Oklahoma (40)                   3,639.3         -38.9            49.9         -1.08            1.40          -6.7        9.7         -0.20       0.29
 Canadian County (017)            113.1          -0.7             3.5         -0.62            3.17          -0.4        0.3         -0.42       0.31
 Cleveland County (027)           245.2          -1.2             6.5         -0.49            2.66          -0.1        0.6         -0.03       0.29


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                                                              2010                                                          2000
                               Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Comanche County (031)            113.8           0.2             3.7          0.17            3.21           1.1         0.3         1.04        0.32
 Oklahoma County (109)            703.6           1.1            14.8          0.16            2.09           1.6         1.8         0.24        0.28
 Tulsa County (143)               593.6          -0.7            13.0         -0.12            2.19          -0.4         1.6        -0.08        0.30
 Balance of Oklahoma            1,870.1        -37.6             37.7         -2.05            2.10          -8.6         4.7        -0.49        0.27

Oregon (41)                     3,744.4           0.9            49.6          0.02            1.32         -12.0       10.8         -0.36       0.33
 Clackamas County (005)           373.2          -2.5             8.9         -0.67            2.43          -3.5        1.3         -1.07       0.41
 Deschutes County (017)           156.5           0.1             4.6          0.09            2.94          -0.8        0.5         -0.72       0.41
 Douglas County (019)             106.0          -0.3             3.6         -0.29            3.38          -0.2        0.6         -0.20       0.62
 Jackson County (029)             199.7           0.6             5.6          0.31            2.78          -0.6        0.8         -0.32       0.46
 Lane County (039)                343.2           2.2             8.6          0.64            2.46          -1.4        1.2         -0.45       0.39
 Linn County (043)                115.4           0.6             3.6          0.48            3.12          -0.4        0.5         -0.36       0.45
 Marion County (047)              304.9           3.2             7.8          1.04            2.51           1.1        2.5          0.42       0.89
 Multnomah County (051)           715.8          -2.0            14.9         -0.28            2.10          -4.8        2.3         -0.76       0.36
 Washington County (067)          522.9          -0.5            11.7         -0.09            2.23          -1.7        1.5         -0.38       0.34
 Balance of Oregon                906.8          -0.5            22.7         -0.06            2.50           0.2        2.4          0.03       0.29

Pennsylvania (42)              12,276.3         17.4           119.8           0.14            0.97        -111.1       33.3         -0.95       0.29
 Adams County (001)                97.4          0.6             3.3           0.60            3.36          -0.8        0.6         -0.91       0.67
 Allegheny County (003)         1,188.3         -4.4            22.3          -0.37            1.89         -15.1        5.1         -1.23       0.42
 Beaver County (007)              167.2         -0.6             4.8          -0.39            2.89          -2.0        0.8         -1.17       0.44
 Berks County (011)               399.4          1.1             9.5           0.28            2.36          -1.1        1.7         -0.32       0.48
 Blair County (013)               123.4          2.2             4.3           1.76            3.35          -1.4        0.6         -1.12       0.51
 Bucks County (017)               617.0         -0.8            13.2          -0.13            2.14          -4.7        1.9         -0.81       0.32
 Butler County (019)              178.4         -0.4             5.1          -0.23            2.84          -3.3        0.8         -1.98       0.49
 Cambria County (021)             135.6          0.8             4.2           0.59            3.09          -1.8        0.9         -1.25       0.67
 Centre County (027)              137.0          2.5             4.5           1.79            3.19          -0.1        0.6         -0.05       0.48
 Chester County (029)             485.6          2.4            11.1           0.49            2.26          -4.4        1.3         -1.05       0.31
 Cumberland County (041)          222.6         -0.4             6.0          -0.17            2.70          -2.3        1.0         -1.15       0.50
 Dauphin County (043)             261.3         -0.1             6.8          -0.04            2.62          -1.8        0.9         -0.72       0.39
 Delaware County (045)            535.9          0.4            11.9           0.08            2.21          -3.9        1.6         -0.74       0.31
 Erie County (049)                267.7          1.8             7.4           0.68            2.72          -1.8        1.6         -0.69       0.59
 Fayette County (051)             132.4          0.6             4.4           0.45            3.27          -2.7        0.9         -1.87       0.65
 Franklin County (055)            146.9          3.0             4.9           1.97            3.21          -1.2        0.8         -0.94       0.61
 Lackawanna County (069)          206.4         -0.5             6.1          -0.24            2.98          -4.0        0.9         -2.00       0.44
 Lancaster County (071)           506.8         -1.0            11.4          -0.20            2.25          -3.7        2.6         -0.81       0.58
 Lebanon County (075)             129.9          0.2             4.1           0.15            3.12          -1.0        0.5         -0.83       0.40
 Lehigh County (077)              340.5         -1.1             8.4          -0.32            2.47          -3.0        1.2         -1.01       0.42
 Luzerne County (079)             309.1          0.4             8.4           0.14            2.72          -4.5        1.3         -1.49       0.43
 Lycoming County (081)            110.7          1.5             3.8           1.37            3.36          -1.5        0.5         -1.31       0.49
 Mercer County (085)              109.9         -0.4             3.5          -0.41            3.18          -1.5        0.7         -1.31       0.64
 Monroe County (089)              166.1          0.9             5.1           0.54            3.06          -2.0        0.9         -1.51       0.69
 Montgomery County (091)          778.9          1.6            15.8           0.21            2.02          -5.1        2.2         -0.71       0.31
 Northampton County (095)         287.1         -1.0             7.3          -0.34            2.56          -3.2        1.1         -1.27       0.44
 Philadelphia County (101)      1,468.6         -9.6            27.5          -0.66            1.90          -5.9        4.8         -0.40       0.33
 Schuylkill County (107)          141.5          2.6             4.6           1.79            3.17          -1.8        0.7         -1.26       0.52
 Washington County (125)          201.9         -0.3             5.6          -0.13            2.77          -4.3        0.9         -2.23       0.46
 Westmoreland County (129)        357.2         -1.0             8.6          -0.28            2.43          -4.0        1.6         -1.13       0.44
 York County (133)                426.5         -0.8             9.9          -0.18            2.34          -2.0        2.0         -0.55       0.54
 Balance of Pennsylvania        1,639.1         17.1            35.5           1.03            2.12         -15.4        4.3         -0.95       0.27

Rhode Island (44)               1,009.9          -8.1            19.0         -0.81            1.91         -11.8        3.5         -1.18       0.35
 Kent County (003)                164.6          -0.8             4.7         -0.52            2.90          -3.6        0.8         -2.20       0.49
 Providence County (007)          598.9          -5.7            13.0         -0.96            2.22          -5.9        2.1         -1.00       0.37
 Washington County (009)          120.5          -0.7             3.7         -0.61            3.12          -0.7        0.6         -0.62       0.49
 Balance of Rhode Island          125.9          -0.8             5.7         -0.65            4.56          -1.6        0.4         -1.26       0.35

South Carolina (45)             4,486.2         18.3             56.6         0.41             1.25         -14.6       10.6         -0.38       0.28


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                                                              2010                                                          2000
                               Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Aiken County (003)               157.7           0.0             4.6          0.02            2.91          -0.9         0.5        -0.67        0.34
 Anderson County (007)            184.4          -0.5             5.2         -0.28            2.82          -1.7         0.5        -1.06        0.31
 Beaufort County (013)            157.0           1.2             4.7          0.78            2.95          -0.4         0.4        -0.31        0.38
 Berkeley County (015)            174.1           0.2             5.0          0.14            2.84          -0.6         0.5        -0.43        0.36
 Charleston County (019)          339.9           1.9             8.4          0.57            2.45           0.2         1.0         0.06        0.33
 Dorchester County (035)          134.5           0.2             4.1          0.14            3.00          -0.7         0.3        -0.70        0.29
 Florence County (041)            133.7           1.2             4.2          0.88            3.06          -0.2         0.4        -0.19        0.36
 Greenville County (045)          439.4           0.9            10.2          0.21            2.31          -1.2         1.0        -0.32        0.28
 Horry County (051)               266.3           2.3             7.2          0.86            2.66          -1.0         0.7        -0.49        0.36
 Lexington County (063)           260.1           0.2             6.8          0.06            2.60          -0.6         0.7        -0.27        0.31
 Pickens County (077)             112.2          -0.3             3.5         -0.27            3.17          -0.8         0.3        -0.77        0.31
 Richland County (079)            352.5           3.7             8.6          1.03            2.39           3.1         0.9         1.04        0.30
 Spartanburg County (083)         276.3          -0.7             7.1         -0.26            2.58          -1.0         0.7        -0.40        0.28
 Sumter County (085)              104.7           1.4             3.5          1.30            3.21           0.7         0.4         0.68        0.39
 York County (091)                222.2           0.3             6.0          0.16            2.68          -0.8         0.5        -0.47        0.29
 Balance of South Carolina      1,171.4           6.2            26.1          0.53            2.21          -8.8         3.1        -0.79        0.28

South Dakota (46)                780.1            0.8            16.0          0.10            2.05          -9.6        1.9         -1.33       0.27
 Minnehaha County (099)          163.2            1.6             4.9          0.98            2.95          -1.0        0.4         -0.69       0.28
 Pennington County (103)          98.4            0.7             3.4          0.73            3.36          -0.3        0.3         -0.36       0.30
 Balance of South Dakota         518.6           -1.5            14.9         -0.30            2.89          -8.3        1.5         -1.69       0.31

Tennessee (47)                  6,192.6           7.1            71.5          0.12            1.15         -23.2       13.4         -0.42       0.24
 Blount County (009)              121.0          -0.4             3.7         -0.36            3.10          -0.9        0.3         -0.86       0.30
 Davidson County (037)            600.8           4.7            13.1          0.77            2.15           0.6        1.7          0.11       0.31
 Hamilton County (065)            326.7           0.1             8.1          0.04            2.47          -1.9        1.0         -0.63       0.33
 Knox County (093)                419.9          -0.2             9.8         -0.05            2.34          -3.4        1.1         -0.93       0.32
 Montgomery County (125)          168.9           1.5             5.0          0.89            2.90           1.2        0.4          0.90       0.33
 Rutherford County (149)          257.5           0.2             6.7          0.09            2.61          -0.2        0.6         -0.12       0.32
 Shelby County (157)              909.3           9.2            18.6          1.00            2.00           3.8        2.8          0.44       0.32
 Sullivan County (163)            154.2          -1.0             4.5         -0.63            2.95          -2.2        0.5         -1.49       0.36
 Sumner County (165)              159.4          -0.5             4.6         -0.32            2.91          -1.1        0.4         -0.85       0.31
 Washington County (179)          118.3          -0.4             3.7         -0.35            3.12          -1.5        0.4         -1.46       0.36
 Williamson County (187)          182.0          -0.4             5.1         -0.23            2.82          -0.1        0.4         -0.08       0.31
 Wilson County (189)              112.8          -0.3             3.5         -0.27            3.14          -0.8        0.3         -0.89       0.33
 Balance of Tennessee           2,661.8          -5.4            45.5         -0.20            1.72         -16.9        6.3         -0.70       0.26

Texas (48)                     24,564.4        239.5           212.1           0.97            0.85         10.2        55.5          0.05       0.27
 Bell County (027)                302.2          3.5             8.0           1.14            2.58          2.1         0.9          0.93       0.38
 Bexar County (029)             1,672.8          6.6            29.7           0.39            1.76         -5.1         4.0         -0.38       0.30
 Brazoria County (039)            302.6          0.4             7.6           0.13            2.51         -1.2         0.9         -0.52       0.38
 Brazos County (041)              181.3          4.0             5.4           2.17            2.86          1.1         0.6          0.82       0.39
 Cameron County (061)             402.5          5.3            10.4           1.30            2.51          0.2         3.2          0.07       0.96
 Collin County (085)              778.4          4.7            15.9           0.60            2.02          2.8         1.6          0.58       0.33
 Comal County (091)               107.4         -0.6             3.4          -0.54            3.20         -0.4         0.2         -0.53       0.28
 Dallas County (113)            2,337.7         42.5            40.0           1.79            1.65         19.4         7.4          0.88       0.33
 Denton County (121)              652.3          4.8            13.9           0.73            2.11          1.4         1.6          0.32       0.37
 Ector County (135)               135.0          1.2             4.2           0.89            3.06         -0.6         0.5         -0.50       0.44
 Ellis County (139)               148.0          0.2             4.4           0.15            2.95         -0.8         0.4         -0.76       0.34
 El Paso County (141)             784.9         14.7            18.8           1.83            2.31         -0.5         2.3         -0.07       0.35
 Fort Bend County (157)           579.4          3.2            12.6           0.54            2.15          0.4         1.2          0.10       0.33
 Galveston County (167)           287.0          0.4             7.4           0.13            2.56         -0.4         1.0         -0.17       0.40
 Grayson County (181)             118.7         -1.0             3.7          -0.82            3.17         -0.2         0.4         -0.19       0.33
 Gregg County (183)               117.3          0.4             3.7           0.38            3.15          0.2         0.4          0.21       0.33
 Guadalupe County (187)           129.6         -0.4             3.9          -0.30            3.05         -0.3         0.3         -0.37       0.29
 Harris County (201)            4,047.9         61.5            60.4           1.50            1.45         17.9        11.6          0.53       0.34
 Hays County (209)                150.1          0.6             4.4           0.40            2.93          0.1         0.4          0.11       0.45
 Hidalgo County (215)             767.8         44.1            31.3           5.43            3.65         -9.6         3.3         -1.74       0.61


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                                                              2010                                                          2000
                               Census        Net         Root Mean      Percent Net    Root Mean         Net        Standard   Percent Net   Standard
                                Count     Undercount    Squared Error   Undercount    Squared Error   Undercount      Error    Undercount      Error
State and County (FIPS Code)   (×1000)     (×1000)        (×1000)           (%)           (%)          (×1000)      (×1000)        (%)         (%)
 Jefferson County (245)           236.3           2.4             6.6          1.00            2.73          -0.3         0.8        -0.12        0.35
 Johnson County (251)             148.3           0.0             4.4         -0.02            2.96          -0.6         0.5        -0.51        0.42
 Kaufman County (257)             102.0           0.2             3.3          0.21            3.20          -0.4         0.3        -0.57        0.44
 Lubbock County (303)             267.8           3.6             7.2          1.33            2.63           0.6         1.0         0.27        0.42
 McLennan County (309)            225.8           2.0             6.3          0.86            2.73           0.2         0.8         0.08        0.37
 Midland County (329)             135.2           0.9             4.2          0.67            3.05          -1.0         0.4        -0.88        0.37
 Montgomery County (339)          452.5           0.8            10.5          0.17            2.31          -1.2         1.2        -0.40        0.43
 Nueces County (355)              334.4           3.7             8.8          1.09            2.56           1.2         1.9         0.39        0.60
 Parker County (367)              113.8          -0.2             3.6         -0.17            3.15          -1.0         0.4        -1.15        0.52
 Potter County (375)              114.2           1.5             3.7          1.29            3.16           0.1         0.5         0.12        0.46
 Randall County (381)             118.7           0.4             3.7          0.37            3.13          -0.4         0.3        -0.34        0.33
 Smith County (423)               205.6           0.9             5.8          0.44            2.78           0.1         0.6         0.05        0.34
 Tarrant County (439)           1,788.4         16.8             31.2          0.93            1.71           2.5         4.9         0.18        0.34
 Taylor County (441)              126.2           0.8             4.0          0.63            3.09           0.5         0.4         0.44        0.34
 Tom Green County (451)           105.1           0.7             3.4          0.66            3.22          -0.2         0.4        -0.18        0.36
 Travis County (453)            1,001.2         12.0             19.9          1.18            1.94           1.9         2.6         0.24        0.33
 Webb County (479)                246.8           7.9             7.6          3.09            2.88           0.9         2.8         0.45        1.47
 Wichita County (485)             119.5           0.8             3.8          0.68            3.13           0.1         0.4         0.05        0.33
 Williamson County (491)          417.6           0.2             9.8          0.04            2.34          -0.9         0.7        -0.38        0.30
 Balance of Texas               4,302.1        -12.0             65.2         -0.28            1.52        -18.4          9.8        -0.46        0.25

Utah (49)                       2,717.7         -12.9            38.9         -0.48            1.44          -2.2        9.2         -0.10       0.42
 Cache County (005)               109.1           0.7             3.5          0.66            3.14           0.1        0.6          0.17       0.62
 Davis County (011)               303.2          -1.5             7.6         -0.48            2.53          -1.6        0.9         -0.69       0.38
 Salt Lake County (035)         1,015.6          -3.5            19.6         -0.34            1.94          -2.1        5.9         -0.24       0.67
 Utah County (049)                502.7          -2.6            11.3         -0.53            2.27          -0.4        1.4         -0.12       0.40
 Washington County (053)          136.3           0.0             4.1          0.01            3.03           1.4        0.8          1.60       0.90
 Weber County (057)               228.7          -1.5             6.1         -0.66            2.71          -0.9        0.7         -0.49       0.37
 Balance of Utah                  422.2          -4.6            13.0         -1.09            3.14           1.3        1.1          0.37       0.31

Vermont (50)                     600.4            7.9            14.9         1.29             2.43          -6.8        4.3         -1.16       0.75
 Chittenden County (007)         146.8            0.7             4.6         0.44             3.10          -1.0        0.9         -0.75       0.63
 Balance of Vermont              453.7            7.2            15.4         1.56             3.28          -5.7        1.4         -1.29       0.31

Virginia (51)                   7,761.2         44.3             83.4         0.57             1.06         19.5        16.9          0.28       0.25
 Arlington County (013)           204.7          2.9              5.7         1.42             2.70          1.4         0.7          0.76       0.35
 Chesterfield County (041)        311.6          0.9              7.8         0.28             2.48          1.2         0.8          0.48       0.31
 Fairfax County (059)           1,072.4          8.2             20.6         0.76             1.89          2.8         3.6          0.29       0.37
 Henrico County (087)             304.4          1.6              7.6         0.51             2.48          2.1         0.8          0.80       0.29
 Loudoun County (107)             311.1          1.9              7.8         0.61             2.47         -0.1         0.6         -0.06       0.38
 Prince William County (153)      399.5          4.0              9.5         0.99             2.33          0.8         1.1          0.29       0.39
 Spotsylvania County (177)        121.9          0.4              3.8         0.35             3.06         -0.3         0.3         -0.33       0.39
 Stafford County (179)            125.4          0.6              3.8         0.49             3.03         -0.2         0.4         -0.19       0.44
 Alexandria city (510)            138.1          2.6              4.2         1.84             2.92          1.6         0.5          1.28       0.35
 Chesapeake city (550)            218.5          0.8              5.9         0.37             2.68          2.4         0.6          1.22       0.30
 Hampton city (650)               133.0          1.1              4.0         0.85             2.98          1.7         0.4          1.23       0.31
 Newport News city (700)          173.2          1.7              5.0         0.95             2.81          1.9         0.6          1.08       0.31
 Norfolk city (710)               210.0          2.4              5.8         1.15             2.70          3.4         0.7          1.60       0.34
 Richmond city (760)              191.5          3.3              5.5         1.72             2.76          2.1         0.7          1.12       0.35
 Virginia Beach city (810)        428.7          1.0             10.0         0.23             2.32          4.1         1.3          0.98       0.30
 Balance of Virginia            3,417.0         10.8             53.8         0.31             1.56         -5.6         7.8         -0.18       0.25

Washington (53)                 6,585.2          -6.9            75.0         -0.10            1.14         -12.6       26.2         -0.22       0.46
 Benton County (005)              173.8           1.8             5.0          1.00            2.84          -0.2        0.5         -0.13       0.35
 Clark County (011)               422.2          -3.1             9.9         -0.75            2.37          -2.4        1.3         -0.71       0.38
 Cowlitz County (015)             101.2           0.5             3.3          0.53            3.21          -0.5        0.3         -0.57       0.35
 King County (033)              1,894.1          -2.9            32.0         -0.15            1.69         -10.8        8.1         -0.64       0.48
 Kitsap County (035)              242.4          -1.4             6.4         -0.60            2.67           0.1        2.1          0.05       0.92


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                                                                      2010                                                                 2000
                                    Census         Net           Root Mean        Percent Net     Root Mean           Net          Standard   Percent Net   Standard
                                     Count      Undercount      Squared Error     Undercount     Squared Error     Undercount        Error    Undercount      Error
State and County (FIPS Code)        (×1000)      (×1000)          (×1000)             (%)            (%)            (×1000)        (×1000)        (%)         (%)
 Pierce County (053)                   777.3           -4.5              15.9           -0.58             2.07             0.4           6.3         0.06        0.92
 Skagit County (057)                   115.3           -0.5               3.6           -0.42             3.15             1.2           0.7         1.14        0.65
 Snohomish County (061)                702.9           -3.8              14.7           -0.54             2.11            -2.4           4.6        -0.40        0.78
 Spokane County (063)                  456.5            2.5              10.7            0.53             2.31            -2.6           1.4        -0.66        0.36
 Thurston County (067)                 248.0           -1.5               6.5           -0.59             2.66            -0.4           1.6        -0.22        0.80
 Whatcom County (073)                  195.4            1.6               5.5            0.80             2.78             0.2           0.7         0.10        0.42
 Yakima County (077)                   239.7            4.3               6.5            1.77             2.62             1.7           1.4         0.75        0.64
 Balance of Washington               1,016.3            0.2              24.4            0.02             2.40             3.3           2.6         0.37        0.28

West Virginia (54)                   1,803.6           -25.5              29.8           -1.43             1.70           -13.1         7.3         -0.75       0.42
 Berkeley County (003)                 103.3             0.3               3.4            0.27             3.24            -0.2         0.4         -0.27       0.49
 Kanawha County (039)                  189.9            -1.5               5.4           -0.80             2.88            -2.0         0.6         -1.03       0.31
 Balance of West Virginia            1,510.5           -24.3              31.4           -1.63             2.15           -10.9         4.0         -0.74       0.27

Wisconsin (55)                       5,536.8            -9.3              66.0           -0.17             1.20           -79.4        11.5         -1.55       0.23
 Brown County (009)                    241.4             2.6               6.7            1.05             2.71            -2.1         0.6         -0.99       0.30
 Dane County (025)                     475.3            -3.0              10.8           -0.63             2.31            -2.3         1.2         -0.55       0.30
 Fond du Lac County (039)               98.0             0.7               3.2            0.69             3.26            -1.2         0.3         -1.26       0.30
 Kenosha County (059)                  161.8            -1.6               4.7           -1.01             2.96            -2.8         0.4         -1.94       0.30
 La Crosse County (063)                109.4             1.2               3.6            1.05             3.20            -1.3         0.3         -1.32       0.31
 Marathon County (073)                 132.4             0.9               4.1            0.68             3.06            -1.7         0.4         -1.41       0.31
 Milwaukee County (079)                923.2            -4.3              18.5           -0.47             2.02            -9.4         2.4         -1.04       0.26
 Outagamie County (087)                173.7             1.3               5.1            0.75             2.88            -1.4         0.5         -0.88       0.30
 Racine County (101)                   190.4            -1.8               5.3           -0.96             2.83            -3.2         0.4         -1.78       0.24
 Rock County (105)                     157.4             1.1               4.8            0.71             3.01            -2.0         0.5         -1.33       0.32
 Sheboygan County (117)                112.5             0.8               3.6            0.73             3.17            -1.3         0.3         -1.23       0.29
 Walworth County (127)                  99.5            -1.1               3.2           -1.15             3.33            -1.6         0.2         -1.86       0.29
 Washington County (131)               130.7            -1.1               4.0           -0.86             3.08            -1.9         0.3         -1.69       0.25
 Waukesha County (133)                 384.2            -3.2               9.1           -0.84             2.42            -6.7         0.8         -1.91       0.24
 Winnebago County (139)                158.8             1.4               4.8            0.86             2.97            -1.2         0.4         -0.79       0.31
 Balance of Wisconsin                1,987.9            -3.1              38.1           -0.16             1.92           -39.4         4.9         -2.13       0.27

Wyoming (56)                           549.9           -2.8              12.6           -0.51              2.31             -1.9        3.0         -0.41       0.62
      A positive estimate denotes a net undercount and a negative estimate denotes a net overcount.
      Estimates are rounded for display.
      The 2010 census population count excludes persons in group quarters and persons in Remote Alaska.
      “--” Denotes that all the counties in Delaware and Connecticut are listed. Hence, there is no “Balance of State” estimate.




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FINAL REPORT


2010 Census Integrated Communications
Program Evaluation (CICPE)



                                                            PRESENTED BY:
                                                            Authors: A. Rupa Datta, Ting
                                                            Yan, Doug Evans, Steven
                                                            Pedlow, Bruce Spencer, Rene
                                                            Bautista


                                PRESENTED TO:               NORC at the
                                Donna Souders               University of Chicago
                                                            4350 East West Highway,
                                Federal Project Officer     Suite 800
                                U.S. Bureau of the Census   Bethesda, MD 20814
MARCH 13, 2012
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NORC | 2010 Census Integrated Communications Program Evaluation (CICPE)


Table 6-3. Predicting Pre-NRFU Mail Return using Exposure by Sample Type

                                                             Non-
                                                           Hispanic               Non-
                                                            African              Hispanic            American                                    Native
                                       Hispanic            American               White               Indian                  Asian             Hawaiian
          Variable                  OR (p-value) OR (p-value) OR (p-value) OR (p-value) OR (p-value) OR (p-value)
Exposed to Paid Media                 1.11 (0.90)          1.30 (0.64)         1.82 (0.40)           0.95 (0.95)           1.59 (0.38)         0.43 (0.18)
Exposed to Partnership                1.36 (0.48)        2.16** (0.01)         1.68 (0.20)          0.43* (0.07)           1.33 (0.36)         0.92 (0.90)
Exposed to Census in
                                      1.35 (0.30)          1.44 (0.60)         1.16 (0.85)           1.20 (0.73)           0.78 (0.48)         1.01 (0.98)
School
Exposed to Earned
                                      1.00 (1.00)          1.56 (0.38)         1.13 (0.80)        3.38** (<0.01)           1.13 (0.64)         1.62* (0.07)
Media
Exposed to Word of
                                      0.58 (0.13)         0.30* (0.06) 0.44** (0.05)                 1.73 (0.43)          0.54* (0.10)         0.81 (0.50)
Mouth
Frequency of Total
                                      0.98 (0.75)          1.10 (0.42)         1.12 (0.16)         1.33** (0.05) 1.24** (0.02) 1.16* (0.07)
Exposure
Pseudo R-square                           0.01                 0.06                 0.24                  0.01                 0.01                 0.01
Max-Rescaled R-square                     0.02                 0.11                 0.24                  0.13                 0.04                 0.03
2010 CICPE Final Report.
Note: Logistic regression models predicting mail return prior to NRFU (4/18). Wave 3 sample excluding Heavy-up cases. Standard errors corrected for complex
survey design. * indicates significance at 0.1 level, ** indicates significance at .05 level.




Again in Table 6-3 we see that different groups respond differently to the campaign. For Hispanics, we
see no statistically significant effects for any of the exposure measures, although word of mouth is almost
significantly associated with lower mail return. For non-Hispanic African Americans, we see positive
partnership and negative word of mouth effects when everything else in the model is held constant. The
negative word of mouth result also appears for non-Hispanic Whites. American Indians and Native
Hawaiians have positive effects for both earned media exposure and frequency of total exposure, although
the coefficients are about one-third the size for the latter group controlling for other variables in the
model. American Indians also exhibit a negative partnership effect. Asians seem to have only a positive
(increased mail return) response to the total count of ICC exposures and again, a reduced mail return rate
associated with having word of mouth exposure.




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2020 Census Barriers, Attitudes, and Motivators Study (CBAMS) Survey
                          and Focus Groups:
                 Key Findings for Creative Strategy

                                  October 31, 2018




                                                                                   0
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Only 7 in 10 said they were likely to respond

                                            CBAMS Survey and Decennial Census
                                            Measured vs Observed Response Rate



                     2020 Census                                                      TBD

                                                                                                                             The mail response rate to the
                                                                                                                            2010 census was 22.5 pts lower
          2018 CBAMS Survey                                               67%                                                 than measured in the 2008
                                                                                                                                    CBAMS Survey


                     2010 Census                                        63%




          2008 CBAMS Survey                                                    86%


   CBAMS measures those who are “extremely” or “very” likely to fill out the census form if the census were held today


     11
Note: Due to methodological differences, direct statistical comparisons between 2008 and 2018 survey are not appropriate.
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                                United States Government Accountability Office
                               Report to Congressional Requesters




July 2019
                               2020 CENSUS

                               Bureau Is Making
                               Progress Opening
                               Offices and
                               Recruiting, but Could
                               Improve Its Ability to
                               Evaluate Training




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                            data collection tasks directly from a mobile device allowing them to work
                            remotely. Supervisors will also be able to work remotely from the field and
                            communicate with their staff via these devices—precluding them from
                            needing access to a nearby local office.

                            The Bureau’s 2020 Operational Plan states that these enhanced
                            capabilities will significantly reduce the number of offices required to
                            support 2020 Census fieldwork. In the 2010 Census, the Bureau
                            established 12 RCCs and nearly 500 ACOs. The new design for the 2020
                            Census field operations includes six RCCs with 248 ACOs. Those 248
                            will be split into two waves, with 39 of the offices opening for Wave 1 by
                            March 2019 to support early census operations such as in-field address
                            canvassing, and the remaining 209 opening for Wave 2 by September
                            2019.


Recruiting and Hiring       Recruiting enough workers to fill the hundreds of thousands of temporary
                            positions needed to conduct the 2020 Census is a tremendous challenge.
                            According to Bureau plans before hiring begins, the Bureau needs to
                            assemble an applicant pool in the millions. For the decennial census,
                            Bureau plans indicate the Bureau will need a large and diverse workforce
                            to ensure the accuracy of its maps and address list, and to follow up by
                            phone or in person with households that do not respond to the
                            questionnaire. Making these efforts even more difficult are external
                            factors beyond the Bureau’s control, such as low unemployment rate,
                            which can make it harder to recruit.

                            According to Bureau plans, recruiting of potential employees will be
                            conducted throughout the ACOs’ geographic area, based on projected
                            operational workloads and staffing models developed for 2020 Census
                            operations. Selected candidates will be invited to be fingerprinted and
                            submit selected appointment paperwork prior to attending classroom
                            training. The candidates will be sworn in and hired during the first day of
                            training.

                            The ACO staff model is as follows: one ACO Manager, one Lead Census
                            Field Manager, one Administrative Manager, one Recruiting Manager,
                            one Information Technology (IT) Manager, and Office Operations
                            Supervisors, Clerks, and Recruiting Assistants. For data collection, it is:
                            multiple Census Field Managers, Census Field Supervisors, and
                            Enumerators; specific numbers based on workload; and supervisory
                            ratios to be determined (see fig. 1).



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Figure 1: 2020 Census Area Census Office Structure




Training                                According to Bureau plans, the 2010 Census approach to training was
                                        predominantly instructor-led training with some hands-on training. This
                                        primarily consisted of instructors standing in front of a room of trainees
                                        and reading training materials to them from a prepared script. For 2020,
                                        the Bureau has developed training materials that use a blended training
                                        approach including instructor-led training, computer-based training, and
                                        hands-on training. This approach is intended to maximize trainee learning
                                        and on-the-job performance during the 2020 Census. According to the
                                        Bureau’s Detailed Operational Plan for the Field Infrastructure and
                                        Decennial Logistics Management Operations, it has developed training




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                                                                                        PUBLIC LAW 116–6—FEB. 15, 2019                                                 133 STAT. 13




                                                                   Public Law 116–6
                                                                   116th Congress
                                                                                                        Joint Resolution
                                                                     Making consolidated appropriations for the fiscal year ending September 30, 2019,                     Feb. 15, 2019
                                                                                                 and for other purposes.                                                   [H.J. Res. 31]
                                                                       Resolved by the Senate and House of Representatives of the
                                                                   United States of America in Congress assembled,                                                       Consolidated
                                                                                                                                                                         Appropriations
                                                                   SECTION 1. SHORT TITLE.                                                                               Act, 2019.
                                                                        This Act may be cited as the ‘‘Consolidated Appropriations
                                                                   Act, 2019’’.
                                                                   SEC. 2. TABLE OF CONTENTS.

                                                                   Sec.    1.   Short title.
                                                                   Sec.    2.   Table of contents.
                                                                   Sec.    3.   References.
                                                                   Sec.    4.   Statement of appropriations.
                                                                   Sec.    5.   Availability of funds.
                                                                   Sec.    6.   Adjustments to compensation.
                                                                   Sec.    7.   Technical correction.
                                                                    DIVISION A—DEPARTMENT OF HOMELAND SECURITY APPROPRIATIONS
                                                                                                        ACT, 2019
                                                                   Title I—Departmental Management, Operations, Intelligence, and Oversight
                                                                   Title II—Security, Enforcement, and Investigations
                                                                   Title III—Protection, Preparedness, Response, and Recovery
                                                                   Title IV—Research, Development, Training, and Services
                                                                   Title V—General Provisions
                                                                      DIVISION B—AGRICULTURE, RURAL DEVELOPMENT, FOOD AND DRUG
                                                                    ADMINISTRATION, AND RELATED AGENCIES APPROPRIATIONS ACT, 2019
                                                                   Title I—Agricultural Programs
                                                                   Title II—Farm Production and Conservation Programs
                                                                   Title III—Rural Development Programs
                                                                   Title IV—Domestic Food Programs
                                                                   Title V—Foreign Assistance and Related Programs
                                                                   Title VI—Related Agency and Food and Drug Administration
                                                                   Title VII—General Provisions
                                                                     DIVISION C—COMMERCE, JUSTICE, SCIENCE, AND RELATED AGENCIES
                                                                                            APPROPRIATIONS ACT, 2019
                                                                   Title I—Department of Commerce
                                                                   Title II—Department of Justice
                                                                   Title III—Science
                                                                   Title IV—Related Agencies
                                                                   Title V—General Provisions
                                                                           DIVISION D—FINANCIAL SERVICES AND GENERAL GOVERNMENT
                                                                                               APPROPRIATIONS ACT, 2019
                                                                   Title   I—Department of the Treasury
                                                                   Title   II—Executive Office of the President and Funds Appropriated to the President
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                                                                   Title   III—The Judiciary
                                                                   Title   IV—District of Columbia




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                                                                   133 STAT. 94                                PUBLIC LAW 116–6—FEB. 15, 2019

                                                                                                                 ECONOMIC           AND   STATISTICAL ANALYSIS
                                                                                                                             SALARIES AND EXPENSES

                                                                                               For necessary expenses, as authorized by law, of economic
                                                                                           and statistical analysis programs of the Department of Commerce,
                                                                                           $101,000,000, to remain available until September 30, 2020.
                                                                                                                            BUREAU        OF THE     CENSUS
                                                                                                                    CURRENT SURVEYS AND PROGRAMS

                                                                                                For necessary expenses for collecting, compiling, analyzing, pre-
                                                                                           paring, and publishing statistics, provided for by law, $270,000,000:
                                                                                           Provided, That, from amounts provided herein, funds may be used
                                                                                           for promotion, outreach, and marketing activities.
                                                                                                                   PERIODIC CENSUSES AND PROGRAMS

                                                                                                                        (INCLUDING TRANSFER OF FUNDS)

                                                                                                For necessary expenses for collecting, compiling, analyzing, pre-
                                                                                           paring, and publishing statistics for periodic censuses and programs
                                                                                           provided for by law, $3,551,388,000, to remain available until Sep-
                                                                                           tember 30, 2021: Provided, That, from amounts provided herein,
                                                                                           funds may be used for promotion, outreach, and marketing activi-
                                                                                           ties: Provided further, That within the amounts appropriated,
                                                                                           $3,556,000 shall be transferred to the ‘‘Office of Inspector General’’
                                                                                           account for activities associated with carrying out investigations
                                                                                           and audits related to the Bureau of the Census: Provided further,
                                                                                           That not more than 50 percent of the amounts made available
                                                                                           under this heading for information technology related to 2020
                                                                                           census delivery, including the Census Enterprise Data Collection
                                                                                           and Processing (CEDCaP) program, may be obligated until the
                                                                                           Secretary updates the previous expenditure plan and resubmits
                                                                                           to the Committees on Appropriations of the House of Representa-
                                                                                           tives and the Senate a plan for expenditure that: (1) identifies
                                                                                           for each CEDCaP project/investment over $25,000: (A) the func-
                                                                                           tional and performance capabilities to be delivered and the mission
                                                                                           benefits to be realized; (B) an updated estimated lifecycle cost,
                                                                                           including cumulative expenditures to date by fiscal year, and all
                                                                                           revised estimates for development, maintenance, and operations;
                                                                                           (C) key milestones to be met; and (D) impacts of cost variances
                                                                                           on other Census programs; (2) details for each project/investment:
                                                                                           (A) reasons for any cost and schedule variances; and (B) top risks
                                                                                           and mitigation strategies; and (3) has been submitted to the Govern-
                                                                                           ment Accountability Office.
                                                                                                       NATIONAL TELECOMMUNICATIONS AND INFORMATION
                                                                                                                      ADMINISTRATION
                                                                                                                             SALARIES AND EXPENSES

                                                                                               For necessary expenses, as provided for by law, of the National
                                                                                           Telecommunications and Information Administration (NTIA),
                                                                                           $39,500,000, of which not to exceed $15,000,000 shall remain avail-
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                                                                                           able until September 30, 2020: Provided, That, notwithstanding
                                                                                           31 U.S.C. 1535(d), the Secretary of Commerce shall charge Federal




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                                                                                        PUBLIC LAW 116–6—FEB. 15, 2019                                                  133 STAT. 95

                                                                   agencies for costs incurred in spectrum management, analysis, oper-
                                                                   ations, and related services, and such fees shall be retained and
                                                                   used as offsetting collections for costs of such spectrum services,
                                                                   to remain available until expended: Provided further, That the
                                                                   Secretary of Commerce is authorized to retain and use as offsetting
                                                                   collections all funds transferred, or previously transferred, from
                                                                   other Government agencies for all costs incurred in telecommuni-
                                                                   cations research, engineering, and related activities by the Institute
                                                                   for Telecommunication Sciences of NTIA, in furtherance of its
                                                                   assigned functions under this paragraph, and such funds received
                                                                   from other Government agencies shall remain available until
                                                                   expended.
                                                                            PUBLIC TELECOMMUNICATIONS FACILITIES, PLANNING AND
                                                                                             CONSTRUCTION

                                                                       For the administration of prior-year grants, recoveries and
                                                                   unobligated balances of funds previously appropriated are available
                                                                   for the administration of all open grants until their expiration.
                                                                                    UNITED STATES PATENT                 AND   TRADEMARK OFFICE
                                                                                                      SALARIES AND EXPENSES

                                                                                                 (INCLUDING TRANSFERS OF FUNDS)

                                                                        For necessary expenses of the United States Patent and Trade-
                                                                   mark Office (USPTO) provided for by law, including defense of
                                                                   suits instituted against the Under Secretary of Commerce for
                                                                   Intellectual Property and Director of the USPTO, $3,370,000,000,
                                                                   to remain available until expended: Provided, That the sum herein
                                                                   appropriated from the general fund shall be reduced as offsetting
                                                                   collections of fees and surcharges assessed and collected by the
                                                                   USPTO under any law are received during fiscal year 2019, so
                                                                   as to result in a fiscal year 2019 appropriation from the general
                                                                   fund estimated at $0: Provided further, That during fiscal year
                                                                   2019, should the total amount of such offsetting collections be
                                                                   less than $3,370,000,000 this amount shall be reduced accordingly:
                                                                   Provided further, That any amount received in excess of
                                                                   $3,370,000,000 in fiscal year 2019 and deposited in the Patent
                                                                   and Trademark Fee Reserve Fund shall remain available until
                                                                   expended: Provided further, That the Director of USPTO shall
                                                                   submit a spending plan to the Committees on Appropriations of
                                                                   the House of Representatives and the Senate for any amounts
                                                                   made available by the preceding proviso and such spending plan
                                                                   shall be treated as a reprogramming under section 505 of this
                                                                   Act and shall not be available for obligation or expenditure except
                                                                   in compliance with the procedures set forth in that section: Provided
                                                                   further, That any amounts reprogrammed in accordance with the
                                                                   preceding proviso shall be transferred to the United States Patent
                                                                   and Trademark Office ‘‘Salaries and Expenses’’ account: Provided
                                                                   further, That from amounts provided herein, not to exceed $900
                                                                   shall be made available in fiscal year 2019 for official reception
                                                                   and representation expenses: Provided further, That in fiscal year
                                                                   2019 from the amounts made available for ‘‘Salaries and Expenses’’
                                                                   for the USPTO, the amounts necessary to pay (1) the difference
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                                                                   between the percentage of basic pay contributed by the USPTO
                                                                   and employees under section 8334(a) of title 5, United States Code,




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                                                                                                                                                                             1




                                                                                   116TH CONGRESS                                                                         REPORT
                                                                                                  "             HOUSE OF REPRESENTATIVES                        !
                                                                                      1st Session                                                                          116–9




                                                                                       MAKING FURTHER                         CONTINUING APPROPRIA-
                                                                                        TIONS FOR THE                         DEPARTMENT OF HOME-
                                                                                        LAND SECURITY                         FOR FISCAL YEAR 2019,
                                                                                        AND FOR OTHER                         PURPOSES




                                                                                                               CONFERENCE REPORT
                                                                                                                            TO ACCOMPANY



                                                                                                                           H.J. Res. 31




                                                                                                          FEBRUARY 13, 2019.—Ordered to be printed
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                                                                                                               U.S. GOVERNMENT PUBLISHING OFFICE
                                                                                       35–014                              WASHINGTON     :   2019
                                                                                                                                                                                   E:\Seals\Congress.#13




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                                                                                                                                  611

                                                                                       Income Growth Indicators.—The Bureau of Economic Analysis
                                                                                  (BEA) is encouraged to work with the relevant additional agencies
                                                                                  to develop and begin reporting on income growth indicators. In
                                                                                  these indicators, BEA is encouraged to report at least annually on
                                                                                  how incomes grow in each decile of the income distribution, no
                                                                                  later than 2020. BEA is encouraged to include the latest available
                                                                                  estimates of these measures with each report or update issued by
                                                                                  the agency on the Gross Domestic Product of the United States.
                                                                                                                   BUREAU       OF THE     CENSUS
                                                                                     The agreement includes $3,821,388,000 for the Bureau of the
                                                                                  Census.
                                                                                                           CURRENT SURVEYS AND PROGRAMS

                                                                                      The agreement includes $270,000,000 for the Current Surveys
                                                                                  and Programs account of the Bureau of the Census.
                                                                                                           PERIODIC CENSUSES AND PROGRAMS

                                                                                                               (INCLUDING TRANSFER OF FUNDS)

                                                                                       The agreement includes $3,551,388,000 for the Periodic Cen-
                                                                                  suses and Programs account of the Bureau of the Census.
                                                                                       In October 2017, the Secretary of Commerce delivered a new
                                                                                  life-cycle cost estimate for the 2020 Decennial Census totaling
                                                                                  $15,625,000,000. In addition to reliance on a new independent cost
                                                                                  estimate, the Secretary’s estimate includes additional assumptions
                                                                                  to enhance the robustness and reliability of the program. For exam-
                                                                                  ple, the new estimate assumes the need for additional in-person fol-
                                                                                  low-up visits due to fewer households expected to initially respond
                                                                                  to the Census. In addition, the Census Bureau is directed to pro-
                                                                                  vide the Committees with notification 15 days before any spending
                                                                                  it intends to incur in fiscal year 2019 that is above the amounts
                                                                                  included in the October 2017 life-cycle cost estimate for fiscal year
                                                                                  2019.
                                                                                       2020 Census Partnership and Communications Activities.—The
                                                                                  agreement reiterates House and Senate language regarding the
                                                                                  Bureau’s partnership and communications efforts aimed at maxi-
                                                                                  mizing self-response to the 2020 Decennial Census. Additionally,
                                                                                  the Bureau shall devote funding to expand targeted communica-
                                                                                  tions activities as well as to open local questionnaire assistance
                                                                                  centers in hard-to-count communities.
                                                                                              NATIONAL TELECOMMUNICATIONS AND INFORMATION
                                                                                                             ADMINISTRATION
                                                                                                                   SALARIES AND EXPENSES

                                                                                      The agreement includes $39,500,000 for the salaries and ex-
                                                                                  penses of the National Telecommunications and Information Ad-
                                                                                  ministration (NTIA). The agreement provides up to $7,500,000 to
                                                                                  continue the broadband mapping effort started in fiscal year 2018
                                                                                  and adopts Senate report language regarding rural and tribal com-
                                                                                  munities. The agreement modifies Senate language regarding a
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                                                                                  standardized process, to direct NTIA to work with the Federal




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